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                              2022-2091, -2115

              United States Court of Appeals
                  for the Federal Circuit

                            KOSS CORPORATION,
                                                         Appellant,
                                    – v. –
   KATHERINE K. VIDAL, Under Secretary of Commerce for Intellectual
   Property and Director of the United States Patent and Trademark Office,
                                                         Intervenor.


      Appeals from the United States Patent and Trademark Office, Patent
      Trial and Appeal Board in Nos. IPR2021-00305 and IPR2021-00381

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             U.S. Patent 10,506,325 – Claims 1–4, 9, 10, and 14–17

1. Headphones comprising:

a pair of first and second wireless earphones to be worn simultaneously by a user,

   wherein the first and second earphones are separate such that when the

   headphones are worn by the user, the first and second earphones are not

   physically connected, wherein each of the first and second earphones

   comprises:

      a body portion;

      an earbud extending from the body portion that is inserted into an ear of the

         user when worn by the user;

      a curved hanger bar connected to the body portion, wherein the curved

         hanger bar comprises a portion that rests upon an upper external

         curvature of an ear of the user behind an upper portion of an auricula of

         the ear of the user;

      a wireless communication circuit for receiving and transmitting wireless

         signals;

      a processor circuit connected to the wireless communication circuit;

      at least one acoustic transducer for producing audible sound from the

         earbud;

      a microphone for picking up utterances of a user of the headphones;
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      an antenna connected to the wireless communication circuit; and

      a rechargeable power source; and

a docking station for holding at least the first wireless earphone, wherein the

   docking station comprises a power cable for connecting to an external device to

   power the docking station, and wherein the docking station is for charging at

   least the first wireless earphone when the first wireless earphone is placed in the

   docking station.



2. The headphones of claim 1, wherein: the wireless communication circuits are for

receiving, wirelessly, streaming audio content; the at least one acoustic transducers

are for playing the streaming audio content; and each of the first and second

earphones comprises a buffer for caching the streaming audio content prior to

being played by the at least one acoustic transducer.



3. The headphones of claim 1, wherein the processor circuit for the first earphone

is for, upon activation of a user control of the headphones, initiating transmission

of a request to a remote network server that is remote from the headphones.



4. The headphones of claim 3, wherein the processor circuit of the first earphone is

further for receiving a response to the request.
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9. The headphones of claim 1, the processor circuits of the headphones are

configured to receive firmware upgrades transmitted from a remote network server.



10. The headphones of claim 9, wherein the headphone are configured to receive

the firmware upgrades wirelessly.



14. The headphones of claim 10, wherein: the wireless communication circuits are

for receiving, wirelessly, streaming audio content; the at least one acoustic

transducers are for playing the streaming audio content; and each of the first and

second earphones comprises a buffer for caching the streaming audio content prior

to being played by the at least one acoustic transducer.



15. The headphones of claim 1, wherein the processor circuit of the first earphone

is configured to: process audible utterances by the user picked by the microphone

in response to activation of the microphone by the user; and transmit a

communication based on the audible utterances via the Bluetooth wireless

communication links.



16. The headphones of claim 1, wherein the rechargeable power source comprises
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wirelessly chargeable circuit components.



17. The headphones of claim 1, wherein the rechargeable power source comprises

a passive, wireless rechargeable power source.
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                U.S. Patent 10,491,982 – Claims 1–5 and 14–18

1. A system comprising:

headphones comprising a pair of first and second wireless earphones to be worn

   simultaneously by a user, wherein the first and second earphones are separate

   such that when the headphones are worn by the user, the first and second

   earphones are not physically connected, wherein each of the first and second

   earphones comprises:

      a body portion that comprises:

            a wireless communication circuit for receiving and transmitting

               wireless signals;

            a processor circuit in communication with the wireless

               communication circuit; and

            an ear canal portion that is inserted into an ear of the user when worn

               by the user; and

            at least one acoustic transducer connected to the processor circuit; and

      an elongated portion that extends away from the body portion such that the

         elongated portion extends downwardly when the ear canal portion is

         inserted in the ear of the user;

      a microphone connected to the processor circuit and for picking up

         utterances of a user of the headphones; an
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      antenna connected to the wireless communication circuit; and

      a rechargeable power source; and

a mobile, digital audio player that stores digital audio content and that comprises a

   wireless transceiver for transmitting digital audio content to the headphones via

   Bluetooth wireless communication links, such that each earphone receives and

   plays audio content received wirelessly via the Bluetooth wireless

   communication links from the mobile, digital audio player.



2. The system of claim 1, further comprising a docking station for holding at least

the first wireless earphone, wherein the docking station comprises a power cable

for connecting to an external device for charging the at least the first wireless

earphone when the docking station is connected to the external device via the

power cable.



3. The system of claim 1, wherein: in a first operational mode, the pair of first and

second earphones play audio content stored on the mobile, digital audio player and

transmitted to the first and second earphones from the mobile, digital audio player

via the Bluetooth wireless communication links; and in a second operational mode,

the pair of first and second earphones play audio content streamed from a remote

network server.
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4. The system of claim 1, wherein the processor circuit of the first earphone is for,

upon activation of a user control of the headphones, initiating transmission of a

request to a remote network server that is remote from the mobile, digital audio

player and in communication with the mobile, digital audio player via a data

communication network.



5. The system of claim 4, wherein the processor circuit of the first earphone is

further for receiving a response to the request.



14. The system of claim 1, wherein the processor circuits of the headphones are

configured to receive firmware upgrades pushed from a remote network server.



15. The system of claim 1, wherein the processor circuit of the first earphone is

configured to: process audible utterances by the user picked by the microphone in

response to activation of the microphone by the user; and transmit a

communication based on the audible utterances via the Bluetooth wireless

communication links.



16. The system of claim 1, wherein the rechargeable power source comprises a
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wirelessly chargeable circuit component.



17. The system of claim 1, wherein the rechargeable power source comprises a

passive, wireless rechargeable power source.



18. The system of claim 1, wherein each of the first and second earphones

comprises a buffer for caching the audio content received by the earphone prior to

being played by the at least one acoustic transducer of the earphone.
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                           UNITED STATES COURT OF
                     APPEALS FOR THE FEDERAL CIRCUIT

                                   CERTIFICATE OF INTEREST

           Case Number          2022–2091, 2022–2115
    Short Case Caption          Koss Corp. v. Vidal
    Filing Party/Entity         Koss Corp.

         Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may result in
 non-compliance. Please enter only one item per box; attach additional pages as needed
 and check the relevant box. Counsel must immediately file an amended Certificate of
 Interest if information changes. Fed. Cir. R. 47.4(b).




I certify the following information and any attached sheets are accurate and
complete to the best of my knowledge.




Date: Nov. 28, 2022                           Signature:     /s/ Mark G. Knedeisen

                                              Name:           Mark G. Knedeisen




                                                     i
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   1. Represented                2. Real Party in            3. Parent Corporations
       Entities.                     Interest.                 and Stockholders.
 Fed. Cir. R. 47.4(a)(1).      Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
Provide the full names of    Provide the full names of       Provide the full names of
all entities represented     all real parties in interest    all parent corporations
by undersigned counsel in    for the entities. Do not        for the entities and all
this case.                   list the real parties if        publicly held companies
                             they are the same as the        that own 10% or more
                             entities.                       stock in the entities.

                             ☒ None/Not Applicable           ☒ None/Not Applicable


       Koss Corp.




                        ☐      Additional pages attached



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4. Legal Representatives. List all law firms, partners, and associates that (a)
appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already
entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
      ☐     None/Not Applicable        ☐          Additional pages attached

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    Ragae M. Ghabrial



5. Related Cases. Provide the case titles and numbers of any case known to be
pending in this court or any other court or agency that will directly affect or be
directly affected by this court’s decision in the pending appeal. Do not include the
originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
R. 47.5(b).
      ☐     None/Not Applicable        ☐          Additional pages attached

 Koss Corp. v. Skullcandy, Inc., Nos. 2:21–cv–00203–DBB (D. Utah)

  Koss Corp. v. PEAG LLC, No. 3:21–cv–01177–CAB–JLB (S.D. Cal.)

  Koss Corp. v. Plantronics, Inc., No. 4:21–cv–03854–JST (N.D. Cal)




6. Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
      ☒     None/Not Applicable        ☐          Additional pages attached




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                     STATEMENT OF RELATED CASES

      This consolidated appeal arises from final written decisions in both

IPR2021–00305 concerning U.S. Patent No. 10,506,325 B1 (“the ’325 Patent”)

and IPR2021–00381 concerning U.S. Patent No. 10,491,982 B1 (“the ’982

Patent”), both assigned to Koss Corporation, which is the appellant in this

consolidated appeal. The petitioner for both inter partes review (IPR) proceedings

was Apple Inc. (“Petitioner”), which is not a party to this appeal. See Case No.

2022–2091, Dkt. No. 11 (Fed. Cir. Sept. 2, 2022).

      This appeal may affect the following pending litigations involving the ’325

and/or ’982 Patents: Koss Corp. v. PEAG LLC, No. 3:21–cv–01177–CAB–JLB

(S.D. Cal.) (’325 and ’982 Patents); Koss Corp. v. Plantronics, Inc., No. 4:21–cv–

03854–JST (N.D. Cal) (’325 Patent); and Koss Corp. v. Skullcandy, Inc., No. 2:21–

cv–00203–DBB (consolidated with Case No. 2:21–cv–00557–DBB) (D. Utah)

(’325 and ’982 Patents).

      The following pending Federal Circuit appeals involve patents in the same

family as the ’325 and ’982 Patents: Koss Corp. v. Bose Corp., Case No. 2022–

2090 (Fed. Cir.) (U.S. Patent No. 10,368,155); Koss Corp. v. Bose Corp., Case No.

2023-1179 (Fed. Cir.) (U.S. Patent No. 10,206,025); and Koss Corp. v. Bose Corp.,

Case No. 2023-1173 (Fed. Cir.) (U.S. Patent No. 10,469,934).




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                      JURISDICTIONAL STATEMENT

      The Board had jurisdiction under 35 U.S.C. §§ 311–315, and issued its Final

Written Decisions on May 31, 2022, for the ’325 Patent in IPR2021–00305

(Appx1–60), and on June 27, 2022, for the ’982 Patent in IPR2021–00381

(Appx61-137). Koss Corporation filed timely Notices of Appeal on, respectively,

August 1, 2022, for IPR2021–00305 and August 9, 2022, for IPR2021–00381.

Appx735–737; Appx5023–5025. This Court has jurisdiction under 35 U.S.C.

§§ 141–144, 319 and 28 U.S.C. § 1295(a)(4)(A).




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                        STATEMENT OF THE ISSUES

      1.    Whether there is substantial evidence supporting the Board’s

determination that independent claim 1, as well as claims 2–4, 9, 10, and 14–17

depending therefrom, of the ’325 Patent are unpatentable under 35 U.S.C. § 103.

      2.    Whether the Board erred, both in its legal conclusions and factual

findings, by applying inapposite caselaw, namely In re Keller, 642 F.2d 413

(C.C.P.A. 1981) and In re Epstein, 32 F.3d 1559 (Fed. Cir. 1994), resulting in the

Board improperly, and non-harmlessly, ignoring Koss’s evidence that independent

claim 1, as well as claims 2–5 and 14–18 depending therefrom, would not have

been obvious.




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                             STATEMENT OF THE CASE


I.       THE ’325 AND ’982 PATENTS

         The ’325 and ’982 Patents are assigned to Koss Corporation (“Koss”). Each

patent claims priority via several continuation applications to a PCT application,

PCT/US2009/039754, filed April 7, 2009, and to a provisional application, Serial

No. 61/123,265, filed April 7, 2008. Appx138–139, field codes (60), (63);

Appx167–168, field codes (60), (63). The two patents, which disclose various

types of wireless earphones, have identical written descriptions and figures. The

patents describe various functional features for the wireless earphones, such as

transitioning automatically between wireless networks (see Appx161–162, 10:10–

11:67), signal processing in the wireless earphones (Appx160, 7:30–37), and

firmware upgrades pushed to the wireless earphones (Appx161, 9:47–10:9).1 The

patents also describe various earphone form factors, including independently

wireless earphones, i.e., discrete earphones that are not physically connected when

worn by a user, that are each wireless, and that are worn in separate ears of the

user. Appx141; Appx143; Appx158, 3:16–55.



1
    Citations to disclosures in the ’325 and ’982 Patents herein are to the ’325 Patent

unless otherwise noted for sake of simplicity as the specifications of the two

patents are identical.


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      The patents describe two general types of wireless networks via which the

wireless earphones can stream content: “ad hoc” and “infrastructure” wireless

networks. According to the patents, an ad hoc wireless network is “a network

where two (or more) wireless-capable devices … communicate directly and

wirelessly, without using an access point.” Appx158, 3:7–10. Bluetooth is an

example of an ad hoc wireless link. Id., 4:59–64. An infrastructure wireless

network, on the other hand, “is a wireless network that uses one or more access

points to allow a wireless-capable device, such as the wireless earphone, to connect

to a computer network, such as a LAN or WAN (including the Internet).” Id.,

3:10–15. The wireless earphones may stream, via a wireless network, digital audio

content from various sources, such as a mobile, digital audio player (“DAP”), a

laptop, or a server connected to the Internet. Appx158, 4:31–39; Appx159, 5:58–

64. To receive and play the streamed content, each wireless earphone comprises a

“transceiver circuit,” which may be implemented as a single integrated circuit,

such as a system-on-chip (“SOC”). Appx158, 3:50–52 (each earphone may

comprise a transceiver circuit); Appx159–160, 6:30–8:9 (components of

transceiver circuit); Appx148 (Fig. 3 is a block diagram of a transceiver circuit).

Using an SOC in the earphones “is conducive to miniaturizing the components of

the earphone, which is advantageous if the earphone is to be relatively small in

size, such as an in-ear earphone (see FIGS. 1A–1B for example).” Appx159, 6:47–



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50 (reference numbers omitted).

      With reference to Figure 3 of the patents, reproduced below, the transceiver

circuit 100 includes a processor 114, which can include a digital signal processor

(“DSP”) 118. Appx160, 7:30–32. The DSP may “perform various sound quality

enhancements” for the earphone, such as “noise cancellation and sound

equalization.” Id., 7:34–37. The processor can execute firmware, which is stored

in a memory 120, 122 of the transceiver circuit, to implement the various

functionalities described in the patents for the wireless earphones, such as

transitioning between wireless networks. Appx160, 7:45–49. The patents describe

various ways in which the earphones could receive firmware upgrades, including a

host server pushing firmware upgrades to the wireless earphones. Appx161, 9:47–

10:9; Appx150 (Fig. 5).




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      Relevant to this consolidated appeal, two independently wireless earphone

form factors described in the patents are: (1) an earphone with a “hanger bar” that

extends over the top of the user’s ear (Appx143, Figs. 1D–1E; Appx158, 4:4–25);

and (2) an earphone with both an earbud that extends into the ear of the user and a

downwardly extending elongated portion (Appx141, Fig. 1B; Appx158, 3:16–25).

The claims of the ’325 Patent are limited to the first form factor type, i.e.,

earphones with a hanger bar (Appx165, 18:16–20), whereas the claims of the ’982

Patent are limited to the second form factor type, i.e., earphones with an earbud

and an elongated, downwardly extending portion (Appx194, 18:25–28).



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      Figures 1D–1E of the patents (reproduced below) show the first form factor

type. In this type of wireless earphone, the hanger bar 17 allows the earphone 10

“to clip to, or hang on, the user’s ear ….” Appx158, 4:4–6. The hanger bar “rests

upon the upper external curvature of the listener’s ear behind the upper portion of

the auricula (or pinna).” Id., 3:15–18. The wireless earphone also includes a

speaker 106–A, which is inserted into the user’s ear. Id., 4:10–12. In various

embodiments, such as shown in Figures 1D–1E, the wireless earphone could

include a second speaker 106–B, which is next to, but not inserted into, the user’s

ear. Id., 4:12–13.




      Figure 1B (reproduced below) shows the second form factor type. This

earphone includes a body portion 12, which comprises an ear canal portion 14 that


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is inserted into the user’s ear. Appx158, 3:21–23. The body portion 12 also

includes an exterior portion 15, which is not inserted into the user’s ear. Id., 3:24–

25. The exterior portion also includes the elongated portion that extends

downwardly.




      The transceiver circuit may be housed in the body portion of the earphone

for each form factor type. Appx158, 3:36–37. The earphones’ circuitry can also

include a rechargeable battery, which can be charged via a docking station for the

earphones. Appx159, 6:60–67; Appx160, 8:5–8; Appx148 (Fig. 3 shows power

source 102); Appx149 (Fig. 4A shows docking station 200).

      The ’325 Patent includes eighteen claims, with claim 1 being the sole


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independent claim. Claim 1 is directed to headphones that comprise “a pair of first

and second wireless earphones to be worn simultaneously by a user,” where the

two earphones “are separate such that when the headphones are worn by the user,

the first and second earphones are not physically connected ….” Appx165, 18:5–

11. Each of the earphones also comprises “a curved hanger bar” with a “portion

that rests on an upper external curvature of an ear of the user behind an upper

portion of an auricula of the ear of the user ….” Id., 18:16–20. Claim 1 also

recites the docking station “for charging at least the first wireless earphone when

the first wireless earphone is placed in the docking station.” Id., 18:32–38.

      The ’982 Patent includes twenty claims, with claim 1 being the sole

independent claim. Claim 1 is directed to a system that comprises headphones and

a “mobile, digital audio player.” Appx194, 18:8–40. Like the ’325 Patent, the

claimed headphones in the ’325 Patent comprise “a pair of first and second

wireless earphones to be worn simultaneously by a user,” where the two earphones

“are separate such that when the headphones are worn by the user, the first and

second earphones are not physically connected ….” Id., 18:9–14. Unlike the ’325

Patent, the claimed earphones of the ’982 Patent comprise a body portion with an

“ear canal portion” and “an elongated portion that extends downwardly from the

body portion such that the elongated portion extends downwardly when the ear

canal portion is inserted in the ear of the user ….” Id., 18:16–28. The claimed



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“mobile, digital audio player … stores digital audio content and … comprises a

wireless transceiver for transmitting digital audio content to the headphones via

Bluetooth wireless communication links, such that each earphone receives and

plays audio content received wirelessly via the Bluetooth wireless communication

links from the mobile, digital audio player.” Id., 18:34–40.

      The claims of the ’982 Patent do not recite “a curved hanger bar,” as claimed

in the ’325 Patent, and the claims of the ’325 Patent do not recite “an elongated

portion that extends downwardly from the body portion,” as claimed in the ’982

Patent.


II.   DISTRICT COURT PROCEEDINGS

      Koss sued Petitioner for patent infringement on July 22, 2020, in the United

States District Court for the Western District of Texas, asserting several patents,

including the ’325 and ’982 Patents. Koss Corp. v. Apple Inc., Case No. 6:20–cv–

00665 (W.D. Tex.); Appx43; Appx63; Appx3340; Appx1580–1582. The district

court construed some terms in the ’325 and ’982 Patents, Appx3953–3954,

although those constructions were not germane to the IPRs and are not germane to

this consolidated appeal. Prior to any adjudication of the validity of any claims of

the ’325 and ’982 Patents, Koss and Petitioner “resolved all matters in controversy

between them,” such that the district court dismissed the case. Koss Corp. v. Apple

Inc., Case No. 6:20–cv–00665, Dkt. Nos. 303 and 304 (W.D. Tex. Jul. 23, 2022).


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       On the same day that Koss sued Petitioner, Koss also sued, also in the

Western District of Texas, other parties for infringing, among other Koss patents,

the ’325 and ’982 Patents. Koss sued both PEAG d/b/a JLab Audio and

Skullcandy, Inc., for infringing both the ’325 and ’982 Patents. Koss Corp. v.

PEAG LLC, Case No. 6:20–cv–00662 (W.D. Tex.); Koss Corp. v. Skullcandy, Inc.,

Case No. 6:20–cv–00664 (W.D. Tex.); Appx364. Koss asserted the ’325 Patent,

but not the ’982 Patent, against Plantronics, Inc. Koss Corp. v. Plantronics, Inc.,

Case No. 6:20–cv–00663 (W.D. Tex.); Appx4548. These three cases are presently

pending after being refiled in or transferred to, as the case may be, other venues.

Koss Corp. v. PEAG LLC, Case No. 3:21–cv–01177, Dkt. No. 40 (S.D. Cal. Oct. 5,

2021); Koss Corp. v. Skullcandy, Inc., Case No. 2:21–cv–00203, Dkt. No. 43 (D.

Utah July 21, 2021); Koss Corp. v. Plantronics, Inc., Case No. 4:21–cv–03854,

Dkt. No. 79 (N.D. Cal. Oct. 18, 2021).


III.   INTER PARTES REVIEW PROCEEDINGS
       Petitioner filed two IPRs for each of the ’325 and ’982 Patents. The first

IPR for each patent was instituted and the Board’s final written decisions

(“FWDs”) for those two IPRs are the subject of this consolidated appeal. Appx1–

60 (FWD for IPR2021–00305 for the ’325 Patent); Appx61–137 (FWD for

IPR2021–00381 for the ’982 Patent). The Board did not institute Petitioner’s

second IPR for either patent. Apple Inc. v. Koss Corp., IPR2021–00679, Paper 14


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(PTAB Oct. 12, 2021) (’325 Patent); Apple Inc. v. Koss Corp., IPR2021–00686,

Paper 12 (PTAB Oct. 12, 2021) (’982 Patent).

      In the two instituted IPRs, Petitioner relied on expert testimony from Jeremy

Cooperstock, Ph.D. (“Cooperstock”), who has a Ph.D. in electrical and computer

engineering and is a professor at McGill University. Appx10; Appx70; Appx1247,

¶¶ 6–7; Appx5516, ¶¶ 6–7. In both IPRs, Koss relied on testimony from both

Joseph C. McAlexander III (“McAlexander”) and Nicholas S. Blair (“Blair”).

Appx10; Appx70. McAlexander has a Bachelor of Science degree in electrical

engineering and worked for many years at Texas Instruments. Appx4045–4048,

¶¶ 3–9; Appx8821–8823, ¶¶ 3–9. Blair is the Director of Product for Koss and has

developed several earphone models over his career, such that “a significant focus

of [his] work has been on the design of earphones.” Appx4126, ¶¶ 1–4;

Appx8910, ¶¶ 1–4.

      A.    IPR2021–00305 for the ’325 Patent

            1.      Asserted Grounds and Evidence

      In IPR2021–00305, Petitioner petitioned that claims 1–4, 9, 10, and 14–18

of the ’325 Patent are invalid under 35 U.S.C. § 103 on the following grounds,

which the Board instituted:




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            Ground          Claims                   References

               1A          1, 2, 16–18            Rosener, Huddart

               1B             3, 4            Rosener, Huddart, Haupt

               1C           9, 10, 14          Rosener, Huddart, Price

               1D              15             Rosener, Huddart, Paulson

               1E            16, 17         Rosener, Huddart, Vanderelli

Appx208; Appx11; Appx386.

      For Ground 1A, Petitioner relied on Rosener to show all of claim 1’s

limitations except the rechargeable power source and the docking station, for

which Petitioner relied on Huddart. Appx233–234; Appx19. Rosener discloses, at

Figure 4 thereof (shown below), “an illustration of a user wearing a prior art

Bluetooth enabled over-the-ear monoaural wireless headset.” Appx1419, ¶ [0017];

Fig. 4. The single earphone shown in Figure 4 includes “an earloop 404 that is

configured to fit around the outer ear of the user 400.” Appx1418, ¶ [0008].

Rosener’s Figure 4 headset is “monoaural” because “it operates with only one of

the user’s two ears.” Id. It also includes “a voice tube 406 for directing sound

from the user’s voice to a microphone within the headphone housing.” Id.




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      Rosener shows another wireless earphone form factor in Figure 5 (shown

below), which is “an illustration of a user wearing a wireless headset comprising

first and second wireless earphone[s] ….” Appx1419, ¶ [0018]. The earphones

shown in Figure 5 include an earbud and a downwardly extending member.

Important to this appeal, Rosener discloses that the earphones “may be in the form

of an earbud designed to fit into the concha of the pinna of the user’s ear,” which is

what appears to be shown in Figure 5, but Rosener also discloses that the

earphones may be in the form of “a canalphone, which can be fitted within the ear

canal of the user’s ear; an over-the-ear circum-aural type headphone; or any other

suitable configuration that may be attached to, worn on, or fitted within the user’s

ear.” Id., ¶ [0030]. Rosener further discloses that the earphones “may further


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include a clip, earloop, or other suitable securing mechanism to help maintain the

earphone 502 or 504 on the ear of the user.” Appx1420, ¶ [0030].




      Petitioner and Cooperstock relied on a modified version (shown below) of

Rosener’s Figure 5 to assert that the earphone structure of claim 1 of the ’325

Patent, with its body portion, earbud, and curved hanger bar, would have been

obvious. Appx242–244; Appx1295–1296, ¶ 84. Petitioner’s modified Figure 5

combines securing mechanisms from two different embodiments of Rosener:

(1) the earbud and the downwardly extending member of Rosener’s Figure 5; and



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(2) the earloop of Rosener’s Figure 4.




      Blair, who has a background developing earphones (Appx4126–4127, ¶¶ 4–

5), testified that adding an earloop to an earphone with an earbud and a

downwardly extending member, as shown in Petitioner’s modified Figure 5, would

counteract the securing forces of the earbud-downwardly extending member

earphone and actually work to pry the earbud out of the user’s concha (i.e., the

bowl-shaped cavity just outside the opening of the ear canal). Appx4135–4136,



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¶ 16; Appx4128, ¶ 7. 2 Blair explained that, with respect to the earphones depicted

in Rosener’s Figure 5, “the downwardly-extending member for each earphone is

intended to extend through the intratragal notch of the user’s ear.… The weight of

the downwardly-extending member serves to keep the earbud seated on the lower

portion of the concha of the user’s ear so that the earbud tends to stay on (or

secured in) the user’s ear.” Appx4131–4132, ¶ 12. According to Blair, the earloop

in Rosener’s Figure 4 also exerts a force acting on the earphone to hold it in place.

Appx4133–4134, ¶14. However, such a force is exerted toward the back of the ear

(i.e., in the opposite direction of the boom mic that would be extending to the

user’s mouth). Id. If the two securing mechanisms were combined—that is, the

earloop combined with the earbud-downwardly extending member of Rosener’s

Figure 5, which is the combination relied upon by the Petitioner and its expert—

the result would be a force that “extends in a direction that would tend to displace

the in-ear portion of the earbud out of the concha, displace the downwardly

projecting member out of the intratragal notch, and/or displace the earloop from

around the user’s ear. In effect, the resultant force would essentially pry the

earbud out of the concha, which would lessen the sound quality characteristics of



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    Blair’s declaration describes the anatomy of the human ear. Appx4128-4129,

¶¶ 7-8.


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the earbud and result in earphones that are uncomfortable for the user.”

Appx4135–4136, ¶ 16 (emphasis added).

      Petitioner did not depose Blair. Instead, in response to Blair’s testimony,

Petitioner proffered more testimony from Cooperstock. Appx2771–2800.

Cooperstock disagreed with Blair’s testimony because it “assume[d] a specific

configuration of the earphones that includes a downwardly-extending member,”

Appx2778, ¶ 13, although neither Petitioner nor Cooperstock proposed an

alternative configuration than what is shown in Petitioner’s modified Figure 5 of

Rosener. Cooperstock also asserted that Blair’s analysis of the applicable forces

“miss[es] several forces that would be acting on the earphones when they are worn

by the user,” including that Blair’s analysis failed to compute the center of mass

for the modified Rosener earphones. Appx2781–2786, ¶¶ 19–28. Puzzlingly,

however, Cooperstock testified that such an analysis would be impossible:

“without having specification of the parameters, the weights of the different

elements, the components, the attachment, the coefficient of friction,

[Cooperstock] would not be able to perform such calculations.” Appx4273. To

that end, Cooperstock did not construct the modified Rosener earphones, did not

create a computer model for them, did not compute the center of mass, and did not

perform any mathematical calculations of the forces that would be acting on the

earphones. Appx4272–4273. Further, in stark contrast to Blair’s significant



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earphone design experience, Cooperstock had only ever designed a single pair of

earphones, which design took place in the “early 1970s.” Appx4260–4261. The

earphones designed by Cooperstock fifty years ago were “fairly simple, using

existing components of speakers, wires, [and] power supply.” Appx4261. They

were not wireless and not commercially sold, and Cooperstock does not have any

patents on headphones. Id.

             2.    Final Written Decision

      In the FWD, the Board found that Petitioner proved by a preponderance of

the evidence that claims 1–4, 9, 10, and 14–17 of the ’325 Patent are unpatentable

under § 103, but that Petitioner had not proved that dependent claim 18 is

unpatentable. Appx2. The Board adopted Petitioner’s proposed skill level for the

relevant person having ordinary skill in the art (“POSITA”), which was “at least a

Bachelor’s Degree in an academic area emphasizing electrical engineering,

computer science, or a similar discipline, and at least two years of experience in

wireless communications across short distance or local area networks.” Appx13

(citing Appx1262, ¶ 34). Koss proposed a slightly different POSITA standard, but

acknowledged that the difference in skill level would not lead to a different result.

Appx13.

      Relevant to claim 1, the Board found that it “need not evaluate which of the

experts’ views on the various forces on a Figure 4/5 combination would have been



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correct” because “Rosener expressly describes earbuds with curved hanger bars”

based on Rosener’s ¶ [0030]. Appx23–24. The Board read Petitioner’s modified

Figure 5 in the petition as merely “an illustration of how these expressly described

features might look together, as Rosener does not have a figure depicting that

embodiment” and did not read it “as a proposed physical combination of different

embodiments within Rosener.” Appx23.

       The Board also found that dependent claims 2–4, 9, 10, and 14–17 would

have been obvious under the asserted invalidity grounds. Appx28–30; Appx50–

58. The Board, however, concluded that Petitioner failed to show that claim 18

was unpatentable. Appx30–40.

       B.       IPR2021–00381 for the ’982 Patent

                1.   Asserted Grounds and Evidence

       In IPR2021–00381, Petitioner petitioned that claims 1–5 and 14–20 of the

’982 Patent are invalid under § 103 on the following grounds, which the Board

instituted:

     Ground            Claims                        References

       1(A)          1, 2, 18–20                  Rosener, Hankey

      1(A)(i)        1, 2, 18–20               Rosener, Hankey, Dyer

       1(B)             3, 5                   Rosener, Hankey, Haupt

      1(B)(i)           3, 5               Rosener, Hankey, Haupt, Dyer

       1(C)              14                    Rosener, Hankey, Price


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     Ground          Claims                           References

      1(C)(i)           14                    Rosener, Hankey, Price, Dyer

       1(D)             15                     Rosener, Hankey, Paulson

     1(D)(i)            15                Rosener, Hankey, Paulson, Dyer

       1(E)           16, 17                   Rosener, Hankey, Huddart

      1(E)(i)         16, 17              Rosener, Hankey, Huddart, Dyer

       1(F)             17             Rosener, Hankey, Huddart, Vandarelli

      1(F)(i)           17          Rosener, Hankey, Huddart, Vandarelli, Dyer

Appx4432; Appx71; Appx4638.

      For Grounds 1(A) and 1(A)(i), Petitioner acknowledged that Rosener is

“silent as to the implementation details of arranging Rosener’s electrical

components within the compact form factor of each of the earphones” shown in

Rosener’s Figure 5 and that Rosener “contains only a limited disclosure of the

details of the earphones’ form factor.” Appx4456 (citing Appx5543, ¶ 45). To

overcome (allegedly) these deficiencies of Rosener, Petitioner relied on Hankey,

which Petitioner asserted provides “techniques to implement a headset within ‘a

small compact unit.’” Appx4452 (citing Appx5784, ¶ [0093]; Appx5785–5786,

¶ [0103]). Hankey discloses a single-earpiece headset with a flexible circuit board

that can “fold upon itself or bend,” which allows the circuit board to “fit in smaller

or less traditionally-shaped earbuds.” Appx5788–5789, ¶ [0130].




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                   a.     Ground 1(A)

      Petitioner relied on Cooperstock’s testimony that claim 1 would have been

obvious under Ground 1(A). Cooperstock testified that a POSITA at the time of

the ’982 Patent’s critical date would have had the same minimum skill level that a

POSITA would have for the ’325 Patent, namely “at least a Bachelor’s Degree in

an academic area emphasizing electrical engineering, computer science, or a

similar discipline, and at least two years of experience in wireless communications

across short distance or local area networks,” where “[s]uperior education could

compensate for a deficiency in work experience, and vice-versa.” Appx5529, ¶ 30;

Appx71. Koss agreed that is an appropriate POSITA skill level and the Board

adopted this POSITA skill level in the FWD. Appx72; see also Appx4662 (Board

adopting the same POSITA skill level in the Institution Decision).

      Under this standard, a POSITA can have merely a bachelor’s degree in

computer science and two years of experience in short-distance wireless

communication or local area networks, with no skills or experience specific to

sound engineering or wireless headphone technology (hereinafter referred to below

as the “Baseline POSITA” for the ’982 Patent). While electrical engineering and

computer science may provide context for certain underlying principles related to

circuitry and signal transmissions, these academic disciplines do not specifically

pertain to acoustics, wireless headphones, or even wireless speakers. Appx8829



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(McAlexander Dec.), ¶ 20. Similarly, two years of experience with short-distance

wireless communications or local area networks would also not necessarily involve

acoustics, wireless headphones, or wireless speakers. Id. Importantly, among the

skills that Cooperstock did not identify that a POSITA for the ’982 Patent would

necessarily have are skills or experience related to designing the acoustic

transducer for a wireless earphone, fitting all of the components into a small form

factor earphone, and powering the device in a manner suitable for a wireless

earphone.

      Cooperstock’s skill level far exceeds the Baseline POSITA. Cooperstock

earned a Ph.D. in electrical and computer engineering in 1996. Appx5516, ¶ 7. He

also has over 25 years of industry experience. Appx5516–5518, ¶¶ 8–11;

Appx5632–5637. Cooperstock, however, could not explain how many of the

components in Rosener’s and Hankey’s headsets operate, including components

that are critical to constructing operative wireless earphones. For example,

Rosener’s earphones include a speaker (or “transducer element”), which Rosener

explains could be “a magnetic element attached to a voice-coil-actuated

diaphragm, an electrostatically charged diaphragm, a balanced armature driver, or

a combination of one or more of these transducer elements.” Appx1419–1420,

¶ [0030]. Yet Cooperstock, who has skills superior to the Baseline POSITA, could

not explain how the speaker elements disclosed in Rosener operate or even how



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they compare to one another. Appx8716–8722. However, according to

McAlexander, to design and construct operative wireless earphones, the designer

would need to select the appropriate transducer design given the sound quality and

earphone form factor considerations. Appx8846, ¶ 50.

      Rosener’s earphones also include a data buffer and an A/D converter, and

Rosener explains several ways “to compensate for differential latencies between”

the data streams for the two independently wireless earphones. Appx1420–1421,

¶¶ [0037]–[0039]. Cooperstock provided puzzling testimony about how these

components operate. Cooperstock testified that Rosener’s A/D converter “take[s]

samples out of” the data buffer and “consumes” the data samples in the data buffer.

Appx8725, ll. 3–6 (“my understanding is that an A/D converter that is connected to

a buffer will take samples out of that buffer”); id., ll. 6–9 (A/D converter is “taking

samples out of” the data buffer and “passing it on to the next stage in the circuit”);

Appx8729, ll. 3–6 (“my understanding is that if there’s an A/D converter that is

consuming content from the buffer, that means the buffer is holding analog

information or analog data”).

      McAlexander interpreted Rosener differently. According to McAlexander,

Rosener’s A/D converter samples (after some processing) the received analog

signal. Appx8848, ¶ 54; see also Appx1421–1422 (Rosener), ¶ [0047].

McAlexander elaborated that an “A/D converter, by its very nature, converts an



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analog signal to digital values” so that it “makes sense, therefore, that the A/D

converter would convert an input analog signal to digital values (i.e., data) for

storage in the data buffer.” Appx8848, ¶ 54. Thus, according to McAlexander,

and in contrast to Cooperstock’s understanding, Rosener’s data buffers store the

outputs of the corresponding A/D converter. Id. McAlexander’s understanding is

consistent with Rosener’s disclosure. Rosener describes that if the A/D converter

is too fast, the A/D converter will stall because it will run out of data faster than

data are provided to it. Appx1420, ¶ [0038]. Thus, with a fast A/D converter,

there will be fewer digitized samples to store in the data buffer (because the A/D

converter will have stalled), so Rosener proposes techniques (interpolated or

repeated data samples) to replenish the data buffer. Appx1421, ¶ [0039]. That

suggests, according to McAlexander’s testimony, that the output of the A/D

converter (i.e., digitized samples) is input to the data buffer for storage (Appx8849,

¶ 55), which is the opposite of Cooperstock’s testimony about how Rosener

operates.

      McAlexander also testified that claim 1 would not have been obvious under

Ground 1(A) because the Rosener–Hankey “modification would require superior

skills in audio electronics far beyond those of the applicable POSITA,” including

“specific knowledge of the individual transducer elements, signal processing, and

data buffering disclosed by Rosener and Hankey, as well as a specific knowledge as



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to how such components are integrated into small form factor wireless headphones

that provide an acceptable sound quality and a comfortable fit within the user’s ear.”

Appx8843, ¶ 47.

                    b.     Ground 1(A)(i)

      Petitioner asserted Ground 1(A)(i), which includes Dyer in conjunction with

Rosener and Hankey, “to the extent [Koss] claims that a POSITA would have

required additional specificity as to the structure of the portion of the canalphone

that is inserted into a user’s ear ….” Appx4460. Dyer discloses an “eartip” that is

attachable to a “standard, generic earphone ….” Appx5820, 2:22–23. Petitioner

proposed a Rosener–Hankey–Dyer canalphone, reproduced below, for Ground

1(A)(i), where the composite canalphone includes the form factor of Hankey’s

earpiece (primary housing 1010 and neck 1030) with additional components from

Dyer’s earphone—namely, the sub-enclosure 115, sound delivery member 111,

and eartip 121. Appx4467; Appx5578, ¶ 97.




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      Blair, however, testified that the “Rosener-Hankey-Dyer canalphone would

not stay in a user’s ear” because the “canalphone does not include an adequate

securing mechanism, and the ‘body portion’ thereof forms an extended

cantilevered arm between the in-ear portion of the canalphone and the primary

housing 1010, which would generate a significant torque at the in-ear portion from

the offset weight of the primary housing.” Appx8921–8922, ¶ 20. This “torque

would cause user discomfort as the canalphone is rotated upward away from the

lower surface of the concha and would likely dislodge the canalphone from the

user’s ear.” Appx8922, ¶ 20. In light of this testimony, McAlexander opined that

a “POSITA would likely understand that the combination of Rosener-Hankey-

Dyer, as proposed by Petitioner, would not be mechanically feasible and thus, a

POSITA would not be motivated to modify Rosener in view of Hankey and Dyer



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to make the combination proposed in the Petition.” Appx8851, ¶ 59.

             2.    Final Written Decision

      The Board found that Petitioner proved by a preponderance of evidence that

challenged claims 1–5 and 14–18 are unpatentable under § 103, and that Petitioner

failed to prove that challenged claims 19 and 20 are unpatentable. Appx62. The

Board rejected Koss’s argument that a POSITA could not reasonably make the

proposed combinations for Grounds 1(A) and 1(A)(i), as evidenced by

Cooperstock’s inability to understand important concepts in the relied-upon

references (Rosener and Hankey) and Cooperstock’s superior skill level compared

to the minimum skill level for a POSITA for the ’982 Patent. Appx84–87.

      The Board rejected Koss’s “complexity arguments” because, according to

the Board, they were “predicated on bodily incorporation,” which is “not the test

for obviousness.” Appx86. The Board found that “design and implementation

details of the headphones would have been well-known,” that “the properties,

characteristics, and use of audio transducers … were all well-known by the Critical

Date,” and that “materials for the flexible electrical connectors were also well-

known by the Critical Date.” Id. Citing In re Epstein, 32 F.3d 1559, 1568 (Fed.

Cir. 1994), the Board concluded that if a POSITA “could make the invention

described and claimed in the ’982 Patent, the combination would likewise be made

based on the same level of disclosure in Rosener.” Appx87. In that connection,



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the Board found that the “claims do not include limitations regarding design and

operability” such that the Board’s inquiry was limited to “what the combined

teachings of the references would have suggested to” a Baseline POSITA.

Appx87. The Board was “not persuaded that the design and operational issues

raised by [Koss] would have precluded a [POSITA] from understanding the

references and any differences between the references and claim 1.” Appx88; see

also Appx91 (“We find Hankey’s small form factor wirelessly connected earpieces

resolve the problems identified by Rosener …”).

      With respect to Ground 1(A)(i), the Board gave neither expert conclusive

weight on the design issues presented by Dyer’s canalphone. Appx92. However,

the Board found that a POSITA “would have recognized that Rosener’s disclosure

of a canalphone could be implemented in the Rosener-Hankey combination as

advanced in the Petition to provide a superior securing mechanism than an

earphone configuration, like that disclosed in Hankey.” Id. (citing Appx4849).

The Board found Blair’s testimony inconclusive on this point. Appx92.

      The Board also concluded that Petitioner proved by a preponderance of the

evidence that dependent claims 2–5 and 14–18 are unpatentable under § 103

(Appx103–104; Appx109–127), but that Petitioner failed to prove that dependent

claims 19 and 20 are unpatentable. Appx104–109.




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IV.   INTERVENTION BY THE DIRECTOR OF THE UNITED STATES
      PATENT AND TRADEMARK OFFICE

      This Court granted Koss’s unopposed motion to withdraw Petitioner as a

party to this consolidated appeal. See Case No. 2022–2091, Dkt. No. 11 (Fed. Cir.

Sept. 2, 2022). Thereafter, the Director of the United States Patent and Trademark

Office intervened. Id., Dkt. No. 13 (Fed. Cir. Sept. 19, 2022).




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                             SUMMARY OF ARGUMENT

      I.      The Board erred finding that Petitioner proved by a preponderance of

the evidence that claims 1–4, 9, 10, and 14–17 of the ’325 Patent are unpatentable

under 35 U.S.C. § 103. No substantial evidence supports the Board’s decision

because no reasonable mind would accept as adequate the Board’s reasoning that

Rosener’s ¶ [0030] expressly discloses the “hanger bar” wireless earphone form

factor of claim 1 of the ’325 Patent. That error was not harmless because the

evidence of record fails to prove that the form factor of claim 1 would have been

obvious in view of Rosener (or the other references cited by Petitioner against

claim 1). Specifically, as explained by one of Koss’s witnesses, Blair, the

modified Figure 5 earphones of Rosener relied upon by Petitioner would have had

resulting forces that would have pried the earphones out of the user’s ears. The

Board’s finding that Rosener’s ¶ [0030] expressly discloses the “hanger bar”

wireless earphone form factor of claim 1 of the ’325 Patent precluded the Board

from considering the merits of Blair’s testimony.

       II.    The Board made both non-harmless legal conclusions and factual

findings with respect to claim 1 of the ’982 Patent. The Board’s non-harmless

legal error was its reliance on In re Keller, 642 F.2d 413 (C.C.P.A. 1981) to reject

Koss’s “complexity arguments” showing the patentability of claim 1 as being

improperly “predicated on bodily incorporation.” Appx86. Koss, however, did not



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make any bodily incorporation argument. Koss’s argument was that the

undisputed evidence showed that a POSITA, and particularly a Baseline POSITA,

could not arrive at the subject matter of claim 1 in view of the relied-upon

references for Grounds 1(A) and 1(A)(i) because the concepts involved were

beyond the skill level of a Baseline POSITA, as evidenced by the testimony from

each party’s expert. The Board’s non-harmless factual findings include (i) that

Rosener has the same level of disclosure as the ’982 Patent, and (ii) that the

challenged claims “do not include limitations regarding design and operability.”

Appx87. To the contrary, Rosener does not have the same level of disclosure as

the ’982 Patent specification, thereby making the Board’s reliance on In re Epstein,

32 F.3d 1559 (Fed. Cir. 1994) misplaced. The ’982 Patent specification has

important enabling disclosures about the earphone form factor of claim 1 that

Rosener does not possess, including the use of a single integrated circuit, such as

an SOC, for the earphones’ internal electronics. Appx188, 6:49–54. Also,

contrary to another factual finding of the Board, the challenged claims

undisputedly include limitations regarding design and operability of the wireless

earphones. The Board’s legal errors were not harmless because Petitioner failed to

show that claim 1 is unpatentable when Koss’s evidence is considered.




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                                      ARGUMENT


I.    STANDARD OF REVIEW

      Obviousness is a legal question based on underlying findings of fact. Univ.

of Strathclyde v. Clear-Vu Lighting LLC, 17 F.4th 155, 160 (Fed. Cir. 2021). This

Court reviews the Board’s ultimate obviousness determination de novo and

underlying factual findings for substantial evidence. LG Elecs. Inc. v.

Immervision, Inc., 39 F.4th 1364, 1371 (Fed. Cir. 2022). Legal conclusions are

those reached by the application of the law to a given set of facts, and under a de

novo standard of review, this Court gives no deference to legal conclusions of the

Board. Kamstrup A/S v. Axioma Metering UAB, 43 F.4th 1374, 1380 (Fed. Cir.

2022) (legal conclusions reviewed de novo). For the Board’s underlying factual

findings, substantial evidence is “something less than the weight of the evidence

but more than a mere scintilla of evidence,” meaning that “[i]t is such relevant

evidence as a reasonable mind might accept as adequate to support a conclusion.”

In re NuVasive, Inc., 842 F.3d 1376, 1379–80 (Fed. Cir. 2016) (internal quotation

marks omitted).


II.   NO SUBSTANTIAL EVIDENCE SUPPORTS THE BOARD’S
      DETERMINATION THAT CLAIMS 1–4, 9, 10, AND 14–17 OF THE
      ’325 PATENT ARE UNPATENTABLE

      Independent claim 1 of the ’325 Patent recites that each earphone in the pair

comprises (i) a body portion, (ii) an earbud extending from the body portion that is

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inserted into the user’s ear when worn by the user, and (iii) a curved hanger bar

connected to the body portion. Appx165, 18:11–19; Appx9. In finding that claim

1 of the ’325 Patent would have been obvious, the Board concluded that “Rosener

expressly describes earbuds with curved hanger bars” such that the Board did not

need to “evaluate which of the experts’ views on the various forces of a Figure 4/5

combination would have been correct.” Appx23. The Board also “s[aw] no

description in Rosener that would limit Rosener’s clip or earloop to only some

earphone form factors” and “specifically [found] that Rosener’s description of an

earloop helping maintain the earphone ‘on the ear of the user’ … is not an attempt

to exclude earbuds.” Appx24.

      No reasonable mind would accept this reasoning as adequate because

Rosener does not expressly disclose the hanger bar form factor earphones recited

in claim 1. Even if the Board’s finding that Rosener does not limit Rosener’s clip

or earloop to certain form factors is given deference, Rosener does not disclose the

hanger bar form factor of claim 1. The Board’s error in finding that Rosener

expressly discloses the form factor of claim 1 was not harmless, because, without

Rosener expressly disclosing the earbud form factor of claim 1, the operative

question becomes whether that earbud form factor would have been obvious in

view of Rosener (and/or Hankey and/or Dyer). That question implicates the

experts’ views on the feasibility of Petitioner’s modified Figure 5 earphones, and



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Blair’s testimony on this issue is significantly more compelling than Cooperstock’s

testimony given Blair’s expertise on the issue.

      A.     A Reasonable Mind Would Not Accept That Rosener Expressly
             Discloses the Earbud Form Factor of Claim 1

      The Board relied on Rosener’s ¶ [0030] to conclude that Rosener expressly

teaches the earphone form factor of claim 1. Appx23–24. However, the Board’s

interpretation of ¶ [0030] is misplaced, and no reasonable mind would accept it.

      Rosener’s ¶ [0030] begins by referencing Figure 5, which shows wireless

earphones with a housing (or body portion) and an earbud, but no hanger bar or

earloop. Appx1419; Appx1408. After describing the earphones depicted in Figure

5, Rosener’s ¶ [0030] states that the earphone could have a variety of form factors,

i.e., “an earbud designed to fit into the concha of the pinna of the user’s ear; a

canalphone, which can be fitted within the ear canal of the user’s ear; an over-the-

ear circum-aural type headphone; or any other suitable configuration that may be

attached to, worn on, or fitted within the user’s ear.” Appx1419. It is undisputed

that an over-the-ear circum-aural type headphone does not have an earbud that is

inserted into the user’s ear. Appx4067, ¶ 42; Appx2942 (an over-the-ear circum-

aural headphone is a “headphone that is worn around the ear and fully

encompasses the ear”). To that end, according to this sentence, the earbud and

canalphone form factors fit “into” or “within” the user’s ear, whereas the over-the-

ear circum-aural type headphone does not because it does not have an earbud.


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      The immediately next sentence in ¶ [0030] states that each of the earphones

“may further include a clip, earloop, or other suitable securing mechanism to help

maintain the earphone … on the ear of the user.” Appx1420. Thus, according to

Rosener, the clip or earloop is for maintaining the earphone “on” the user’s ear,

which is in contrast to the earbud and canalphone form factor types, which are,

according to Rosener, fitted “into” or “within” the user’s ear. Thus, neither the

earbud nor canalphone form factor type would include a clip or an earloop

according to Rosener, which reserves the clip or earloop for use with over-the-ear

circum-aural earphones that are “on” the user’s ear.

      A reasonable person would accept this interpretation of ¶ [0030] because it

is consistent with the remainder of Rosener. The only earphone shown in Rosener

with an earloop is Rosener’s Figure 4, which shows an over-the-ear circum-aural

earphone, not an earbud or a canalphone. Appx1407. Rosener explicitly

characterizes the headset shown in Figure 4 of Rosener as an “over-the-ear

wireless headset” that is “configured to fit around the outer ear of the user ….”

Appx1418, ¶ [0008]; see also Appx4067, ¶ 43. This teaching is consistent with the

form factor teachings in Rosener’s ¶ [0030]: only over-the-ear (or “circum-aural”)

earphones, which do not have an earbud, could include the earloop according to

Rosener.

      Consequently, Rosener does not expressly disclose the form factor of claim



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1 and no reasonable mind would conclude that it does. Rosener only discloses

over-the-ear circum-aural earphones as potentially having earloops, and over-the-

ear circum-aural earphones do not comprise an earbud as required by claim 1.

Appx4067, ¶ 42; Appx2942 (an over-the-ear circum-aural headphone is a

“headphone that is worn around the ear and fully encompasses the ear”).

      B.    The Evidence Fails to Show That It Would Have Been Obvious to
            Add Earloops to the Earphones Shown in Rosener’s Figure 5

      The Board’s erroneous determination that Rosener expressly discloses the

form factor of claim 1 was not harmless because the form factor of claim 1 also

would not have been obvious in view of Rosener (and/or Hankey and/or Dyer).

The Petitioner’s sole theory for asserting that claim 1’s form factor would have

been obvious in view of Rosener was Petitioner’s modified Figure 5 of Rosener

(reproduced above; see also Appx21). Whether the modified Figure 5 shows the

obviousness of claim 1 implicates the competing testimony of the parties’ experts

on the feasibility of the earphones shown in the modified Figure 5, which the

Board did not evaluate. Appx23. The evidence, in the form of the testimony of

Blair, whose career is devoted to developing earphones, overwhelmingly

demonstrates that the modified Figure 5 earphones are not practical and would not

have been obvious.

      Blair testified that adding an earloop to an earphone with an earbud and a

downwardly extending member, as shown in Rosener’s Figure 5, would counteract


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the securing forces of the earbud-downwardly extending member earphone and

actually work to pry the earbud out of the user’s concha. Appx4135–4136, ¶ 16.

Blair explained that, with respect to the earphones depicted in Rosener’s Figure 5,

“the downwardly-extending member for each earphone is intended to extend

through the intratragal notch of the user’s ear.… The weight of the downwardly-

extending member serves to keep the earbud seated on the lower portion of the

concha of the user’s ear so that the earbud tends to stay on (or secured in) the

user’s ear.” Appx4131–4132, ¶ 12.3 The earloop in Rosener’s Figure 4 also exerts

a force acting on the earphone to hold it in place. Appx4133, ¶ 14. However, such

force is exerted toward the back of the ear (i.e., in the opposite direction of the

boom mic that would be extending to the user’s mouth). Id. If the two securing

mechanisms were combined—that is, the earloop combined with the earbud-

downwardly extending member of Rosener’s Figure 5—the result would be a force

that “extends in a direction that would tend to displace the in-ear portion of the

earbud out of the concha, displace the downwardly-projecting member out of the

intratragal notch, and/or displace the earloop from around the user’s ear. In effect,

the resultant force would essentially pry the earbud out of the concha, which



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    Blair described the “intratragal notch” and other components of the human ear at

Appx4128, ¶ 7.


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would lessen the sound quality characteristics of the earbud and result in earphones

that are uncomfortable for the user.” Appx4135–4136, ¶ 16 (emphasis added).

      Blair’s testimony is supported by Rosener, because Rosener only depicts an

earloop with the over-the-ear earphone of Rosener’s Figure 4, and the earloop,

according to Blair, is intended to support the headphone in a position near the

user’s ear, while balancing the torque from the boom mic (element 406 in

Rosener’s Fig. 4), so that the headphone is in an orientation that adequately directs

a sound emitted from the user’s mouth to the boom mic. Appx4129, ¶ 9. The

earbuds shown in Rosener’s Figure 5 do not include an extended boom mic or an

earloop (Appx1408) and a POSITA would not add an earloop to the earbud-

downwardly extending member depicted in Rosener’s Figure 5, as shown in

Petitioner’s modified Figure 5. Appx4067, ¶ 43.

      The soundness of Blair’s testimony, given his extensive and relevant

experience, is evidenced by the fact that Petitioner chose not to depose him.

Instead, Petitioner proffered more testimony from Cooperstock in an attempt to

refute Blair’s testimony. No reasonable person, however, would accept

Cooperstock’s testimony over Blair’s. Cooperstock does not possess any

meaningful earphone design and/or development experience. In stark contrast to

Blair’s experience, Cooperstock has only designed a single pair of earphones in the

“early 1970s.” Appx4260–4261. The earphones designed by Cooperstock fifty



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years ago were “fairly simple, using existing components of speakers, wires, [and]

power supply,” not wireless, and not commercially sold. Appx4261. Cooperstock

also does not have any patents on headphones, whereas Blair has several.

Appx4261; Appx4127, ¶ 5. Cooperstock’s minimal experience in earphone design

and development pales in comparison to the experience of Blair. As such, no

reasonable mind would accept Cooperstock’s testimony relating to earphone

design and development considerations over Blair’s testimony.

      The Board characterized Petitioner’s modified Figure 5 as an “illustration of

how these expressly described features” in Rosener “might look together, as

Rosener does not have a figure depicting” a pair of independently wireless

earphones with earloops and, in that connection, the Board did not read the

modified figure “as a proposed physical combination of different embodiments

within Rosener.” Appx23. This finding by the Board is irrelevant and, in any

event, wrong. It is irrelevant because the Board found that Rosener “expressly

teaches” the form factor of claim 1 (Appx24) and no reasonable mind would accept

that conclusion as described above. The Board’s finding is wrong because

Petitioner did not characterize its modified Figure 5 as a mere illustration. Instead,

Petitioner characterized it as “a modified version of Figure 5 showing a

configuration of earphones 502, 504 including the earloops disclosed in Rosener

…,” (Appx242; see also Appx1295, ¶ 84), without providing any other version and



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without explaining that the modified Figure 5 was a mere illustration or example.

      Finally, below Petitioner relied on Kim (Appx3192–3199) and Jabra Talk 5

(Appx3200–3201) to prove, allegedly, that Petitioner’s modified Rosener

earphones had been implemented by others, thereby rebutting, allegedly, Blair’s

testimony that the Petitioner’s proposed modified Rosener earphones would not

work. The Board’s Final Written Decision did not rely on either Kim or Jabra Talk

5 for the clear reason that neither Kim nor Jabra Talk 5 is similar to Petitioner’s

modified Figure 5 earphones. In both Kim and Jabra Talk 5, the alleged “body

portions” have “offset” portions that extend upwardly past the earbud. Appx3194;

APPLE–1027; Appx3200–3201, Appx4284 (Cooperstock testifying that in Kim

“the earbud is offset along the long axis of the elongated portion of the body”);

Appx4284–4285 (same); Appx4287 (same for Jabra Talk 5). Also, the earhooks in

Kim and Jabra Talk 5 are connected in a middle portion of the elongated body

portion and on the same side of the body portion as the earbud. Appx3194;

Appx3200–3201.

      C.     Summary

      No reasonable mind would accept as adequate the Board’s determination

that Rosener expressly describes earbuds with hanger bars. Even if the Board’s

finding that Rosener does not limit Rosener’s clip or earloop to certain form factors

is given deference, Rosener still does not expressly teach the earbud form factor of



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claim 1 because Rosener only teaches earloops for over-the-ear circum-aural

earphones that do not include an earbud. The Board’s error in finding that Rosener

expressly discloses the form factor of claim 1 was not harmless, because, without

this finding, Petitioner failed to prove that the form factor of claim 1 would have

been obvious. Thus, Petitioner failed to prove that independent claim 1, as well as

claims 2−5, 9, 10, and 14−17 depending therefrom, would have been obvious.


III.   THE BOARD MADE NON-HARMLESS LEGAL CONCLUSIONS
       AND FACTUAL FINDINGS IN CONCLUDING THAT PETITIONER
       PROVED THAT CLAIM 1 OF THE ’982 PATENT IS
       UNPATENTABLE UNDER GROUNDS 1(A) AND 1(A)(i)

       The Board found in Petitioner’s favor that claim 1 of the ’982 Patent is

unpatentable under both Ground 1(A) (i.e., Rosener and Hankey) and Ground

1(A)(i) (i.e., Rosener, Hankey and Dyer). Appx80–103. The Board made both

non-harmless errors of law, which are reviewed without deference, and non-

harmless erroneous factual findings, which are reviewed for substantial evidence,

in concluding that Petitioner proved that claim 1 would have been obvious under

these asserted grounds. Accordingly, the Board’s determinations for claim 1, as

well as its challenged dependent claims (claims 2–5 and 14–18), should be

reversed.

       A.    The Board Erred as a Matter of Law by Applying Inapposite
             Caselaw to the Relevant Facts

       Koss argued below that claim 1 of the ’982 Patent would not have been


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obvious under Grounds 1(A) and 1(A)(i) because a Baseline POSITA (which

qualifies as a POSITA according to the Board) could not arrive at the subject

matter of claim 1 with a reasonable expectation of success in view of the cited

references for Grounds 1(A) and 1(A)(i). Appx4735–4743 (Patent Owner

Response); Appx4888–4894 (Patent Owner Sur-reply); see also Eli Lilly and Co. v.

Teva Pharms. Int’l GmbH, 8 F.4th 1331, 1345 (Fed. Cir. 2021) (in order to prove

that a claim would have been obvious, IPR petitioner “was required to show that a

skilled artisan would have had a ‘reasonable expectation’ of success …”). Koss

proved, via, among other things, Cooperstock’s testimony, that there are numerous

difficulties that a POSITA would have faced in making the proposed Rosener–

Hankey and Rosener–Hankey–Dyer combinations. These difficulties include

integrating an appropriate speaker (or transducer) into the small form factor

earphones, selecting the appropriate material for the flexible connectors and

circuits, and processing latencies in the audio streams for the two, independently

wireless, earphones. See Appx8716–8722 (Cooperstock testimony on

transducers); Appx8746 (Cooperstock testimony on material for flexible

connectors); Appx8734–8736 (Cooperstock testimony on processing audio

streams). Cooperstock exhibited a failure to understand the technical disclosures

of Rosener and Hankey, including these concepts. Accordingly, a Baseline

POSITA, with significantly less skill and relevant experience than Cooperstock,



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would have little hope of understanding the concepts, let alone be able to combine

the references as proposed. Moreover, the undisputed evidence shows that these

concepts are critical to making operative wireless headphones. Appx8845–8850

(McAlexander), ¶¶ 49, 50, 52, 56. Thus, the undisputed evidence shows that some

persons (e.g., Baseline POSITAs) that satisfy the applicable POSITA standard

would not understand important concepts that are required to make the claimed

earphones.

      The Board rejected Koss’s arguments because they “are predicated on bodily

incorporation,” citing In re Keller, 642 F.2d 412, 425 (C.C.P.A. 1981). In re

Keller, however, is not applicable here and the Board committed legal error by

applying it to the facts at hand to discount Koss’s compelling evidence that claim 1

would not have been obvious.

      In re Keller stands for the proposition that “[t]o justify combining reference

teachings in support of a rejection it is not necessary that a device shown in one

reference can be physically inserted into the device shown in the other.” 642 F.2d

at 425. The applicant’s patent application in In re Keller involved a pacemaker

with a digital counter. Id. at 415. The prior art showed both (i) pacemakers with

analog circuits (e.g., Keller) and (ii) a stimulator driving unit for the controlled

stimulation of a heart with a digital timing circuit (Walsh). Id. at 418–420. The

examiner rejected the claims because providing a digital timing circuit as in Walsh



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for the analog equivalent in Keller “amounts to an obvious substitution” for the

applicable POSITA. Id. at 421. The applicant argued that there was no motivation

to incorporate Walsh’s digital timing circuit into Keller’s pacemakers, but both the

Board of Appeals and the Court of Customs and Patent Appeals rejected the

applicant’s argument because the “test for obviousness is not whether the features

of a secondary reference [e.g., Walsh] may be bodily incorporated into the

structure of the primary reference [e.g., Keller].” Id. at 422–425.

      The “bodily incorporation” doctrine of In re Keller is not applicable here

and the Board committed legal error by applying the doctrine to the facts at hand.

While Petitioner’s invalidity theory arguably was that the flexible connectors of the

secondary reference, Hankey, could be incorporated into the earphones of the

primary reference, Rosener, Koss did not argue that the cited references lacked an

express motivation to make the incorporation. Instead, Koss argued that the

alleged combination of Rosener was beyond the skill level of a POSITA, which

inherently includes a Baseline POSITA. As described above, even a highly skilled

POSITA like Cooperstock did not understand components that are critical to

making an operative wireless earphone, such as the speaker, the flexible connectors

to realize a small form factor for the earphone, and the components that account for

differential latencies in the data streams to the two, independently wireless,

earphones. Thus, In re Keller is inapposite and the Board committed legal error by



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applying it here to discount Koss’s evidence that claim 1 would not have been

obvious.

      B.     No Substantial Evidence Supports the Board’s Factual Findings

      In addition to the above-described legal error, the Board made erroneous

factual findings in concluding that Petitioner proved that claim 1 would have been

obvious. The first erroneous factual finding was that Rosener includes the “same

level of disclosure” as the ’982 Patent specification. Appx87. The Board relied on

this finding to apply In re Epstein, 32 F.3d 1559 (Fed. Cir. 1994) to discount

Cooperstock’s testimony that proves the patentability of claim 1. Appx87. The

second erroneous factual finding was that claim 1 does “not include limitations

regarding design and operability.” Id. No substantial evidence supports either of

these findings.

      In re Epstein stands for the proposition that a prior art reference is enabling

if it has at least the same level of disclosure as the specification of the patent or

application in question. 32 F.3d at 1568. The Board applied In re Epstein because,

according to the Board, the ’982 Patent has the “same level of disclosure” as

Rosener. Appx87. This represents an erroneous factual finding because Rosener

does not have the same level of disclosure as the ’982 Patent and no reasonable

person would accept that these disclosures are at the same level. The ’982 Patent

provides explicit disclosures that are not included in Rosener for how to make



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small form factor wireless earphones, such as recited in claim 1. Namely, the ’982

Patent provides explicit disclosures for integrating the wireless earphones’

electronics into a single integrated circuit, such as a SOC, “which is conducive to

miniaturizing the components of the earphone, which is advantageous if the

earphone is to be relatively small in size, such as an in-ear earphone,” such as the

wireless earphone shown in Figure 1B of the ’982 Patent, which is the focus of

claim 1. Appx188, 6:49–54 (reference numbers omitted). Rosener has no such

similar disclosure. It is undisputed that Rosener does not disclose how to

miniaturize the components of Rosener’s wireless earphones into a small form

factor. Petitioner acknowledged that Rosener is “silent as to the implementation

details of arranging Rosener’s electrical components within the compact form

factor of each of the earphones” shown in Rosener’s Figure 5 and that Rosener

“contains only a limited disclosure of the details of the earphones’ form factor.”

Appx4456 (citing Appx5543 (Cooperstock Opening Dec.), ¶ 45). Thus, it is

undisputed that Rosener’s disclosure is not at the same level as the ’982 Patent.

      It is immaterial that Hankey’s headset can include a SOC. Appx5786,

¶¶ [0103]–[0105], [0176]. Hankey is Petitioner’s secondary reference in Grounds

1(A) and 1(A)(i). The Board applied In re Epstein to the primary reference,

Rosener, for those asserted grounds. Appx87. Also, the compatibility of Hankey’s

SOC to Rosener was not litigated in the IPR. Neither Petitioner, Cooperstock, nor



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the Board relied on or cited Hankey’s SOC and, with respect to the ’982 Patent’s

disclosure to use a SOC, the Petitioner only asserted that the challenged claims do

not recite an SOC (Appx4852–4853), which misses the mark that In re Epstein

focuses on the disclosures, not the claims. In re Epstein, 32 F.3d at 1568 (focusing

on detail in applicant’s specification, not the pending claims).

      The Board’s finding that the challenged claims “do not include limitations

regarding design and operability” (Appx87) was also erroneous. Claim 1 of the

’982 Patent recites a specific earphone form factor design, i.e., wireless earphones

with a body portion with an “ear canal portion” and with “an elongated portion”

extending downwardly away from the body portion, where the body portion also

comprises the wireless communication circuit, the processor circuit, and the

speaker (i.e., “at least one acoustic transducer”). Appx194, 18:16–24. Further,

Petitioner never challenged, or even questioned, the operability of the system of

claim 1, including how each earphone can “receive and play audio content received

wirelessly via the Bluetooth wireless communication links from the mobile, digital

audio player.” Id., 18:36–40. Thus, no substantial evidence supports the Board’s

factual finding that the claims “do not include limitations regarding design and

operability.” See also In re Antor Media Corp., 689 F.3d 1282, 1287 (Fed. Cir.

2012) (claims in a patent are presumptively enabling).




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      C.     The Board’s Errors Were Not Harmless

      The Board’s erroneous legal conclusions and factual findings were not

harmless. The Board’s relied on its erroneous legal conclusions and factual

findings to reject Koss’s “complexity arguments” that countered Petitioner’s

invalidity grounds. Appx86. Only by discounting Koss’s evidence, including

Cooperstock’s testimony about the complexities involved, was the Board able to

conclude that it was “not persuaded that the design and operational issues raised by

[Koss] would have precluded a [POSITA] from understanding the references and

any differences between the references and claim 1.” Appx88; see also Appx91

(“We find Hankey’s small form factor wirelessly connected earpieces resolve the

problems identified by Rosener …”). If the Board had considered Cooperstock’s

testimony instead of ignoring it due to its erroneous applications of In re Keller

and In re Epstein, the Board would have reached a different result. When

Cooperstock’s testimony is considered, it is clear that claim 1 is beyond the reach

of a Baseline POSITA. The testimony from each party’s experts shows that

important concepts for making an operative wireless earphone were beyond the

reason of a POSITA, particularly a Baseline POSITA.

      The Board also found that claim 1 would have been obvious because each of

the claim limitations was well known. The Board found that “design and

implementation details of the headphones would have been well-known,” that “the



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properties, characteristics, and use of audio transducers … were all well-known by

the Critical Date,” and that “materials for the flexible electrical connectors were

also well-known by the Critical Date.” Id. Based on those findings, and the

Board’s conclusion that the claims “do not include limitations regarding design and

operability,” the Board found the claims obvious. Appx86–88.

      However, obviousness is not judged based on whether the individual

components of claim 1 were well known. See Fromson v. Advance Offset Plate,

Inc., 755 F.2d 1549, 1556 (Fed. Cir. 1985) (“no basis in the law … for treating

combinations of old elements differently in determining patentability”); Smiths

Indus. Med. Systems, Inc. v. Vital Signs, Inc., 183 F.3d 1347, 1356 (Fed. Cir. 1999)

(reversing district court decision on invalidity where all the claim limitations were

“probably found in the prior art”). Instead, obviousness is judged based on

whether the claimed invention would have been obvious to the applicable

POSITA. 35 U.S.C. § 103; KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 420

(2007) (question is “whether the combination was obvious to a person with

ordinary skill in the art”). Here, even though the elements of claim 1 might have

been known individually, the testimony from both experts shows that the

applicable POSITA, particularly a Baseline POSITA, could not arrive at claim 1

with a reasonable expectation of success.

      Upon considering the capabilities of a POSITA, McAlexander opined that



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“the proposed modification would require detailed knowledge of and experience

with the components utilized by the wireless headsets disclosed in Rosener and

Hankey, beyond the capabilities of a POSITA.” Appx8844, ¶ 47. Notably,

“Cooperstock, with his superior skills and knowledge to that of a POSITA,

exhibited a failure to accurately understand the technical disclosure of Rosener and

Hankey that are critical to designing a wireless earphone and making the

combinations proposed by Petitioner.” Appx8845, ¶ 49. Among other

shortcomings, Cooperstock was unable to: provide details relating to the

functionality and implementation of Rosener transducers (Appx8716–8720);

provide a technologically sound interpretation of the analog-to-digital converter

and buffer of Rosener (Appx8725; Appx8729; Appx8739); and provide a suitable

material for the flexible electrical connector in the proposed combination

(Appx8740-8741). It would be evident to a reasonable mind that the Petitioner and

Cooperstock improperly used the claims “as a frame” and selected “naked parts of

separate prior art references [] as a mosaic to recreate a facsimile of the claimed

invention,” without consideration of whether the defined POSITA could in fact

make the combination. W.L. Gore & Assoc., Inc. v. Garlock, Inc., 721 F.2d 1540,

1552 (Fed. Cir. 1983). Consequently, when Koss’s arguments are not rejected due

to the Board’s erroneous legal conclusions and factual findings, the evidence

shows that claim 1 would not have been obvious under Grounds 1(A) and 1(A)(i).



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      D.     The Board’s Non-harmless Legal Errors Apply to Ground 1(A)(i)

      Petitioner also asserted Ground 1(A)(i), which includes Dyer in conjunction

with Rosener and Hankey, against claim 1 “to the extent [Koss] claims that a

POSITA would have required additional specificity as to the structure of the

portion of the canalphone that is inserted into a user’s ear ….” Appx4460;

Appx88. Koss did not assert that claim 1 requires additional specificity as to the

structure of the “ear canal portion” other than what is recited in claim 1. As such,

Petitioner still relied on Hankey’s flexible connectors for implementing Rosener’s

internal components in Ground 1(A)(i). Appx4466–4467. Thus, Dyer does not

cure the deficiencies of Rosener and Hankey relative to claim 1 and, accordingly,

the Board’s erroneous legal conclusions and factual findings for Ground 1(A)

apply equally to Ground 1(A)(i).



IV.   CONCLUSION

      Because the Board erred in invalidating claims 1–4, 9, 10, and 14–17 of the

’325 Patent and claims 1–5 and 14–18 of the ’982 Patent, this Court should reverse

the Board’s erroneous invalidation of those claims.



Dated: November 28, 2022                 Respectfully submitted,

                                         K&L GATES LLP



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                              ADDENDUM




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Trials@uspto.gov                                               Paper 47
571-272-7822                                      Entered: May 31, 2022


       UNITED STATES PATENT AND TRADEMARK OFFICE
                   ____________________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                    ____________________

                           APPLE INC.,
                            Petitioner,

                                 v.

                       KOSS COPRORATION,
                           Patent Owner.
                       ____________________

                           IPR2021-00305
                        Patent 10,506,325 B1
                       ____________________


Before DAVID C. MCKONE, GREGG I. ANDERSON,
and NORMAN H. BEAMER, Administrative Patent Judges.

MCKONE, Administrative Patent Judge.



                           JUDGMENT
                       Final Written Decision
          Determining Some Challenged Claims Unpatentable
                         35 U.S.C. § 318(a)




                                Appx1
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IPR2021-00305
Patent 10,506,325 B1
                            I.   INTRODUCTION
   A. Background and Summary
      Apple Inc. (“Petitioner”) filed a Petition (Paper 2, “Pet.”) requesting
inter partes review of claims 1–4, 9, 10, and 14–18 of U.S. Patent
No. 10,506,325 B1 (Ex. 1001, “the ’325 patent”). Pet. 1. Koss Corp.
(“Patent Owner”) filed a Preliminary Response (Paper 9, “Prelim. Resp.”).
Pursuant to our authorization, Petitioner filed a Preliminary Reply (Paper 12)
and Patent Owner filed a Preliminary Sur-Reply (Paper 13). Pursuant to
35 U.S.C. § 314, we instituted this proceeding. Paper 14 (“Dec.”).
      Patent Owner filed a Patent Owner’s Response (Paper 20,
“PO Resp.”), Petitioner filed a Reply to the Patent Owner’s Response
(Paper 35, “Reply”), and Patent Owner filed a Sur-reply to the Reply
(Paper 42, “Sur-reply”). An oral argument was held in this proceeding on
March 3, 2022. Paper 46 (“Tr.”).
      We have jurisdiction under 35 U.S.C. § 6. This Decision is a final
written decision under 35 U.S.C. § 318(a) as to the patentability of claims 1–
4, 9, 10, and 14–18. Based on the record before us, Petitioner has proved, by
a preponderance of the evidence, that claims 1–4, 9, 10, and 14–17 are
unpatentable, but has not proved that claim 18 is unpatentable.


   B. Related Matters
      1. Lawsuits
      Petitioner advises us that it is a defendant in a case filed by Patent
Owner asserting the ’325 patent in the United States District Court for the
Western District of Texas (“Texas court”) captioned Koss Corp. v. Apple
Inc., Case No. 6:20-cv-00665 (W.D. Tex.) (“Texas case”). Pet. 79; see also
Paper 11, 1. Patent Owner identifies another three lawsuits where Patent

                                       2
                                      Appx2
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Owner is plaintiff and the ’325 patent is asserted against other parties.
Paper 11, 1. Patent Owner identifies two other cases involving the ’325
patent, including one filed by Petitioner in the United States District Court
for the Northern District of California captioned Apple Inc. v. Koss Corp.,
Case No. 4:20-cv-05504 (N.D. Cal.). Paper 11, 1.


      2. Inter Partes Review Proceedings
      Patent Owner (Paper 11, 1–2; Paper 30, 1) lists the following inter
partes review proceedings1 challenging the ’325 patent or patents related to
the ’325 patent:
      Bose Corp. v. Koss Corp., IPR2021-00297, filed December 7, 2020,
challenging U.S. Patent No. 10,368,155 B2;
      Apple Inc. v. Koss Corp., IPR2021-00381, filed January 4, 2021,
challenging U.S. Patent No. 10,491,982 B1;
      Apple Inc. v. Koss Corp., IPR2021-00546, filed February 22, 2021,
challenging U.S. Patent No. 10,206,025 B1;
      Apple Inc. v. Koss Corp., IPR2021-00592, filed March 2, 2021,
challenging U.S. Patent No. 10,469,934 B1;
      Bose Corp. v. Koss Corp., IPR2021-00612, filed March 3, 2021,
challenging U.S. Patent No. 10,206,025 B1;
      Apple Inc. v. Koss Corp., IPR2021-00626, filed March 17, 2021,
challenging U.S. Patent No. 10,206,025 B1;
      Bose Corp. v. Koss Corp., IPR2021-00680, filed March 17, 2021,
challenging U.S. Patent No. 10,469,934 B1, filed March 17, 2021;

1
 Apple Inc. v. Koss Corp., IPR2021-00255, filed November 25, 2020, and
Apple Inc. v. Koss Corp., IPR2021-00600, filed March 7, 2021, both
challenging U.S. Patent No. 10,298,451 B1 are also pending.

                                      3
                                     Appx3
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      Apple Inc. v. Koss Corp., IPR2021-00679, filed March 22, 2021,
challenging the ’325 patent;
      Apple Inc. v. Koss Corp., IPR2021-00686, filed March 22, 2021,
challenging U.S. Patent No. 10,491,982 B1;
      Apple Inc. v. Koss Corp., IPR2021-00693, filed March 23, 2021,
challenging U.S. Patent No. 10,469,934 B1;
      Apple Inc. v. Koss Corp., IPR2022-00053, filed October 15, 2021,
challenging U.S. Patent No. 10,206,025 B1; and
      Apple Inc. v. Koss Corp., IPR2022-00188, filed November 15, 2021,
challenging U.S. Patent No. 10,469,934 B1.


      C. The ’325 Patent
      The ’325 patent describes wireless earphones or headphones.
Ex. 1001, 2:3–5. Figure 1D, reproduced below, illustrates an example:




                                   4
                                  Appx4
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Figure 1D is a perspective drawing of a wireless earphone. Id. at 2:30–31,
4:7. In this embodiment, earphone 10 includes hanger bar 17 that allows
earphone 10 to clip to, or hang on, a listener’s ear. Id. at 4:4–7. Speaker
element 106-A is sized to fit into the cavum concha of the listener. Id. at
4:10–12. Hanger bar 17 includes a horizontal section that rests upon the
upper external curvature of the listener’s ear behind the upper portion of the
auricula (or pinna). Id. at 4:14–18.
      Certain features of an embodiment of a wireless earphone are depicted
in Figure 3, reproduced below:

                                        5
                                       Appx5
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Figure 3 is a block diagram of a wireless earphone. Id. at 2:35–36, 6:30–31.
      Earphone 10 includes transceiver circuit 100, power source 102,
microphone 104, acoustic transducer 106 (e.g., a speaker), and antenna 108.
Id. at 6:31–37. Transceiver circuit 100, power source 102, and acoustic
transducer 106 may be housed within body 12 of earphone 10 (shown in
Fig. 1D above). Id. at 6:37–40. Microphone 104 and antenna 108 are
external to body 12. Id. at 6:40–42. Earphone 10 incudes baseband
processor 112 in communication with processor unit 114 which, in turn,
includes microprocessor 116 and digital signal processor (DSP) 118. Id. at


                                     6
                                    Appx6
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7:30–32. DSP 118 “may . . . perform various sound quality enhancements to
the digital audio received by the baseband processor 112, including noise
cancellation and sound equalization.” Id. at 7:34–38. Processor unit 114
executes firmware that may be stored on memory units 120, 122. Id. at
7:43–46. The ’325 patent describes headphone 10 receiving firmware
upgrades from a host server when earphone 10 is connected to a client
computer device through a USB port and/or docking station. Id. at 9:50–56.
“The power source 102 may comprise, for example, a rechargeable or non-
rechargeable battery (or batteries). . . . In embodiments where the power
source 102 comprises a rechargeable battery cell . . ., the battery cell . . . may
be charged for use, for example, when the earphone 10 is connected to a
docking station or computer.” Id. at 6:56–65.
      Earphone 10 may interface with an external device, such as the
docking station shown in Figure 4A, reproduced below:




                                        7
                                       Appx7
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Figure 4A is a drawing showing earphone 10 interfacing with docking
station 200, which is connected to computer device 202. Id. at 7:64–66.
Earphone 10 may connect to docking station 102 to charge up power source
102 and to download data or firmware. Id. at 8:5–8.
      Claims 1, 9, and 18, reproduced below, are illustrative of the claimed
subject matter:
             1.    Headphones comprising:
             a pair of first and second wireless earphones to be worn
                    simultaneously by a user, wherein the first and


                                      8
                                     Appx8
    Case: 22-2091      Document: 20   Page: 80    Filed: 11/28/2022

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                 second earphones are separate such that when the
                 headphones are worn by the user, the first and
                 second earphones are not physically connected,
                 wherein each of the first and second earphones
                 comprises:
                 a body portion;
                 an earbud extending from the body portion that is
                       inserted into an ear of the user when worn
                       by the user;
                 a curved hanger bar connected to the body portion,
                       wherein the curved hanger bar comprises a
                       portion that rests upon an upper external
                       curvature of an ear of the user behind an
                       upper portion of an auricula of the ear of the
                       user;
                 a wireless communication circuit for receiving and
                       transmitting wireless signals;
                 a processor circuit connected to the wireless
                       communication circuit;
                 at least one acoustic transducer for producing
                        audible sound from the earbud;
                 a microphone for picking up utterances of a user of
                       the headphones;
                 an antenna connected to the wireless
                       communication circuit; and
                 a rechargeable power source; and
           a docking station for holding at least the first wireless
                 earphone, wherein the docking station comprises a
                 power cable for connecting to an external device to
                 power the docking station, and wherein the
                 docking station is for charging at least the first
                 wireless earphone when the first wireless earphone
                 is placed in the docking station.




                                  9
                               Appx9
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              9. The headphones of claim 1, the processor circuits of
        the headphones are configured to receive firmware upgrades
        transmitted from a remote network server.
               18. The headphones of claim 1, wherein the processor
        circuit of each of the first and second earphones comprises:
               a digital signal processor that provides a sound quality
                      enhancement for the audio content played by the at
                      least one acoustic transducers of the earphone; and
               a baseband processor circuit that is in communication
                     with the wireless communication circuit of the
                     earphone.

     D. Evidence
        Petitioner relies on the references listed below.
                   Reference                    Date                      Exhibit
                                                                          No.
    Rosener      US 2008/0076489 A1             pub. Mar. 27, 2008        1004

    Huddart      US 7,627,289 B2                pub. Dec. 1, 2009         1005
                                                filed Dec. 23, 2005
    Haupt        WO 2006/042749 A2              pub. Apr. 27, 2006        10062

    Price        US 2006/0026304 A1             pub. Feb. 2, 2006         1008

    Paulson      US 7,551,940 B2                iss. June 23, 2009        1009
                                                filed Jan. 8, 2004
    Vanderelli US 7,027,311 B2                  iss. Apr. 11, 2006        1010


        Petitioner also relies on the Declaration of Jeremy Cooperstock, Ph.D.
(Ex. 1003, “Cooperstock Decl.”), and the Supplemental Declaration of
Dr. Cooperstock (Ex. 1023, “Supp. Cooperstock Decl.”).


2
 We refer to a certified translation of the German language publication of
WO 2006/042749.

                                       10
                                      Appx10
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        Patent Owner relies on the Declaration of Joseph C. McAlexander III
(Ex. 2035, “McAlexander Decl.”) and the Declaration of Nicholas S. Blair
(Ex. 2036, “Blair Decl.”).


     E. The Asserted Grounds
     We instituted on the following grounds of unpatentability (Dec. 9):
             Reference(s)                    Basis           Claims Challenged
    Rosener, Huddart                  § 103(a)3            1, 2, 16–18

    Rosener, Huddart, Haupt           § 103(a)             3, 4

    Rosener, Huddart, Price           § 103(a)             9, 10, 14

    Rosener, Huddart, Paulson         § 103(a)             15

    Rosener, Huddart, Vanderelli      § 103(a)             16, 17


                                 II. ANALYSIS
     A. Claim Construction
        We construe a claim
        using the same claim construction standard that would be used
        to construe the claim in a civil action under 35 U.S.C. 282(b),
        including construing the claim in accordance with the ordinary
        and customary meaning of such claim as understood by one of
        ordinary skill in the art and the prosecution history pertaining to
        the patent.
37 C.F.R. § 42.100(b) (2019); see also Phillips v. AWH Corp., 415 F.3d
1303 (Fed. Cir. 2005) (en banc).

3
 The Leahy-Smith America Invents Act (“AIA”), Pub. L. No. 112-29, 125
Stat. 284, 287–88 (2011), amended 35 U.S.C. § 103. Because the ’325
patent claims an effective filing date before March 16, 2013, the effective
date of the relevant amendment, the pre-AIA version of § 103 applies.

                                       11
                                      Appx11
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      Petitioner contends that no formal claim constructions are necessary.
Pet. 18. Patent Owner does not state a position on claim construction, but
does not propose any constructions. See, generally, PO Resp.
      Based on the complete record, we do not find it necessary to provide
express claim constructions for any terms. See Nidec Motor Corp. v.
Zhongshan Broad Ocean Motor Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017)
(noting that “we need only construe terms ‘that are in controversy, and only
to the extent necessary to resolve the controversy’”) (quoting Vivid Techs.,
Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999)).


   B. Obviousness of Claims 1, 2, and 16–18 over Rosener and Huddart
      Petitioner contends that claims 1, 2, and 16–18 would have been
obvious over Rosener and Huddart. Pet. 18–56. For the reasons given
below, Petitioner has made a sufficient showing as to claims 1, 2, and 16,
but not claim 18. We do not reach claim 17 as to this ground, but do address
claim 17’s patentability in Petitioner’s ground asserting Rosener, Huddart,
and Vanderelli in Section II.F below.
      A claim is unpatentable under 35 U.S.C. § 103 if the differences
between the claimed subject matter and the prior art are “such that the
subject matter as a whole would have been obvious at the time the invention
was made to a person having ordinary skill in the art to which said subject
matter pertains.” We resolve the question of obviousness on the basis of
underlying factual determinations, including (1) the scope and content of the
prior art; (2) any differences between the claimed subject matter and the
prior art; (3) the level of skill in the art; and (4) objective evidence of
nonobviousness, i.e., secondary considerations. See Graham v. John Deere
Co., 383 U.S. 1, 17–18 (1966).

                                       12
                                      Appx12
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Patent 10,506,325 B1
      1. Level of Skill in the Art
      Dr. Cooperstock testifies that a skilled artisan “would have had at
least a Bachelor’s Degree in an academic area emphasizing electrical
engineering, computer science, or a similar discipline, and at least two years
of experience in wireless communications across short distance or local area
networks.” Ex. 1003 ¶ 34. In the Institution Decision, we found
Dr. Cooperstock’s testimony to be consistent with the technology described
in the Specification and the cited prior art and adopted this level of skill for
purposes of that Decision. Dec. 24.
      Mr. McAlexander testifies that a skilled artisan “would be someone
working in the electrical engineering field and specializing in or
knowledgeable of speaker components for small wireless devices,” and
“would have had a bachelor’s degree in electrical engineering and at least
two or more years of work experience in the industry. Ex. 2035 ¶ 19.
According to Mr. McAlexander, “[s]uch a person would have studied and
have practical experience with circuit design, speaker components, and
wireless communication.” Id. Patent Owner states that this proposed level
of skill “is not far removed from Petitioner’s [person of ordinary skill in the
art].” PO Resp. 6.
      As Patent Owner acknowledges that the proposed levels of skill are
similar, and does not argue that a difference in level of skill would lead to a
different result in this proceeding, we continue to adopt Petitioner’s
proposed level of skill.




                                      13
                                     Appx13
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Patent 10,506,325 B1
      2. Scope and Content of the Prior Art
         a) Overview of Rosener
      Rosener describes wireless systems with “first and second data sinks
having no physical or electrical connection therebetween.” Ex. 1004,
Abstract. The data sinks can be, for example, wireless earphones. Id. ¶ 2.
Each wireless earphone may be in the form of an earbud designed to fit into
the concha of the pinna of the user’s ear, and includes a housing containing a
speaker, a radio-frequency (RF) transceiver, and a battery. Id. ¶ 30.
      Each earphone may also include “a clip, earloop, or other suitable
securing mechanism to help maintain the earphone . . . on the ear of the
user.” Id. Although Rosener does not have a figure showing a clip or
earloop along with a preferred embodiment of the invention, it does depict,
in Figure 4 (reproduced below) an earloop used with a prior art Bluetooth-
enabled over-the-ear wireless headset:




                                     14
                                    Appx14
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Figure 4 is a drawing of a user wearing a Bluetooth-enabled over-the-ear
monaural wireless headset. Id. ¶ 17. As shown in Figure 4, headphone 402
includes earloop 404 that is configured to fit around the outer ear of user
400. Id. ¶ 8. Figure 5, reproduced below, shows earbuds, but not earloops:




Figure 5 is an illustration of the head of a person wearing a headset
comprising first and second wireless earphones 502, 504. Id. ¶¶ 18, 30.
      Figure 9, reproduced below, illustrates some of the components of
Rosener’s headphones:




                                      15
                                     Appx15
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Figure 9 is a block diagram of an RF transceiver. Id. ¶¶ 24, 49.
RF transceiver 900 includes RF transmitter portion 902, RF receiver portion
904, antenna 906, and duplexer 908. Id. ¶ 49. A/D converter 910 receives
analog baseband signals from RF transceiver portion 904, digitizes the
signals, and sends them to baseband processor 914, which, along with signal
conditioning circuit 916, processes the signals into a form suitable to drive
data sink (speaker) 918. Id. According to Rosener, signal conditioning
circuit 916 provides “digital-to-analog conversion, filtering, amplification,
and/or other signal processing functions, to ensure that the processed data is
in a form suitable to drive the data sink 918.” Id. Baseband processor 914
receives data from data source 922 (e.g., a microphone) via signal
conditioning circuit 920 and provides the data to RF transmitter portion 902
for transmission via antenna 906. Id. ¶ 50.



                                      16
                                     Appx16
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         b) Overview of Huddart
      Huddart describes wireless stereo headsets. Ex. 1005, Abstract.
Figure 1, reproduced below, illustrates an example:




Figure 1 is a system-view block diagram of a wireless stereo headset system.
Id. at 1:44–45. Headset 4 is in proximity to electronic device 2 (e.g., a
cellular telephone or digital music player), which transmits voice or text data
to headset 4. Id. at 2:52–3:2. Headset 4 includes a speaker for one ear.
“When stereo listening operation is desired by a user, a wireless earbud 6 is
used in conjunction with headset 4. Both headset 4 and wireless earbud 6
have wireless communication functionality to form a wireless
communication link 18.” Id. at 3:7–10. “In one example of the invention, a
magnetic induction wireless communication link is established between
headset 4 and wireless earbud 6. Magnetic induction provides short range
wireless communication at low power and cost while providing good audio
signal quality.” Id. at 3:19–23. “In further examples of the invention, other
methods of wireless communication may be used to establish wireless
communication link 18 between headset 4 and wireless earbud 6. For


                                      17
                                     Appx17
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example, wireless earbud 6 may be Bluetooth enabled to communicate with
either headset 4 or electronic device 2.” Id. at 3:55–60.
      Wireless headset 4 “includes a power source such as a rechargeable
battery installed within the housing to provide power to the various
components of the receiver.” Id. at 5:10–12. Similarly, “[w]ireless earbud 6
also includes a power source such as a rechargeable battery and a controller
comprising a processor, memory and software to implement functionality as
described herein.” Id. at 5:26–29.
      Huddart describes several options for charging the rechargeable
batteries of wireless headset 4 and wireless earbud 6, including:
      a charger/carrier, such as a pocket charger, including a small
      plastic storage case for storing the headset 4 and wireless
      earbud 6 for protection and charging. The pocket charger
      includes a battery and charger circuit for charging both the
      headset battery and wireless earbud battery when inserted into
      the pocket charger/carrier.
Id. at 8:25–31;
      a charging coil to provide charging current to the wireless
      earbud battery 84 via receive aerial 52 shown in FIG. 4. The
      earbud advantageously does not require charging contacts on its
      small exterior surface when charging is performed with
      inductive charging. In this example, the single receive aerial 52
      functions multiply to receive charging power for battery 84,
      generate a wake up signal 82, or receive an audio signal carrier.
Id. at 8:35–42; and
      a primary charger to which the pocket charger may be
      removably attached. The primary charger may be a cable or
      docking facility connecting the pocket charger/carrier to a wall
      outlet or primary batter[y] such as a car battery, allowing the
      headset battery, wireless earbud battery, and the storage case
      battery to be charged using the wall outlet or primary battery.
Id. at 8:51–57.


                                      18
                                     Appx18
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      3. Differences, if any, Between Claim 1 and the Prior Art; Reasons
         to Modify or Combine
      In essence, Petitioner contends that Rosener teaches the aspects of
claim 1 regarding the components of the “pair of first and second wireless
earphones,” including a power source (although not necessarily a
rechargeable power source), and that Huddart teaches the “rechargeable
power source” and “docking station” aspects. Pet. 26–30. Patent Owner
contests whether Rosener teaches “a curved hanger bar connected to the
body portion, wherein the curved hanger bar comprises a portion that rests
upon an upper external curvature of an ear of the user behind an upper
portion of an auricula of the ear of the user,” as recited in claim 1. PO Resp.
11–20. However, Patent Owner does not challenge any of Petitioner’s other
allegations for claim 1. We first address the contested “hanger bar”
limitation of claim 1 and then address the uncontested limitations.


          a) Contested “hanger bar” limitation of claim 1
      As to “a body portion,” as recited in claim 1, Petitioner cites to the
“housing” of Rosener’s earphones 502, 404. Pet. 32 (citing Ex. 1004 ¶ 30).
We find that the housing of earphones 502, 504 is “a body portion.” The
parties dispute whether Rosener teaches “a curved hanger bar connected to
the body portion, wherein the curved hanger bar comprises a portion that
rests upon an upper external curvature of an ear of the user behind an upper
portion of an auricula of the ear of the user,” as recited in claim 1.
      Petitioner (Pet. 34–35) points to Rosener’s description that “[e]ach of
the first and second earphone 502, 504 may further include a clip, earloop,
or other suitable securing mechanism to help maintain the earphone 502 or
504 on the ear of the user.” Ex. 1004 ¶ 30. According to Petitioner, a


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skilled artisan would have understood from this description that each of
earphones 502, 504 is connected to an earloop, which is an example of a
curved hanger bar. Pet. 35.4
      Petitioner (Pet. 35–36) argues that this description should be read in
the context of Rosener’s description of the prior art Bluetooth-enabled over-
the-ear wireless headset depicted in Figure 4 (reproduced above), that “[t]he
headset includes a headphone 402 and an earloop 404 that is configured to
fit around the outer ear of the user 400.” Ex. 1004 ¶ 8. See also Ex. 1003
¶ 82 (“Though not shown in Figure 5, a [person of ordinary skill in the art]
would have understood through this textual description that Rosener’s
disclosure contemplates some embodiments in which the housing of each of
earphones 502, 504 is connected to, for example, an earloop (‘curved hanger
bar’) to improve the manner in which each of the earphones is secured to the
user’s ear, as taught in Rosener.”). Petitioner included in the Petition the
following annotated version of Figure 5 (reproduced below) illustrating what
earloops on Rosener’s earphones might look like:




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  In the Institution Decision, we considered competing arguments regarding
whether an “earloop” as discussed in Rosener is, in fact, a curved hanger bar
or whether, instead, it is more akin to the elastic straps that might hold a face
mask in place. Dec. 33–34. We found, on the preliminary record, that
Rosener’s earloop is a curved hanger bar. Id. Patent Owner does not argue
in its Response that the earloop is not a curved hanger bar and we maintain
that finding that it is a curved hanger bar on the complete record for the
reasons given in the Institution Decision. See Paper 15, 8 (“Patent Owner is
cautioned that any arguments not raised in the response may be deemed
waived.”).

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The figure above is a version of Rosener’s Figure 5, annotated by Petitioner
to add gold curved hanger bars to earphones 502, 504. Pet. 36. According
to Petitioner, Rosener “thus teaches a system in which each of the elongated
portions of the housings of earphones 502, 504 are connected to an earloop
providing the same type of securing mechanism as shown for earloop 402,”
and “discloses this configuration given its teaching that each of earphones
502, 504 can include earloops and acknowledgement that use of earloops
was conventional.” Id. at 37 (citing Ex. 1004 ¶¶ 8, 30; Ex. 1003 ¶ 85).
      Patent Owner characterizes Petitioner’s position as asserting that “the
earloop of Rosener’s Figure 4 could be added to the wireless earphones of
Rosener’s Figure 5,” that Petitioner’s position relies on its modified version


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of Figure 5, and that what Petitioner is arguing is that a skilled artisan would
have combined two different embodiments of Rosener, one with the earbud
and downwardly extending member of Figure 5 and another with the earloop
of Figure 4. PO Resp. 14–15. Characterizing Petitioner’s arguments in this
way, Patent Owner then argues that a skilled artisan “would not have been
motivated to add earloops to the earbud-downwardly extending member
combination shown in Figure 5.” Id. at 5.
      Relying on the testimony of Mr. Blair, Patent Owner argues that, if
one were to add the earloop of Figure 4 to the earbud and downwardly
extending member of Figure 5, the earloop would effectively pry the earbuds
out of the listener’s ears. PO Resp. 16–18. According to Mr. Blair, the
downwardly extending member of the earbud of Figure 5 exerts a downward
force that holds the earbud in the ear, while the earloop of Figure 4 exerts a
force upward and backward, counteracting the downward force and
displacing the earbud from the ear. Ex. 2036 ¶¶ 14–17.5
      Petitioner replies that Mr. Blair’s testimony is conclusory and
uncorroborated. Reply 10. Petitioner then argues that Patent Owner
mischaracterizes what is shown in its annotated Figure 5 and contends that
Mr. Blair’s analysis of the various forces exerted on the earbuds is faulty.
Id. at 10–15. In support, Petitioner offers testimony from Dr. Cooperstock,
although that testimony is also conclusory and does not identify the basis for
the testimony. Ex. 1023 ¶¶ 11–23.


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  Mr. McAlexander provides testimony that largely copies the arguments in
Patent Owner’s Response. Ex. 2035 ¶¶ 37–43. His testimony, however,
does not appear to be based upon his own knowledge or expertise and,
instead, is based upon his reading of Mr. Blair’s testimony. We accord this
testimony by Mr. McAlexander little weight.

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      We need not evaluate which of the experts’ views on the various
forces on a Figure 4/5 combination would have been correct. Patent Owner
improperly limits Petitioner’s arguments (and Rosener’s disclosure) to a
combination of separate embodiments shown alternately in Figures 4 and 5.
We agree with Petitioner (Pet. 34–35; Reply 18) and find that Rosener
expressly describes earbuds with curved hanger bars. Specifically, Rosener
states that “[e]ach of the first and second earphones 502, 504 may be in the
form of an earbud designed to fit into the concha of the pinna of the user’s
ear,” and that “[e]ach of the first and second earphone 502, 504 may further
include a clip, earloop, or other suitable securing mechanism to help
maintain the earphone 502 or 504 on the ear of the user.” Ex. 1004 ¶ 30.
We read Petitioner’s annotated Figure 5 (shown above) as an illustration of
how these expressly described features might look together, as Rosener does
not have a figure depicting that embodiment. Petitioner relies on Figure 4 to
show that “earloops” in fact correspond to “curved hanger bars,” not to show
precise structure that would be bodily incorporated into the embodiment
depicted in Figure 5. We do not read Petitioner’s annotated Figure 5 as a
proposed physical combination of different embodiments within Rosener.
Patent Owner’s characterization of Petitioner’s combination is not the
correct lens through which we analyze obviousness. See In re Keller, 642
F.2d 413, 425 (Fed. Cir. 1981) (“To justify combining reference teachings in
support of a rejection it is not necessary that a device shown in one reference
can be physically inserted into the device shown in the other.”).
      Patent Owner argues that “Rosener . . . never states which listed
earphone forms (e.g., earbud, canalphone, or over-the-ear) could also
include an earloop.” PO Resp. 19–20. In the Sur-reply, Patent Owner
argues that Rosener “describes three separate earphone form factors (i.e.,

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earbud, canalphone and over-the-ear circum-aural), but only links one of
them—over-the-ear circum-aural—with an earloop. Rosener describes that
the first two types—earbuds and canalphones—fit ‘into’ or ‘within’ the
user’s ear.” Sur-reply 9–10.
      We disagree. Rosener states that earphones 502, 504 could be
earbuds and further states that they could include a clip or earloop to help
maintain them on the ear of the user. Ex. 1004 ¶ 30. Although other options
would be within the scope of this disclosure (e.g., an over-the-ear earphone
with an earloop), we see no description in Rosener that would limit
Rosener’s clip or earloop to only some earphone form factors, and
specifically find that Rosener’s description of an earloop helping maintain
the earphone “on the ear of the user,” Ex. 1004 ¶ 30, is not an attempt to
exclude earbuds. In sum, we find that Rosener expressly teaches “a curved
hanger bar connected to the body portion, wherein the curved hanger bar
comprises a portion that rests upon an upper external curvature of an ear of
the user behind an upper portion of an auricula of the ear of the user,” as
recited in claim 1.


          b) Uncontested limitations of claim 1
      Regarding “a pair of first and second wireless earphones to be worn
simultaneously by a user, wherein the first and second earphones are
separate such that when the headphones are worn by the user, the first and
second earphones are not physically connected,” as recited in claim 1,
Petitioner (Pet. 30–32) cites to Rosener’s earphones 502, 504, which “may
be in the form of an earbud designed to fit into the concha of the pinna of the
user’s ear” and are “physically and electrically-separated” with “no physical
or electrical connection” between them. Ex. 1004 ¶¶ 11, 30, Fig. 5. Based

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on this evidence, we find that Rosener’s earphones 502, 504 teach this
limitation.
        As to an “earbud extending from the body portion that is inserted into
an ear of the user when worn by the user,” Petitioner points to earphones
502, 504, shown in Figure 5 as extending from a portion inserted into a
user’s ear. Pet. 33–34. As Petitioner notes (Pet. 33), Rosener describes
earphones 502, 504 as “in the form of an earbud designed to fit into the
concha of the pinna of the user’s ear.” Ex. 1004 ¶ 30. We find that Rosener
teaches this limitation as well.
        Petitioner contends that Rosener’s RF transmitter portion 902, RF
receiver portion 904, duplexer 908, A/D converter 910, and D/A converter
912, together constitute “a wireless communication circuit for receiving and
transmitting wireless signals.” Pet. 37–39 (citing Ex. 1004 ¶¶ 11, 30–36, 49,
Figs. 5, 9). We agree. For example, Rosener teaches “[w]ireless systems
having a plurality of physically and electrically-separated data sinks . . . .
An exemplary wireless system includes first and second data sinks having no
physical or electrical connection therebetween.” Ex. 1004 ¶ 11.
        Petitioner further contends that Rosener’s baseband processor 914,
signal conditioning circuits 916, 920, and other described circuitry constitute
“a processor circuit connected to the wireless communication circuit,” as
recited in claim 1. Id. at 39–41 (citing Ex. 1004 ¶¶ 39–43, 49, 50, Fig. 9).
We agree. As noted above, baseband processor 914 receives digitized
baseband signals and signal conditioning circuit 916 provides digital-to-
analog conversion, filtering, amplification, and other processing. Ex. 1004
¶ 49.
        Petitioner identifies Rosener’s “data sink 918” as an “acoustic
transducer,” as recited in claim 1; Rosener’s “data source 922” as “a

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microphone for picking up utterances of a user of the headphones”; and
Rosener’s “antenna 906” as “an antenna connected to the wireless
communication circuit.” Id. at 41–44 (citing Ex. 1004 ¶¶ 2, 30 (“The
speaker may comprise, for example, a magnetic element attached to a voice-
coil-actuated diaphragm, an electrostatically charged diaphragm, a balanced
armature driver, or a combination of one or more of these transducer
elements.”), 50 (“For the RF transmitter portion 902, a D/A converter 912 is
adapted to receive data signals from a data source 922 and operable to
convert the data signals into analogs signals, which are upconverted to RF
by the RF transmitter in preparation of being radiated over the appropriate
wireless link by the antenna 906.”), 56 (“a microphone to allow . . . data to
be sent back to an external electronic device”), Fig. 9). We find that
Rosener teaches each of these limitations.
      As to “a rechargeable power source,” as recited in claim 1, Petitioner
argues that Rosener describes a battery, but concedes that “Rosener does not
explicitly describe the batteries being rechargeable.” Pet. 44–45 (citing
Ex. 1004 ¶ 30). Petitioner contends that Huddart teaches a rechargeable
battery. Id. at 45 (citing Ex. 1005, 5:26–30). According to Petitioner, “[t]o
the extent that Rosener is deemed to not disclose rechargeable batteries, [a
person of ordinary skill in the art] would have found it obvious to
incorporate a rechargeable battery (e.g., earbud battery) as taught in Huddart
into each of Rosener’s earphones 502, 504 for providing power to earphone
components.” Id. Citing Dr. Cooperstock’s testimony, Petitioner argues
that a skilled artisan “would have understood . . . that Rosener’s earphones
could have incorporated rechargeable batteries since this configuration was
conventional around the time of its disclosure, as demonstrated by Huddart.”
Id. at 27 (citing Ex. 1003 ¶ 48). Petitioner contends that rechargeable

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batteries would have improved Rosener’s earphones “by eliminating or
reducing the need to periodically replace the batteries, thereby removing or
reducing the cost of doing so and also improving user convenience.”
Id. (citing Ex. 1003 ¶ 49). Dr. Cooperstock further testifies that Rosener’s
earphones would have benefited from rechargeable batteries in the same
manner as Huddart’s earbuds, e.g., in that the user could avoid frequent
battery replacements. Ex. 1003 ¶ 50. We credit Dr. Cooperstock’s
testimony and find that a skilled artisan would have had reasons to (e.g.,
cost, convenience, avoid the need to replace batteries) to incorporate
Huddart’s teaching of rechargeable batteries into Rosener’s earphones, and
would have had a reasonable expectation of success in doing so.
      Petitioner also cites Huddart for “a docking station for holding at least
the first wireless earphone,” as recited in claim 1. Pet. 46. Specifically,
Petitioner contends that Huddart’s charger/carrier and primary charger are
examples of a docking station. Id. (citing Ex. 1005, 8:25–34). Petitioner
contends that Huddart’s primary charger can be a cable or docking station
facility that allows the charger/carrier to connect to a wall outlet or primary
battery, and, thus, teaches “a power cable for connecting to an external
device to power the docking station,” as recited in claim 1. Id. at 46–47
(citing Ex. 1005, 8:51–57). Petitioner argues that Huddart’s charger/carrier
and primary charger are “for charging at least the first wireless earphone
when the first wireless earphone is placed in the docking station,” as recited
in claim 1. Id. at 47 (citing Ex. 1005, 5:9–12, 5:26–30, 8:25–50). Huddart’s
charger/carrier is described as “a convenient mechanism by which the
earbud 6, having a relatively smaller capacity battery due to its limited size,
may be recharged in the absence of a primary charger.” Ex. 1005, 8:31–34.



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      Relying on Dr. Cooperstock’s testimony, Petitioner argues that
Huddart’s docking station would have “improve[d] battery capacity when a
primary charger is unavailable or to avoid the inconvenience of having to
frequently plug the charger into a wall outlet, for instance when traveling.”
Id. at 28 (citing Ex. 1003 ¶ 51). Petitioner also argues that Huddart’s
charger/carrier would have provided a storage case to prevent Rosener’s
earphones from being misplaced. Id. at 28–29 (citing Ex. 1003 ¶52).
      We credit Dr. Cooperstock’s testimony and find that Petitioner’s
proffered reasons to combine Rosener and Huddart have rational
underpinning; that a skilled artisan would have combined Huddart’s
teachings of a docking station with Rosener’s earbuds (with rechargeable
batteries that would be recharged via the docking station); and that a skilled
artisan would have had a reasonable expectation of success in combining
these teachings.
      Thus, Rosner and Huddart teach each limitation of claim 1.


      4. Differences, if any, Between Claims 2 and 16 and the Prior Art;
         Reasons to Modify or Combine
      Petitioner contends that claims 2 and 16 would have been obvious
over Rosener and Huddart. Patent Owner does not contest the additional
allegations for claims 2 and 16.
      Claim 2 depends from claim 1 and adds:
      the wireless communication circuits are for receiving,
            wirelessly, streaming audio content;
      the at least one acoustic transducers are for playing the
             streaming audio content; and




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      each of the first and second earphones comprises a buffer for
            caching the streaming audio content prior to being played
            by the at least one acoustic transducer.
Petitioner identifies Rosener’s RF transmitter portion 902, RF receiver
portion 904, duplexer 908, A/D converter 910, and D/A converter 912,
collectively, as “wireless communication circuits . . . for receiving,
wirelessly, streaming audio content.” Pet. 47–49 (citing Ex. 1004 ¶¶ 30, 34,
36, 39–42, 49). Petitioner further identifies Rosener’s speaker as “at least
one acoustic transducer.” Id. at 49 (citing Ex. 1004 ¶¶ 30 (“The speaker
may comprise, for example, a magnetic element attached to a voice-coil-
actuated diaphragm, an electrostatically charged diaphragm, a balanced
armature driver, or a combination of one or more of these transducer
elements.”), 38). As to “a buffer for caching the streaming audio content
prior to being played by the at least one acoustic transducer,” Petitioner cites
to Rosener’s description of “data buffers in each of the first and second RF
receivers 604, 608.” Id. at 49–50 (citing Ex. 1004 ¶ 39). Based on the
evidence presented in the Petition, we find that Rosener teaches each
additional limitation of claim 2.
      Claim 16 depends from claim 1 and adds “wherein the rechargeable
power source comprises wirelessly chargeable circuit components.” We
agree with Petitioner (Pet. 50–51) and find that Huddart teaches this
limitation through its description of inductive charging and that a skilled
artisan would had reasons to combine Huddart’s teaching of inductive
charging with the teachings of Rosener, with a reasonable expectation of
success. Ex. 1005, 8:35–50; Ex. 1003 ¶ 103.




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      5. Claim 17
      Claim 17 recites “wherein the rechargeable power source comprises a
passive, wireless rechargeable power source.” Petitioner argues that “the
claim language is not clear as to how a passive wireless rechargeable power
source differs from other wireless rechargeable power sources.” Pet. 51.
Petitioner argues that claim 17 would have been obvious over Rosener,
Huddart, and Vanderelli if claim 17 is construed in light of the Specification.
Pet. 51. We address these allegations in Section II.F below. In the
alternative, Petitioner argues that, if we adopt a broader construction of
claim 17 that is “divorced from the ’325 patent specification,” we should
find it taught by Rosener and Huddart. Id. at 51–52. Because we find that
the combination of Rosener, Huddart, and Vanderelli teaches the additional
limitation of claim 17, as explained below, we do not reach whether Rosener
and Huddart teach this limitation under a broader construction. See SAS
Inst. Inc. v. Iancu, 138 S. Ct. 1348, 1359 (2018) (holding that a petitioner “is
entitled to a final written decision addressing all of the claims it has
challenged”); Bos. Sci. Scimed, Inc. v. Cook Grp. Inc., 809 F. App’x 984,
990 (Fed. Cir. 2020) (non-precedential) (recognizing that the “Board need
not address issues that are not necessary to the resolution of the proceeding”
and, thus, agreeing that the Board has “discretion to decline to decide
additional instituted grounds once the petitioner has prevailed on all its
challenged claims”).


      6. Differences, if any, Between Claim 18 and the Prior Art; Reasons
         to Modify or Combine
      As to claim 18, for “wherein the processor circuit of each of the first
and second earphones comprises: . . . a baseband processor circuit that is in


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communication with the wireless communication circuit of the earphone,”
Petitioner cites to a description of Rosener’s baseband processor 914 and
associated circuitry. Id. at 55–56 (citing Ex. 1004 ¶¶ 30, 49, Fig. 9). We
agree that baseband processor 914 is a baseband processor circuit, and
Figure 9 depicts baseband processor 914 in communication with RF
transmitter portion 902, RF receiver portion 904, duplexer 908, A/D
converter 910, and D/A converter 912, the alleged “wireless communication
circuit of the earphone.” Patent Owner does not contest Petitioner’s
allegations for this limitation of claim 18.
      The parties dispute whether Rosener and Huddart teach “wherein the
processor circuit of each of the first and second earphones comprises: a
digital signal processor that provides a sound quality enhancement for the
audio content played by the at least one acoustic transducers of the
earphone,” as recited in claim 18.
      Petitioner cites to description of Rosener’s signal conditioning circuit
916 and identifies that component as corresponding to the claimed digital
signal processor (DSP). Id. at 53–55 (citing Ex. 1004 ¶¶ 30, 34, 36, 38, 49,
Fig. 9). In particular, Petitioner points to Rosener’s description that signal
conditioning circuit 916 provides “digital-to-analog conversion, filtering,
amplification, and/or other signal processing functions, to ensure that the
processed data is in form suitable to drive the data sink 918.” Id. at 54
(quoting Ex. 1004 ¶ 49). Dr. Cooperstock testifies that signal conditioning
circuit 916 “would have conditioned the signal to, for example, reduce or
eliminate the effects of noise on the signal through filtering, which enhances
sound quality.” Ex. 1003 ¶ 111.
      Patent Owner argues that Rosener’s signal conditioning circuit 916 is
a digital-to-analog converter (DAC), rather than a DSP, as its purpose is to

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drive the headphone’s speaker (data sink 918). PO Resp. 22–24 (citing
Ex. 1004 ¶¶ 30 49; Ex. 2035 ¶ 50). Patent Owner, relying on
Mr. McAlexander’s testimony, contends that a DSP “is a circuit that
performs mathematical functions on digital signals (like digital audio signals
when used with speakers and earphones).” Id. at 24 (citing Ex. 2035 ¶ 53).
Patent Owner further argues that a DSP is a processor and, as such,
“typically includes the building blocks of a processor, such as an Arithmetic
Logic Unit, shift registers, and memory space.” Id. (citing Ex. 2035 ¶ 54).
      Petitioner does not appear to contest Patent Owner’s arguments that a
DSP must be a processor, with components like arithmetic logic units, shift
registers, and memory space, that performs mathematical functions on
digital signals. Reply 19–22.6 Indeed, Petitioner provides no proposed
construction in either the Petition or the Reply, and contends instead that
DSP “should be interpreted based on . . . its plain meaning.” Reply 21.
Rather, Petitioner argues that signal conditioning circuit 916 is more than a
DAC, and performs filtering, amplification, and other signal processing




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  Petitioner does argue that Patent Owner is incorrect to suggest that a DSP
must be embodied as a single chip or integrated circuit. Reply 21–22. We
do not read Patent Owner’s arguments to limit a DSP to a single chip. PO
Resp. 25 (arguing that “[a] DSP is often embodiment as a single chip (i.e.,
integrated circuit)”). In any case, we see no persuasive evidence that would
limit a DSP to a single chip or integrated circuit.

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functions. Id. at 19–20 (citing Ex. 1004 ¶ 49).7 Petitioner equates the
filtering, amplification, and other signal processing performed by signal
conditioning circuit 916 to the “noise cancelation and sound equalization”
listed by the ’325 patent as examples of “various sound quality
enhancements” performed by DSP 114. Reply 22–23; Ex. 1001, 7:34–37.
      Patent Owner responds that
      [m]erely because Rosener’s signal conditioning circuit can
      perform amplification and filtering does not mean that the
      amplification and filtering are of digital signals. Thus, the
      amplification and filtering by Rosener’s “signal conditioning
      circuit” do not even necessarily involve processing of digital
      signals. Also, neither Rosener nor Cooperstock explained why
      it would have been obvious that the amplification and filtering
      performed by Rosener’s signal conditioning circuit would have
      been digital.
Sur-reply 12–13. Patent Owner’s concern is well-founded. Dr. Cooperstock
admits that filtering and amplification are techniques for processing analog
as well as digital signals. Ex. 2040, 9:10–10:8. Rosener describes signal
conditioning circuit 916 as receiving data (presumably in digital format)
from baseband processor 914, performing processing including digital-to-



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 Petitioner also argues, for the first time in the Reply, that “‘digital-to-
analog conversion’ is an example of a ‘signal processing function.’” Reply
20–21. If Petitioner is attempting to argue that a DAC is a DSP, Petitioner
did not make such an argument in the Petition and we do not entertain it
here. See Patent Trial and Appeal Board Consolidated Trial Practice Guide
(Nov. 2019) (“TPG”), 73–74 (“While replies and sur-replies can help
crystalize issues for decision, a reply or sur-reply that raises a new issue or
belatedly presents evidence may not be considered.”), available at
https://www.uspto.gov/TrialPracticeGuideConsolidated. Nevertheless,
Petitioner does not articulate that argument clearly or support it with
persuasive evidence. Thus, the argument would not be persuasive even if
considered.

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analog conversion, filtering, and amplification, and producing an output
suitable to drive data sink 918. Ex. 1004 ¶ 49. The most logical reading of
this description is that signal conditioning circuit 916 receives a digital
signal, converts it to an analog signal, and filters and amplifies that signal to
condition it to appropriately drive a speaker. In other words, consistent with
Mr. McAlexander’s testimony, the filtering and amplification are part of the
digital-to-analog conversion process that converts and conditions a signal to
drive a speaker. Ex. 2035 ¶¶ 49–52. Petitioner does not expressly argue in
the Petition or the Reply that the filtering and amplification are performed
on digital signals, or provide persuasive evidence that would support such an
argument. Pet. 53–55; Reply 19–23; Ex. 1003 ¶¶ 110–111; Ex. 1023 ¶¶ 35–
41.
      For the first time at the oral argument, Petitioner argues that Rosener’s
data sink 918 might receive a digital signal instead of an analog signal and,
thus, the filtering and amplification performed in signal conditioning circuit
916 could be performed on digital signals. Tr. 22:17–23:13. Petitioner
argues that this is taught in paragraph 36 of Rosener. Id. Petitioner further
argues that Mr. McAlexander admitted on cross-examination that signal
conditioning circuit 916 performs filtering in the digital domain. Id. at
54:12–57:1 (citing Ex. 1024, 162). Petitioner did not raise these arguments
in its Petition or Reply and, therefore, we do not consider them. See TPG
85–86; Dell Inc. v. Acceleron, LLC, 818 F.3d 1293, 1301 (Fed. Cir. 2016).
      Moreover, Petitioner’s arguments would not be persuasive even if
considered. Paragraph 36 of Rosener describes Rosner’s Figure 6,
reproduced below:




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Figure 6 is a block diagram of a wireless system used to wirelessly transmit
data signals to two or more data sinks. Ex. 1004 ¶19. First and second data
streams are modulated onto RF carriers by first and second RF transmitters
601, 614 and transmitted wirelessly to first and second RF receivers 604,
608. Id. ¶ 36. RF receivers 604, 608 down-convert the modulated RF
carriers and electrically couple the demodulated data streams to first and
second data sinks 602, 606. Id. According to Rosener, the baseband
portions of first and second RF receivers 604, 608 may also contain a DAC
and/or other or additional processing circuitry to facilitate the electrical
coupling of first and second RF receivers 604, 608 to first and second data
sinks 602, 606. Id. “Alternatively, such components may be included as
part of the data sinks 602, 606 themselves.” Id.
      Petitioner appears to argue that, here, Rosener describes a data sink
with a DAC and, by implication, signal conditioning circuit 916 of Figure 9
would operate (filter, amplify) only on digital signals if connected to that

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sort of data sink. We are not persuaded. Rosener does not explain how the
components of Figure 9 would be used or modified if data sink 918 included
a DAC. As noted above, the best reading of Rosener is that signal
conditioning circuit 916 converts a digital signal to an analog signal and
filters/amplifies that analog signal to put it into condition to drive a speaker.
Presumably, if the DAC functionality is moved to data sink 918, the other
signal conditioning functionality, such as filtering and amplification, would
be moved as well, rendering signal conditioning circuit 916, as depicted,
unnecessary (or incorporated into data sink 918). Petitioner offers no
persuasive evidence that signal conditioning circuit 916 would perform
sound quality enhancing digital signal processing in this scenario.
      Mr. McAlexander’s cross-examination testimony is not inconsistent
with our reading of Rosener. Mr. McAlexander testifies that a signal
conditioning circuit would have resistor-capacitor filters both before and
after a DAC as part of signal conditioning, not digital signal processing.
Ex. 1024, 162:2–164:12. Petitioner does not show persuasively that this
would be digital signal processing to provide a sound quality enhancement
for the audio content played by the speaker.
      In sum, Petitioner has not shown, by a preponderance of the evidence,
that the combination of Rosener and Huddart teaches “wherein the processor
circuit of each of the first and second earphones comprises: a digital signal
processor that provides a sound quality enhancement for the audio content
played by the at least one acoustic transducers of the earphone,” as recited in
claim 18.
      Patent Owner raises a second dispute as to this claim limitation.
Although it is not necessary to reach this dispute to assess the patentability
of claim 18, Patent Owner refers to its claim 18 arguments when responding

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to Petitioner’s challenge to claims 9 and 10 (discussed in detail below).
PO Resp. 34–35. Thus, we discuss Patent Owner’s second argument for
claim 18.
      As noted above for claim 1, Petitioner contends that, “[t]o the extent
that Rosener is deemed to not disclose rechargeable batteries, [a person of
ordinary skill in the art] would have found it obvious to incorporate a
rechargeable battery (e.g., earbud battery) as taught in Huddart into each of
Rosener’s earphones 502, 504 for providing power to earphone
components.” Pet. 45. Patent Owner does not contest these allegations for
claim 1 and, for the reasons given above, we find that a skilled artisan would
have combined the teachings of Rosener and Huddart for the limitation of
claim 1, “a rechargeable power source.”
      Nevertheless, Patent Owner contests this limitation as it pertains to
claim 18. Specifically, Patent Owner argues that Huddart does not describe
a rechargeable battery that would be capable of powering Rosener’s earbud
if the earbud were to include a DSP and a baseband processor. PO Resp.
27–32. Patent Owner contends that Huddart describes a “relatively smaller
capacity battery due to its limited size.” Id. at 28 (quoting Ex. 1005, 8:32–
33). Patent Owner argues that Huddart’s battery is recharged using a small
plastic storage case and that “[i]f a larger-capacity battery was needed to
power the additional components of the earbud, such as a DSP and baseband
processor per claim 18, Huddart’s pocket charger would not be suitable for
charging the battery of the wireless earbud.” Id. Patent Owner does not cite
to evidence for this contention.
      To support its contention that Huddart’s battery is “low-power,”
Petitioner argues that Huddart describes its headset and wireless earbud as
communicating using magnetic induction, which Huddart characterizes as

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providing short range wireless communication at low power. Id. at 29
(citing Ex. 1005, 3:8–14, 3:21–23, 3:43–46). In contrast, Patent Owner
argues, a DSP and a baseband processor are high-level integrated circuits
that “consume and require a greater amount of battery power than a
magnetic inductance receiver.” Id. at 29–30 (citing Ex. 2035 ¶ 62).
According to Patent Owner, “[g]iven the significant power requirements of a
DSP and baseband processor, a [person of ordinary skill in the art] would
not be motivated to use Huddart’s low-power battery, which is designed to
merely power a low-power magnetic inductance receiver and the related
components of Huddart’s earbud.” Id. at 30. Patent Owner argues that
“Huddart’s low-power battery [would] be unreliable, undesirable, and/or
incompatible for use to power the claimed DSP and baseband processor due
to its small capacity.” Id.
      As noted above, communication via magnetic induction is only one
example contemplated by Huddart, and Bluetooth communication is another
described option. Ex. 1005, 3:19–60. Patent Owner dismisses this
alternative, arguing that “Huddart fails to disclose whether a Bluetooth
enabled earbud would be compatible with the low power battery discussed
solely in connection with the magnetic induction communication system or
whether a larger, higher power battery would be needed.” PO Resp. 31.
However, we see nothing in Huddart to suggest that the battery it describes
would be insufficient to power its alternative embodiment.
      Patent Owner also argues that the additional power needed for a DSP
and baseband processor would increase the drain on Huddart’s battery,
causing it to generate heat that would be undesirable in an earbud worn on
the face. PO Resp. 30–31 (citing Ex. 2035 ¶ 63). Patent Owner further



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argues that a battery with a larger capacity than that of Huddart would have
been too heavy to be used in a wireless earphone. Id. (citing Ex. 2035 ¶ 63).
      Petitioner argues that Patent Owner misinterprets Petitioner’s
mapping of Rosener and Huddart to the claims. Reply 23–24. Specifically,
Petitioner argues that Rosener teaches a rechargeable power source and that
it “relie[s] on Huddart for its disclosure of an earbud battery being
rechargeable and proposed modifying Rosener’s battery to be similarly
rechargeable.” Id. at 23. In the Petition, Petitioner argues that
      While Rosener does not explicitly describe the batteries being
      rechargeable, a [person of ordinary skill in the art] would have
      understood that earphones 502, 504 could have been configured
      with rechargeable batteries since the use of such batteries in
      wireless devices was well-known before the Critical Date as
      shown, for example, Huddart’s disclosure of its “wireless
      earbud” including a “power source such as a rechargeable
      battery.”
Pet. 44–45. Petitioner continues, “[t]o the extent that Rosener is deemed to
not disclose rechargeable batteries, [a person of ordinary skill in the art]
would have found it obvious to incorporate a rechargeable battery (e.g.,
earbud battery) as taught in Huddart into each of Rosener’s earphones 502,
504 for providing power to earphone components.” Id. at 45; see also id. at
27 (“A [person of ordinary skill in the art] would have understood, however,
that Rosener’s earphones could have incorporated rechargeable batteries
since this configuration was conventional around the time of its disclosure,
as demonstrated by Huddart.”). Petitioner further argues that Patent Owner
does not contest that Rosener’s battery, when modified to be rechargeable,
would have been sufficient to power a digital signal processor. Id. at 23.
      We agree with Petitioner. Petitioner did not contend in the Petition
that a skilled artisan would have swapped Huddart’s battery for Rosener’s.


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Indeed, that is not how we typically evaluate obviousness. See In re
Mouttet, 686 F.3d 1322, 1332–33 (Fed. Cir. 2012) (“It is well-established
that a determination of obviousness based on teachings from multiple
references does not require an actual, physical substitution of elements. . . .
Rather, the test for obviousness is what the combined teachings of the
references would have suggested to those having ordinary skill in the art.”).
Instead, Petitioner argues that a skilled artisan would have made Rosener’s
battery rechargeable, as that would have eliminated the need to replace
batteries and would have been more convenient to users, and that Huddart
showed that it was well-known that earbuds could be equipped with
rechargeable batteries. Pet. 27. We credit Dr. Cooperstock’s testimony in
support of these arguments. Ex. 1003 ¶¶ 48–50. Setting aside the issue
whether signal conditioning circuit 916 is a DSP (above, we find that it is
not), Patent Owner does not contest that Rosener’s battery is at least
sufficient to power the circuitry specifically described in Rosener, including
signal conditioning circuit 916 and baseband processor 914. Tr. 46:17–21.
We find that a skilled artisan would have had reasons, with rational
underpinning, to use a rechargeable battery with Rosener’s earphones
(Huddart shows that this was conventional), and that the skilled artisan
would have selected a rechargeable battery sufficient to power Rosener’s
circuitry.


       7. Objective Indicia of Nonobviousness
       Patent Owner argues that the commercial success of the invention of
the challenged claims evidences nonobviousness. PO Resp. 37–42.




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      “[E]vidence of secondary considerations may often be the most
probative and cogent evidence in the record.” Stratoflex, Inc. v. Aeroquip
Corp., 713 F.2d 1530, 1538 (Fed. Cir. 1983). For example,
      Commercial success is relevant because the law presumes an
      idea would successfully have been brought to market sooner, in
      response to market forces, had the idea been obvious to persons
      skilled in the art. Thus, the law deems evidence of
      (1) commercial success, and (2) some causal relation or “nexus”
      between an invention and commercial success of a product
      embodying that invention, probative of whether an invention
      was non-obvious.
Merck & Co. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1376 (Fed. Cir.
2005). “[T]o be accorded substantial weight in the obviousness analysis, the
evidence of secondary considerations must have a ‘nexus’ to the claims, i.e.,
there must be ‘a legally and factually sufficient connection’ between the
evidence and the patented invention.” Henny Penny Corp. v. Frymaster
LLC, 938 F.3d 1324, 1332 (Fed. Cir. 2019) (quoting Demaco Corp. v.
F. Von Langsdorff Licensing Ltd., 851 F.2d 1387, 1392 (Fed. Cir. 1988)).
      “[A] patentee is entitled to a rebuttable presumption of nexus between
the asserted evidence of secondary considerations and a patent claim if the
patentee shows that the asserted evidence is tied to a specific product and
that the product ‘is the invention disclosed and claimed.’” Fox Factory, Inc.
v. SRAM, LLC, 944 F.3d 1366, 1373 (Fed. Cir. 2019) (quoting Demaco, 851
F.2d at 1392). “That is, presuming nexus is appropriate ‘when the patentee
shows that the asserted objective evidence is tied to a specific product and
that product embodies the claimed features, and is coextensive with them.’”
Id. (quoting Polaris Indus., Inc. v. Arctic Cat, Inc., 882 F.3d 1056, 1072
(Fed. Cir. 2018) (additional internal quotation marks omitted)).
“Conversely, ‘[w]hen the thing that is commercially successful is not


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coextensive with the patented invention—for example, if the patented
invention is only a component of a commercially successful machine or
process,’ the patentee is not entitled to a presumption of nexus.” Id.
(quoting Demaco, 851 F.2d at 1392) (alteration by Federal Circuit). “‘The
patentee bears the burden of showing that a nexus exists.’”8 Id. (quoting
WMS Gaming Inc. v. Int’l Game Tech., 184 F.3d 1339, 1359 (Fed. Cir.
1999)).
      If we do not presume nexus, “[t]o establish a proper nexus between a
claimed invention and the commercial success of a product, a patent owner
must offer ‘proof that the sales were a direct result of the unique
characteristics of the claimed invention—as opposed to other economic and
commercial factors unrelated to the quality of the patented subject matter.’”
SightSound Techs., LLC v. Apple Inc., 809 F.3d 1307, 1319 (Fed. Cir. 2015)
(quoting In re Huang, 100 F.3d 135, 140 (Fed. Cir. 1996)); accord Fox
Factory, 944 F.3d at 1373–74 (“A finding that a presumption of nexus is
inappropriate does not end the inquiry into secondary considerations. To the
contrary, the patent owner is still afforded an opportunity to prove nexus by
showing that the evidence of secondary considerations is the ‘direct result of
the unique characteristics of the claimed invention.’” (quoting Huang, 100
F.3d at 140)).




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 The parties agree that Patent Owner bears the burden of persuasion on
nexus. Reply 31–32; Tr. 51:3–22. In a related hearing conducted on the
same day between the same parties, Patent Owner expressly agreed that it
bears the burden of persuasion on the issue of nexus. IPR2021-00255,
Paper 53 (Mar. 3, 2022, Oral Argument Transcript) at 43:8–23. Patent
Owner stated that we can rely on that agreement in this proceeding.
Tr. 51:3–22.

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      Patent Owner argues that the commercial success of the Powerbeats
Pro, a product by Petitioner’s subsidiary Beats by Dr. Dre, is objective
evidence of the nonobviousness of the challenged claims.9 PO Resp. 37–42.
The parties dispute whether Patent Owner has shown a nexus between the
commercial success of the Powerbeats Pro and the claimed invention.
      Patent Owner argues that “[i]n light of the extreme coextensiveness
between the Powerbeats Pro and claims 1–18 of the ’325 Patent, the Board
should presume a nexus between the commercial success of the Powerbeats
Pro and claims 1–18.” PO Resp. 41. In support of this argument that the
Powerbeats Pro product is coextensive with the claimed invention, Patent
Owner cites to its infringement contentions served in the Texas case, and
argues that “claims 1–18 of the ’325 Patent read on the Powerbeats Pro.”
Id. at 38 (citing Ex. 1014, 1079–113), 40 (same); Sur-reply 19 (“The [Patent
Owner Response] cited an exhibit, APPLE-1014, 1079–1113, that includes a
detailed claim chart showing that the PowerBeats Pros possess all the
elements of the Challenged Claims.”). Patent Owner does not provide a
detailed comparison of the Powerbeats Pro with the challenged claims in its
Response. PO Resp. 37–42. At most, Patent Owner points out certain
features of the Powerbeats Pro, such as being “completely wireless” and
having a “a signature earhook design.” Id. at 37–38, 40. However, Patent
Owner’s attempt to incorporate its infringement contentions by reference
into the Response is contrary to our rules, and those infringement


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  Patent Owner’s evidence of commercial success shows success at the level
of a category that would include the Powerbeats Pro, but does not break out
the Powerbeats Pro individually. PO Resp. 38, 41–42 (citing Exs. 2037,
2038). Nevetheless, Petitioner does not contest that the Powerbeats Pro
product has been commercially successful.

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contentions will be disregarded. See 37 C.F.R. § 42.6(a)(3) (“Arguments
must not be incorporated by reference from one document into another
document.”). Accordingly, Patent Owner has not shown that the Powerbeats
Pro practices the invention of the challenged claims and, for that reason, has
not shown that the Powerbeats Pro is coextensive with the challenged
claims.
      Additionally, Petitioner points to features of the Powerbeats Pro, not
recited in the challenged claims, that it alleges are responsible for the
commercial success of that product. Reply 32–34. “Although we do not
require the patentee to prove perfect correspondence to meet the
coextensiveness requirement, what we do require is that the patentee
demonstrate that the product is essentially the claimed invention.” Fox
Factory, 944 F.3d at 1374. On one hand, “if the unclaimed features amount
to nothing more than additional insignificant features, presuming nexus may
nevertheless be appropriate.” Id. On the other, a claim is not coextensive
with a product that includes a “critical” unclaimed feature that materially
impacts the product’s functionality. Id. at 1375.
      In particular, Petitioner argues that the Powerbeats Pro includes a
speech-detecting accelerometer in each earbud, two beam-forming
microphones per side to help filter out sounds such as wind and ambient
noise, a proprietary chip package that provides a faster and more stable
wireless connection, and wireless audio sharing functionality and location
tracking using a phone to determine if the headphones are lost or missing.
Reply 32–33 (citing Ex. 1028; Ex. 2039, 3–4). Petitioner argues that these
unclaimed features materially impact the Powerbeats Pro’s functionality and
points to product reviews to show that the proprietary chip package
improves quality and latency. Id. at 33 (citing Exs. 1029, 1030).

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      Patent Owner responds that much of what Petitioner argues are
unclaimed features are, in fact, claimed. Sur-reply 19–20. Specifically,
Patent Owner argues that claim 1’s recitation of a “microphone” corresponds
to the two beam-forming microphones in Powerbeats Pro; the “processor
circuit” of claim 1 corresponds to the proprietary chip package of
Powerbeats Pro; and that claim 18’s recitation of a “digital signal processor
that provides a sound quality enhancement” corresponds to the speech-
detecting accelerometer and two-beam forming microphones of Powerbeats
Pro. Id. Patent Owner, however, offers no evidence to support these
arguments.10 Id. Patent Owner’s attorney argument is not persuasive to
meet its burden to show that the challenged claims are coextensive with
Powerbeats Pro. In any case, we agree with Petitioner that these particular
features of Powerbeats Pro do not appear to be coextensive with the
recitations in claims 1 and 18. Cf. Fox Factory, 944 F.3d at 1376 (“On a
broader note, if we were to agree . . . that the coextensiveness requirement is
met so long as the patent claim broadly covers the product that is the subject
of the secondary considerations evidence, irrespective of the nature of any


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  We recognize that, ordinarily, “[t]he sur-reply may not be accompanied by
new evidence other than deposition transcripts of the cross-examination of
any reply witness.” TPG 73. In this instance, it is Patent Owner’s burden to
prove that the challenged claims are coextensive with the Powerbeats Pro in
order to show nexus via coextensiveness. See Fox Factory, 944 F.3d at
1373. Thus, Patent Owner should have marshaled evidence of
coextensiveness, including evidence as to unclaimed features, with its
Response. Paper 15 (Scheduling Order) 8 (Patent Owner is cautioned that
any arguments not raised in the response may be deemed waived.”);
TPG 73–74 (“Sur-replies should only respond to arguments made in reply
briefs, comment on reply declaration testimony, or point to cross-
examination testimony.”). In any case, Patent Owner did not request an
opportunity to submit additional evidence with its Sur-reply.

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unclaimed features—then the coextensiveness requirement would rest
entirely on minor variations in claim drafting.”). Moreover, Patent Owner
does not contest that other features, such as wireless audio sharing
functionality and location tracking using a phone, are features of Powerbeats
Pro but not claimed in the challenged claims.
      Patent Owner also argues that, even if the features of Powerbeats Pro
are not claimed in the challenged claims, those features “are not for
improving the ‘heart,’ or purpose, of the ’325 Patent.” Sur-Reply 20–21. In
a similar argument, Patent Owner contends that “even if any of the
Powerbeats Pro’s features identified in the Reply could be considered
unclaimed, there is no evidence that they are critical or significant to
performing the function of the ’325 Patent’s earphones better.” Id. at 21.
Specifically, Patent Owner argues, “Petitioner . . . did not introduce any
evidence to show that the speech-detecting accelerometer, beam-forming
microphones, ambient noise filtering, wireless audio sharing and/or location
tracking are critical to securing a pair of independently wireless earphones to
the user.” Id. at 21–22. This misstates the law. Fox Factory did not hold
that unclaimed features must be critical to or for improving the heart of the
challenged claims. Rather, we look to whether the unclaimed features
“materially impact[] the product’s functionality.” Fox Factory, 944 F.3d at
1375. Thus, when Fox Factory states that “if the unclaimed features amount
to nothing more than additional insignificant features, presuming nexus may
nevertheless be appropriate,” id. at 1374, it means insignificant to the
product, not insignificant to the challenged claims. Patent Owner does not
argue, and has not presented evidence, that the unclaimed features of
Powerbeats Pro are insignificant to, or do not materially impact, the
Powerbeats Pro product and its success.

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      For these reasons, even if we consider Patent Owner’s improperly
incorporated claim charts, we still conclude that Patent Owner has not met
its burden to prove that the challenged claims and Powerbeats Pro are
coextensive. Thus, Patent Owner has not shown a nexus between the
commercial success of Powerbeats Pro and the invention of the challenged
claims by virtue of coextensiveness.
      As noted above, Patent Owner may still show nexus by showing that
the commercial success of the Powerbeats Pro is the direct result of the
unique characteristics of the claimed invention. See Fox Factory, 944 F.3d
at 1373–74; Huang, 100 F.3d at 140. To that end, Patent Owner argues in
the Response that “[a]t a minimum, a nexus between the Powerbeats Pro
[and] the Challenged Claims exists because the commercial success is the
direct result of the unique characteristics of the claimed invention.” PO
Resp. 41. Patent Owner does not cite to evidence to support this statement,
and does not identify, in the Response which “unique characteristics” it
relies on. Id.
      In its arguments regarding coextensiveness, Patent Owner identified
the “completely wireless” nature and “signature earhook design” of the
Powerbeats Pro. Id. at 37–38, 40. In the Sur-reply, Patent Owner attempts
to tie these two features to “unique characteristics” of the challenged claims.
Sur-reply 23 (“The [Patent Owner Response] explained how Petitioner’s
press releases touted the ‘completely wireless’ nature of the headphones as
well as the ‘signature earhook design’ of the PowerBeats Pros.”) (citing PO
Resp. 37–38; Ex. 2039, 1). Patent Owner has not shown persuasive
evidence to support an argument that the commercial success of the
Powerbeats Pro was the direct result of these features. The press release of
Exhibit 2039 characterizes the Powerbeats Pro as

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      completely wireless earphones that deliver powerful sound for
      the world’s most passionate music lovers and motivated
      athletes. The result of a deep integration between Beats and
      Apple engineering, Powerbeats Pro features industry-leading
      battery life, advanced functionality, reliable connectivity,
      exceptional fit via the signature earhook design and beautiful
      fidelity.
Ex. 2039, 2. This press release purportedly published on April 3, 2019,
(Ex. 2039, 2), while Patent Owner relies on commercial success that took
place after this date, in “Q3 2019” (PO Resp. 41). Patent Owner does not
explain persuasively why a press release published before the period of
alleged commercial success is evidence of the reasons for that success.
      In sum, we conclude that Patent Owner has not shown a nexus
between the challenged claims and the alleged commercial success of the
Powerbeats Pro. Accordingly, Patent Owner’s objective indicia of
nonobviousness is particularly weak and unpersuasive.


      8. Conclusion of Obviousness
      As explained above, the combination of Rosener and Huddart teaches
each limitation of claims 1, 2, and 16, but not claim 18. Petitioner has
introduced persuasive evidence that a skilled artisan would have had reasons
to combine the teachings of Rosener and Huddart with a reasonable
expectation of success. We have considered Patent Owner’s arguments and
evidence of objective indicia of nonobviousness, but do not find it
persuasive, for the reasons explained above. In sum, upon consideration of
all the evidence, we conclude that Petitioner has proved by a preponderance
of the evidence that claims 1, 2, and 16 would have been obvious over
Rosener and Huddart. Petitioner has not proved, by a preponderance of the
evidence, that claim 18 would have been obvious over Rosener and Huddart.

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   C. Obviousness of Claims 3 and 4 over Rosener, Huddart, and Haupt
      Petitioner contends that claims 3 and 4 would have been obvious over
Rosener, Huddart, and Haupt. Pet. 57–64. Patent Owner does not challenge
Petitioner’s additional allegations for claims 3 and 4.
      Haupt describes techniques for downloading digital data (e.g., MP3
music files) from the Internet using a computer (e.g., a PDA or notebook
computer wirelessly connected to a network) and distributing those digital
data to wireless headphones. Ex. 1006, 1.
      Claim 3 depends from claim 1 and adds “wherein the processor circuit
for the first earphone is for, upon activation of a user control of the
headphones, initiating transmission of a request to a remote network server
that is remote from the headphones.” Claim 4 depends from claim 3 and
adds “wherein the processor circuit of the first earphone is further for
receiving a response to the request.”
      As we find above, Rosner teaches a processor circuit, for example
broadband processor 914, signal conditioning circuits 916, 920, and other
processing circuitry. Ex. 1003 ¶ 114. Petitioner contends that Haupt teaches
activation of a user control of headphones and corresponding transmission of
a request to a remote network server, after which the server sends, and the
headphones receive, a response (e.g., downloaded audio content). Pet. 61–
64. In particular, Petitioner cites to Haupt’s description of interacting with
control buttons on wireless headphones to connect with a server and retrieve
audio files over a network. Id. (citing Ex. 1006, 2–5, 10–14, 21). Petitioner,
relying on Dr. Cooperstock’s testimony, contends that a skilled artisan
would have combined Haupt’s teachings with those of Rosener and Huddart
to “improve[] performance when streaming data streams with high
throughput requirements due to the increased data transmission rates,”

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“impart[] new and useful functionality to [Rosener’s] earphones 502, 504 as
audio playback devices,” and “provid[e] Internet access to the headphones.”
Id. at 58–61 (citing Ex. 1003 ¶¶ 57–61). We credit Dr. Cooperstock’s
uncontroverted testimony on this point.
      Based on the evidence presented in the Petition, we find that the
combination of Rosener, Huddart, and Haupt teaches each limitation of
claims 3 and 4. Petitioner has introduced persuasive evidence that a skilled
artisan would have had reasons to combine the teachings of Rosener,
Huddart, and Haupt with a reasonable expectation of success. We have
considered Patent Owner’s arguments and evidence of objective indicia of
nonobviousness, but do not find it persuasive, for the reasons explained
above. In sum, upon consideration of all the evidence, we conclude that
Petitioner has proved by a preponderance of the evidence that claims 3 and 4
would have been obvious over Rosener, Huddart, and Haupt.


   D. Obviousness of Claims 9, 10, and 14 over Rosener, Huddart, and
      Price
      Petitioner contends that claims 9, 10, and 14 would have been obvious
over Rosener, Huddart, and Price. Pet. 65–71. Patent Owner disputes
whether claims 9 and 10 would have been obvious, but does not contest
Petitioner’s allegations for claim 14. We find that the combination of
Rosener, Huddart, and Price teaches each limitation of claims 9, 10, and 14.
      Price “relates generally to collecting data from, sending data to, and/or
updating software or digital data in electronic devices.” Ex. 1008 ¶ 3. In
one example, updated software code (including firmware) is retrieved by a
computer from a data store on a network and delivered (wirelessly) to an
electronic device. Id. ¶¶ 29, 38–39, Fig. 1. Exemplary electronic devices


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include personal computers, digital cameras, TiVo-like devices, and personal
digital assistants (such as Palm and Pocket PC devices). Id. ¶¶ 25, 33.
      Claim 9 depends from claim 1 and adds “the processor circuits of the
headphones are configured to receive firmware upgrades transmitted from a
remote network server.” Claim 10 depends from claim 9 and adds “wherein
the headphone[s] are configured to receive the firmware upgrades
wirelessly.”
      As to claims 9 and 10, Petitioner contends that Price teaches a
coordinating computer obtaining software update code representing
firmware upgrades from a server and transmitting those firmware upgrades
to devices wirelessly. Pet. 69–71 (citing Ex. 1008 ¶¶ 26, 30, 33, 37, 38).
According to Petitioner, a skilled artisan would have modified Rosener’s
transceiver 900 to implement processing related to the receipt of software
update code for firmware upgrades, per the teachings of Price. Id. at 70
(citing Ex. 1003 ¶ 124). Petitioner argues that this feature of Price would
have “provided the benefits of improving reliability, functionality, or
compatibility” to Rosener’s earphones. Id. at 70 (citing Ex. 1008 ¶¶ 5, 11;
Ex. 1003 ¶¶ 124, 125).
      In arguments similar to those presented for claim 18, discussed above,
Patent Owner contends that “a [person of ordinary skill in the art] would not
have attempted to use a low-power, pocket-charger-rechargeable battery as
in Huddart, with wireless earphones that have the additional power
consumption associated with receiving firmware upgrades, including
wirelessly with respect to claim 10.” PO Resp. 32–33 (citing Ex. 2035
¶ 65). Here, Patent Owner mischaracterizes Petitioner’s obviousness
allegations as bodily incorporating Huddart’s rechargeable battery into
Rosener’s earphone. See also id. at 34–35 (“As with dependent claim 18,

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. . . the Petition and Cooperstock rely on Huddart’s low-power earbud
battery as a motivation to power the firmware-receiving earphones of claims
9 and 10. . . . Put another way, to the extent that a [person of ordinary skill
in the art] might be motivated to power Rosener’s earphone with Huddart’s
low-power, pocket-charger-rechargeable battery, neither Petitioner nor
Cooperstock revisited whether the [person of ordinary skill in the art] would
be motivated to use a rechargeable battery, like Huddart’s low-power,
pocket-charger-rechargeable battery, in a wireless headphone that
additionally receives firmware upgrades (including wirelessly).”); Reply 28
n.3 (“[Patent Owner] misinterprets the Petition as incorporating Huddart’s
battery into Rosener”). This argument is unpersuasive, as Patent Owner’s
attempt to recast Petitioner’s argument as a physical substitution of elements
fails to take into account the teachings of Rosener and Huddart. See
Mouttet, 686 F.3d at 1332–33.
      Patent Owner further argues that “updating a device’s firmware
requires that the device be sufficiently powered throughout the firmware
upgrade process,” and that “[o]ften, if the device loses power during the
firmware upgrade process, the device can become inoperable (a so-called
‘brick’).” PO Resp. 33. Patent Owner then argues that the ’325 patent’s
solution is to implement the transceiver circuit on a single integrated circuit
(IT), which it refers to as system-on-chip (SoC or SOC), implying that a SoC
design is required by the patent’s claims. Id. at 35–36 (citing Ex. 1001,
6:45–49; Ex. 2035 ¶¶ 70–71); see also Sur-reply 17–18 (“[T]the [Patent
Owner Response’s] description of the SOC described in the ’325 Patent
demonstrates how the ’325 Patent enables a wireless earphone with a
rechargeable battery to receive firmware upgrades.”). According to Patent
Owner, without a teaching of “an earphone with a SoC for reduced power

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consumption,” a person of ordinary skill in the art “would realize that for
claims 9 and 10, the battery would need to power non-SOC wireless
earphones throughout the firmware update process; and if the battery ran out
of power, the wireless earphones likely would become ‘bricked.’” PO Resp.
35–36. Patent Owner concludes:
      If a [person of ordinary skill in the art] were truly motivated to
      use small, low-power rechargeable batteries in Rosener, the
      [person of ordinary skill in the art] would want to keep power
      requirements low by implementing lower power receiver
      technologies (like magnetic inductance or Bluetooth), and not
      additionally burdening the low power rechargeable battery with
      having to power the wireless device throughout a firmware
      update.
Id. at 36–37 (citing Ex. 2035 ¶ 72).
      Petitioner faults Patent Owner for not presenting evidence showing
that firmware upgrades involve significant power consumption. Reply 27.
In any case, Petitioner argues, a skilled artisan would have known how to
implement a Rosner-Huddart-Price combination in a way that does not
require high power consumption, such as incrementally upgrading firmware.
Id. at 29–30 (citing Ex. 1023 ¶¶ 50–51). In its Sur-reply, Patent Owner
changes its argument, contending instead that it is the reliability of the




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battery, rather than its power, that poses the risk of a device “becoming a
brick.” Sur-reply 17.11
      Patent Owner’s arguments are unpersuasive. First, as Petitioner
argues (Reply 28), Patent Owner points to no persuasive evidence that the
claims of the ’325 patent require a SoC design for a transceiver.
Mr. McAlexander’s testimony, which merely copies the Patent Owner
Response without identifying any basis for the testimony, is of little value.
Ex. 2035 ¶¶ 70–72. Moreover, the ’325 patent makes clear that a SoC
design is only an example. Ex. 1001, 1001, 6:45–49 (“In various
embodiments, the transceiver circuit 100 may be implemented as a single
integrated circuit (IC), such as a system-on-chip (SoC), which is conducive
to miniaturizing the components of the earphone 10, which is advantageous
if the earphone 10 is to be relatively small in size.”).
      Second, Patent Owner’s argument that the power source must be high-
power or reliable assumes that the battery would be used for the entire
firmware upgrade process, including both receiving the firmware update and
installing it. PO Resp. 33. Claim 9 only recites a processor circuit
“configured to receive firmware upgrades,” and says nothing about installing
firmware. Patent Owner provides no persuasive argument or evidence
suggesting that a high-power or more reliable battery would be necessary to

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  Patent Owner repeatedly argued in its Response that it was the “low-
power” nature of Huddart’s battery that made it unsuitable for firmware
upgrades. PO Resp. 32–37. Patent Owner’s mention of an “unreliable
power source” was in the context of Huddart’s battery being low power.
Id. at 37; see also id. at 30 (arguing that Huddart’s “low-power battery”
would be “unreliable” “due to its small capacity”). We decline to consider
Patent Owner’s new argument that Huddart’s battery would have been
unreliable. However, even if we did, it would not be persuasive, as we
explain.

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receive firmware, or that a power failure while receiving firmware (as
opposed to a power failure during installation of the firmware) would result
in “bricking” a device. Moreover, as Petitioner argues, a skilled artisan
could have implemented the combination such that the firmware installation
takes place while the earphone is connected to a charger, such as described
in Huddart (primary charger and pocket charger). Reply 30–31 (citing
Ex. 1023 ¶¶ 52–53; Ex. 1005, 8:28–34). Thus, even if firmware installation
were required by claims 9 and 10, Patent Owner’s argument still would be
unpersuasive.
      As explained for claims 1 and 18 (Sections II.B.3.b) and II.B.6
above), we find that a skilled artisan would have had persuasive reasons to
incorporate Huddart’s teaching of rechargeable batteries into Rosener’s
earphones, would have selected a rechargeable battery sufficient to power
Rosener’s circuitry (including transceiver 900, which would receive
firmware upgrades), and would have had a reasonable expectation of success
in doing so.
      Claim 14 depends from claim 10, but otherwise adds limitations that
are substantially the same as those added by claim 2. Petitioner incorporates
by reference its arguments and evidence for claim 2. Pet. 71. As explained
in Section II.B.4 above, we find that Rosener teaches each additional
limitation of claim 2. For the same reasons, Rosener teaches each additional
limitation of claim 14.
      In conclusion, the combination of Rosener, Huddart, and Price teaches
each limitation of claims 9, 10, and 14. Petitioner has introduced persuasive
evidence that a skilled artisan would have had reasons to combine the
teachings of Rosener, Huddart, and Price with a reasonable expectation of
success. We have considered Patent Owner’s arguments and evidence of

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objective indicia of nonobviousness, but do not find it persuasive, for the
reasons explained above. In sum, upon consideration of all the evidence, we
conclude that Petitioner has proved by a preponderance of the evidence that
claims 9, 10, and 14 would have been obvious over Rosener, Huddart, and
Price.


   E. Obviousness of Claim 15 over Rosener, Huddart, and Paulson
         Petitioner contends that claim 15 would have been obvious over
Rosener, Huddart, and Paulson. Pet. 71–75. Patent Owner does not contest
Petitioner’s additional allegations for claim 15.
         Paulson describes a voice communication device, such as an earphone
assembly with an ear tip that inserts in the ear canal and a microphone
attached at the end of a boom. Ex. 1009, 5:1–8, Figs. 1A, 1B, 2. In one
example, Paulson describes a push-button switch that can be pushed to
enable and mute the microphone. Id. at 6:18–49.
         Claim 15 depends from claim 1 and adds
         wherein the processor circuit of the first earphone is configured
         to:
               process audible utterances by the user picked by the
                     microphone in response to activation of the
                     microphone by the user; and
               transmit a communication based on the audible
                     utterances via the Bluetooth wireless
                     communication links.
         Petitioner argues that Paulson’s unmute feature corresponds to
enabling a microphone and processor circuit to “process audible utterances
by the user picked by the microphone in response to activation of the
microphone by the user,” as recited in claim 15. Pet. 73–74 (citing
Ex. 1009, 6:18–49). Petitioner cites Rosener for the ability to “transmit a

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communication based on the audible utterances via the Bluetooth wireless
communication links,” as recited in claim 15. Id. at 74–75 (citing Ex. 1004
¶¶ 11, 35, 49, 56). According to Petitioner and Dr. Cooperstock (Pet. 73;
Ex. 1003 ¶ 71), a skilled artisan would have combined Paulson’s and
Rosener’s features in light of Paulson’s statements that its “feature is
important for users in a noisy environment, to allow them to reduce the noise
heard by the distant party.” Ex. 1009, 6:33–35. We credit
Dr. Cooperstock’s uncontested testimony on this point.
      In light of Petitioner’s evidence, we find that the combination of
Rosener, Huddart, and Paulson teaches each limitation of claim 15.
Petitioner has introduced persuasive evidence, including Dr. Cooperstock’s
testimony, that a skilled artisan would have had reasons to combine the
teachings of Rosener, Huddart, and Price with a reasonable expectation of
success. We have considered Patent Owner’s arguments and evidence of
objective indicia of nonobviousness, but do not find them persuasive for the
reasons explained above. In sum, upon consideration of all the evidence, we
conclude that Petitioner has proved by a preponderance of the evidence that
claim 15 would have been obvious over Rosener, Huddart, and Paulson.


   F. Obviousness of Claims 16 and 17 over Rosener, Huddart, and
      Vanderelli
      Petitioner contends that claims 16 and 17 would have been obvious
over Rosener, Huddart, and Vanderelli. Pet. 75–78. Patent Owner does not
contest Petitioner’s additional allegations for this ground.
      Vandereilli describes a wireless power supply that rectifies RF energy
and stores it in a group of capacitors. Ex. 1010, Abstract, 2:1–51, 4:9–17,
Fig. 1.


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       For claim 16, Petitioner cites Vanderelli for additional examples,
beyond those shown in Huddart, of “wirelessly chargeable circuit
components.” Pet. 77. As explained above, we conclude that claim 16
would have been obvious over Rosener and Huddart. Thus, we do not reach
whether claim 16 also would have been obvious over Rosener, Huddart, and
Vanderelli. See SAS, 138 S. Ct. at 1359); Bos. Sci. Scimed, 809 F. App’x at
990.
       As to claim 17, Petitioner contends that a “passive, wireless
rechargeable power source” is a rechargeable power source that “may
comprise capacitors passively charged with RF radiation.” Pet. 51 (quoting
Ex. 1001, 7:3–5; citing Ex. 1003 ¶ 104), 78 (quoting Ex. 1001, 7:3–5; citing
Ex. 1003 ¶ 134). Petitioner contends that a skilled artisan would have
incorporated Vanderelli’s technique of rectifying RF energy and storing it in
capacitors because it would have provided the “advantages of obtaining
energy from a range of RF frequencies.” Id. at 78 (citing Ex. 1003 ¶ 134).
We credit Petitioner’s evidence, including Dr. Cooperstock’s uncontested
testimony.
       In light of Petitioner’s evidence, we find that the combination of
Rosener, Huddart, and Vanderelli teaches each limitation of claim 17.
Petitioner has introduced persuasive evidence, including Dr. Cooperstock’s
testimony, that a skilled artisan would have had reasons to combine the
teachings of Rosener, Huddart, and Vanderelli with a reasonable expectation
of success. We have considered Patent Owner’s arguments and evidence of
objective indicia of nonobviousness, but do not find it persuasive, for the
reasons explained above. In sum, upon consideration of all the evidence, we
conclude that Petitioner has proved by a preponderance of the evidence that
claim 17 would have been obvious over Rosener, Huddart, and Vanderelli.

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                             III. CONCLUSION12
        Petitioner has shown by a preponderance of the evidence that claims
1–4, 9, 10, and 14–17 would have been obvious. Petitioner has not shown
by a preponderance of the evidence that claim 18 would have been obvious.
        In summary:13
     Claims   35 U.S.C. §    Reference(s)/         Claims      Claims
                                Basis              Shown     Not Shown
                                               Unpatentable Unpatentable
 1, 2, 16–    103(a)         Rosener,          1, 2, 16     18
 18                          Huddart
 3, 4         103(a)         Rosener,          3, 4
                             Huddart,
                             Haupt
 9, 10, 14    103(a)         Rosener,          9, 10, 14
                             Huddart, Price
 15           103(a)         Rosener,          15
                             Huddart,
                             Paulson
 16, 17       103(a)         Rosener,          17
                             Huddart,
                             Vanderelli
 Overall                                       1–4, 9, 10,        18
 Outcome                                       14–17


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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).
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  For the reasons explained above, we do not reach whether claim 17 would
have been obvious over Rosener and Huddart, or whether claim 16 would
have been obvious over Rosener, Huddart, and Vanderelli.

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                                 IV. ORDER
      In consideration of the foregoing, it is hereby:
      ORDERED, based on a preponderance of the evidence, that claims 1–
4, 9, 10, and 14–17 have been shown to be unpatentable;
      FURTHER ORDERED, based on a preponderance of the evidence,
that claim 18 has not been shown to be unpatentable; and
      FURTHER ORDERED, because this is a final written decision, the
parties to this proceeding seeking judicial review of our Decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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Trials@uspto.gov                                            Paper 43
571-272-7822                                     Date: June 27, 2022


      UNITED STATES PATENT AND TRADEMARK OFFICE


       BEFORE THE PATENT TRIAL AND APPEAL BOARD


                           APPLE, INC.,
                            Petitioner,

                                v.

                      KOSS CORPORATION,
                         Patent Owner.


                          IPR2021-00381
                       Patent 10,491,982 B1


Before DAVID C. McKONE, GREGG I. ANDERSON, and
NORMAN H. BEAMER, Administrative Patent Judges.

ANDERSON, Administrative Patent Judge.




                           JUDGMENT
                       Final Written Decision
          Determining Some Challenged Claims Unpatentable
                         35 U.S.C. § 318(a)




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                            I. INTRODUCTION
      Apple, Inc. (“Petitioner”) filed a Petition requesting inter partes
review of claims 1–5 and 14–20 of U.S. Patent No. 10,491,982 (Ex. 1001,
“the ’982 patent”). Paper 2 (“Pet.”). Koss Corporation (“Patent Owner”)
filed a Preliminary Response. Paper 10 (“Prelim. Resp.”). Upon our
authorization, Petitioner filed a Preliminary Reply relating to discretionary
denial based on the factors set forth in Apple Inc. v. Fintiv, Inc., IPR2020-
00019, Paper 11 (PTAB Mar. 20, 2020) (precedential). Paper 11 (“Prelim.
Reply”). Patent Owner filed a Preliminary Sur-Reply. Paper 12 (“Prelim.
Sur-Reply”). We instituted inter partes review on July 2, 2021. Paper 15
(“Inst. Dec.”). Patent Owner filed a Response (Paper 19, “PO Resp.”),
Petitioner filed a Reply (Paper 31, “Reply”), and Patent Owner filed a Sur-
Reply (Paper 34, “Sur-Reply”). A hearing was held on April 5, 2022, and a
transcript has been made of record. Paper 42 (“Tr.”).
      We have jurisdiction under 35 U.S.C. § 6. This Decision is a final
written decision under 35 U.S.C. § 318(a) as to the patentability of claims
1– 5 and 14–20. Based on the record before us, Petitioner has proved, by a
preponderance of the evidence, that claims 1–5 and 14–18 are unpatentable,
but has not proved that claims 19 and 20 are unpatentable.
                            II. BACKGROUND
                         A. Real Parties in Interest
      Petitioner states it is the real party-in-interest. Pet. 85. Patent Owner
states it is the real party-in-interest. Paper 4 (“Mandatory Notice by Patent
Owner”), 1; see also Papers 6–9 (Updates to Mandatory Notice).




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                              B. Related Matters
      Both parties list a related lawsuit alleging infringement of the ’982
patent, Koss Corporation v. Apple Inc., Case No. 6:20-cv-00665 (W.D.
Tex.) ( “District Court Lawsuit”). Pet. 86. Patent Owner lists the District
Court Lawsuit and other lawsuits involving the ’982 patent, United States
applications to which the ’982 patent claims priority, and pending inter
partes reviews as Related Matters. Paper 9, 1–2.
                              1. Other Lawsuits
      Patent Owner identifies five other lawsuits involving the ’982 patent:
Koss Corporation v. PEAG LLC d/b/a JLab Audio, Case No. 6:20-cv-00662
(W.D. Tex.); Koss Corporation v. Skullcandy, Inc., Case No. 6:20-cv-00664
(W.D. Tex); Apple Inc. v. Koss Corporation, Case No. 4:20-cv-05504 (N.D.
Cal.); Koss Corporation v. Apple Inc., Case No. 6-20-cv-00665 (W.D.
Tex.); and Koss Corporation v. Skullcandy, Inc., Case No. 2:21-cv-00203
(D. Utah). Paper 9, 1.
                         2. United States Applications
      Patent Owner lists the following as Related Applications to which the
’982 patent claims priority: PCT application No. PCT/US2009/039754,
filed April 7, 2009 (the “PCT Application”) and provisional application
Serial No. 61/123,265, filed April 8, 2008 (the “Provisional Application”).
Paper 9, 1.




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                    3. Inter Partes Review Proceedings
      Patent Owner lists the following inter partes review proceedings1
challenging patents that claim priority to the PCT Application and the
Provisional Application:
      Bose Corporation v. Koss Corporation, IPR2021-00297, filed
December 7, 2020, challenging US Patent 10,368,155 B2;
      Apple Inc. v. Koss Corporation, IPR2021-00305, filed December 15,
2020, challenging US Patent 10,506,325 B1;
      Apple Inc. v. Koss Corporation, IPR2021-00546, filed February 22,
2021, challenging US Patent 10,206,025 B2;
       Apple Inc. v. Koss Corporation, IPR2021-00592, filed March 2,
2021, challenging US Patent 10,469,934 B2;
      Apple Inc. v. Koss Corporation, IPR2021-00612, filed March 3,
2021, challenging U.S. Patent 10,206,025;
      Apple Inc. v. Koss Corporation, IPR2021-00626, filed March 17,
2021, challenging US Patent 10,206,025 B2;
      Bose Corporation v. Koss Corporation, IPR2021-00680, filed March
17, 2021, challenging US Patent 10,469,934 B2;
      Apple Inc. v. Koss Corporation, IPR2021-00679, filed March 22,
2021, challenging US Patent 10,506,325 B1; and




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 Apple Inc. v. Koss Corporation, IPR2021-00255, filed November 25,
2020, and Apple Inc. v. Koss Corporation, IPR2021-00600, filed March 7,
2021, both challenging US Patent 10,298,451 B1, and Apple Inc. v. Koss
Corporation, IPR2021-00686, filed March 22, 2021, challenging US Patent
10,491,982 B1, are also pending inter partes reviews between these same
parties.

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         Apple Inc. v. Koss Corporation, IPR2021-00693, filed March 23,
2021, challenging US Patent 10,469,934 B2.
Paper 9. 1–2.
                                C. The ’982 Patent
         The application for the ’982 patent’s earliest priority dates are April
7, 2009, to the PCT Application and April 8, 20082, to the Provisional
Application. Ex. 1001, codes (60), (63). See Section II.B.2 above.
                            1. Background Technology
         The ’982 patent explains that wired headphones interconnecting
headphones and a data storage unit are “cumbersome.” Ex. 1001, 1:56–59.
“Recently, cordless headphones that connect wirelessly via IEEE 802.11 to
a WLAN-ready laptop or personal computer (PC) have been proposed, but
“such headphones are also quite large and not in-ear type phones.” Id. at
1:66–2:4.
                    2. The ’982 Patent’s Wireless Earphones
         The ’982 patent describes and claims “a wireless earphone that
receives streaming audio data via ad hoc wireless networks and
infrastructure wireless networks, and that transitions seamlessly between
wireless networks.” Ex. 1001, 2:64–66. “[T]he earphone may transition
automatically from an ad hoc wireless network to an infrastructure wireless
network, without user intervention.” Id. at 3:8–11. The ’982 patent defines
“ad hoc wireless network” as “a network where two . . . wireless-capable
devices, such as the earphone and a data source, communicate directly and
wirelessly, without using an access point.” Id. at 3:8–14. The ’982 patent
defines “infrastructure wireless network” as “a wireless network that uses


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    The priority date is not in dispute. See Pet. 2.

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one or more access points to allow a wireless-capable device, such as the
wireless earphone, to connect to a computer network, such as a LAN or
WAN (including the Internet).” Id. at 3:14–19.
      Two discrete wireless earphones are described, each having a body
and an “ear canal portion for insertion into the canal of the user of the
earphone.” Id. at 3:25–27, 3:54–56. Figure 2A of the ’982 patent is
reproduced below.




 Figure 2A illustrates one of the communication modes for the wireless
                                earphone.

Ex. 1001, 2:36–38. Figure 2A illustrates a wireless network adapter 22
connected to a data source 20 in communication with earphone 10 over ad
hoc wireless network 24. Id. at 4:33–37. The earphone has a transceiver
circuit to communicate wirelessly with a data source. Id. at 4:35–37. The
data source may be a digital audio player (DAP). Id. at 4:39–40. The DAP
transmits audio wirelessly to earphone(s) via an ad hoc network if the DAP
and earphone(s) are “in range” of that network. Id. at 4:63–65. “When in
range, the data source 20 may communicate with the earphone 10 via the ad


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hoc wireless network 24 using any suitable wireless communication
protocol, including Wi-Fi (e.g., IEEE 802.lla/b/g/n), WiMAX (IEEE
802.16), Bluetooth” and other communication protocols. Id. at 4:63–5:1.
      Figure 2B of the ’982 patent is reproduced below.




   Figure 2B illustrates another of the communication modes for the
                           wireless earphone.

Ex. 1001, 2:36–38. The data source and wireless network adapter may
transmit digital audio wirelessly through an access point 32 over “an
infrastructure wireless network (such as a wireless LAN (WLAN) 30”. Id.
at 4:34–40. “[T]he wireless network adapter 22 may comprise a wireless
network interface card (WNIC) or other suitable transceiver that plugs into
a USB port or other port or jack of the data source 20 (such as a TRS
connector) to stream data, e.g., digital audio files, via a wireless network


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(e.g., the ad hoc wireless network 24 or an infrastructure wireless
network).” Id. at 4:50–56.
                             D. Illustrative Claim
      Claims 1–5 and 14–20 of the ’982 patent are challenged. Pet. 1–2,
18–85. Claim 1 is the only independent claim challenged. Claims 2–5 and
14–20 depend directly or indirectly from claim 1. All claims are directed to
a “system.” Claim 1 is reproduced below as illustrative.
      [1.P]3 1. A system comprising:

      [1.a] headphones comprising a pair of first and second wireless
            earphones to be worn simultaneously by a user,

      [1.b] wherein the first and second earphones are separate such
            that when the headphones are worn by the user, the first
            and second earphones are not physically connected,

      [1.c] wherein each of the first and second earphones
            comprises:

             [1.c.i]   a body portion that comprises:

                [1.c.i.A] a wireless communication circuit for
                          receiving and transmitting wireless signals;

                [1.c.i.B] a processor circuit in communication with
                          the wireless communication circuit; and

                [1.c.i.C] an ear canal portion that is inserted into an
                          ear of the user when worn by the user; and



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  For purposes of this Decision, we follow Petitioner’s format where each
claim is identified by claim number followed by a letter or combination of
letters and Roman numerals for each limitation. See Pet. 32–53 (limitations
1.P– 1.d).

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                [1.c.i.D] at least one acoustic transducer connected to
                          the processor circuit; and

            [1.c.ii]   an elongated portion4 that extends away from
                       the body portion such that the elongated portion
                       extends downwardly when the ear canal portion
                       is inserted in the ear of the user;

            [1.c.iii] a microphone connected to the processor circuit
                      and for picking up utterances of a user of the
                      headphones;

            [1.c.iv] an antenna connected to            the   wireless
                     communication circuit; and

            [1.c.v]    a rechargeable power source; and

      [1.d] a mobile, digital audio player that stores digital audio
            content and that comprises a wireless transceiver for
            transmitting digital audio content to the headphones via
            Bluetooth wireless communication links, such that each
            earphone receives and plays audio content received
            wirelessly via the Bluetooth wireless communication links
            from the mobile, digital audio player.

Ex. 1001, 18:8–40.
                           E. Evidence of Record
      This proceeding relies on the following prior art references and
expert testimony:
      Rosener, US 2008/0076489 A1, published Mar. 27, 2008 (Ex.
1004);




4
 This limitation recites “elongated portion,” which does not appear in the
Specification.

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      Hankey, US 2008/166001 A1, published July 10, 2008 (Ex.
1005);
      Dyer, US 8,031,900 B2, issued Oct. 4, 2001 (Ex. 1006);
      Huddart, US 7,627,289 B2, issued Dec. 1, 2009 (Ex. 1007);
      Hankey Provisional,5 US 60/879,177, filed Jan. 6, 2007 (Ex.
1008);
      Price, US 2006/0026304 A1, published Feb. 2, 2006 (Ex.
1009);
      Paulson, US 7,551,940 B2, issued June 23, 2009 (Ex. 1010);
      Marek, US 5,371,454, issued Dec. 6, 1994 (Ex. 1011);
      Vanderelli, US 7,027,311 B2, issued Apr. 11, 2006 (Ex. 1012);
and
      Haupt, EP 2006/042749 A2, issued Apr. 27, 2006 (Ex. 1020,
including English translation).
      Petitioner also relies on the Declaration of Dr. Jeremy Cooperstock
(Ex. 1003, “Cooperstock Declaration”) and the Supplemental Declaration
of Dr. Jeremy Cooperstock (Ex. 1024, “Cooperstock Supplemental
Declaration”).
      Patent Owner relies on the Declaration of Joseph C. McAlexander III
(Ex. 2038, “McAlexander Declaration”) and the Declaration of Nicholas S.
Blair (Ex. 2039, “Blair Declaration”).
                    F. Prior Art and Asserted Grounds
      Petitioner asserts that claims 1–5 and 14–20 would have been
unpatentable on the following grounds (Pet. 1–2, 18–85):


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 Hankey Provisional is a US provisional application related to Hankey.
See Ex. 1005 code (60).

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     Claim(s)
                        35 U.S.C. §6              Reference(s)/Basis
    Challenged
                                           Rosener, Hankey or Rosener,
     1, 2, 18–20             103
                                                   Hankey, Dyer
                                         Rosener, Hankey, Haupt or Rosener,
         3–5                 103
                                               Hankey, Dyer, Haupt
                                          Rosener, Hankey, Price or Rosener,
         14                  103
                                                Hankey, Dyer, Price
                                            Rosener, Hankey, Paulson or
         15                  103
                                           Rosener, Hankey, Dyer, Paulson
                                            Rosener, Hankey, Huddart or
       16–17                 103
                                           Rosener, Hankey, Dyer, Huddart
                                             Rosener, Hankey, Huddart,
         17                  103           Vanderelli or Rosener, Hankey,
                                             Dyer, Huddart, Vanderelli

                                III. ANALYSIS
                     A. Level of Ordinary Skill in the Art
      Petitioner’s expert Dr. Cooperstock, testifies that, based on his
experience and the references used to challenge the ’982 patent, a person of
ordinary skill in the art at the time of the critical date for the ’982 patent
      would have had at least a Bachelor’s Degree in an academic area
      emphasizing electrical engineering, computer science, or a
      similar discipline, and at least two years of experience in wireless
      communications across short distance or local area networks.
      Superior education could compensate for a deficiency in work
      experience, and vice-versa.


6
 The Leahy-Smith America Invents Act (“AIA”), Pub. L. No. 112-29, 125
Stat. 284, 287–88 (2011), amended 35 U.S.C. §§ 102 and 103, effective
March 16, 2013. Because the application that resulted in the ’982 patent
has an effective filing date before this date, the pre-AIA versions of §§ 102
and 103 apply.

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Ex. 1003 ¶ 30. This level of skill was adopted in the Institution Decision.
Inst. Dec. 33. Patent Owner agrees we “should maintain this standard for
the proceeding as Patent Owner agrees that it is an appropriate standard.”
PO Resp. 5–6 (citing Ex. 2038 ¶ 20). At the Final Hearing, all parties
agreed the above level of skill is the correct one for this proceeding. Tr.
73:1–74:13.
      Dr. Cooperstock’s proposal is consistent with the level of ordinary
skill in the art reflected by the prior art. See Okajima v. Bourdeau, 261 F.3d
1350, 1355 (Fed. Cir. 2001); In re GPAC Inc., 57 F.3d 1573, 1579 (Fed.
Cir. 1995). As per the agreement of the parties, including their experts, and
consistent with the prior art, we adopt the above level of ordinary skill for
this Decision.
                           B. Claim Construction
      The Petition was accorded a filing date of January 4, 2021. Paper 5.
For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b), including
construing the claim in accordance with the ordinary and customary
meaning of such claim as understood by one of ordinary skill in the art and
the prosecution history pertaining to the patent. 37 C.F.R. § 42.100 (2019).
Thus, we apply the claim construction standard as set forth in Phillips v.
AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005) (en banc).
      Petitioner cites 37 C.F.R. § 42.100, asserts construction is
unnecessary, and does not propose any term for express construction in the
claim construction section of the Petition. Pet. 18. Notwithstanding the
preceding, Petitioner raises a construction issue with respect to claim 17’s



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recitation of “passive, wireless rechargeable power source.” Pet. 80–81.
We preliminarily agreed with Petitioner’s proposed construction and
determined that a “passive” power source 102 “may comprise capacitors
passively charged with RF radiation.” Inst. Dec. 34 (citing Pet. 80–81
(quoting Ex. 1001, 7:7–9)7). Patent Owner does not dispute our preliminary
construction or identify any other claim term for express construction. See
generally PO Resp.
      The papers filed since institution do not raise a dispute regarding
“passive, wireless rechargeable power source.” For completeness of the
record, we maintain our preliminary construction of “passive, wireless
rechargeable power source.” We also determine construction is
unnecessary for any other claim term in order to resolve the dispute. See
Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir.
1999) (“[O]nly those terms need be construed that are in controversy, and
only to the extent necessary to resolve the controversy.”). On all other
claim terms we proceeded based on the plain and ordinary meaning as
understood by a person of ordinary skill in the art. Inst. Dec. 34.
                     C. Legal Standard for Obviousness
      A patent claim is invalid as obvious if the differences between the
claimed subject matter and the prior art are “such that the subject matter as
a whole would have been obvious at the time the invention was made to a
person having ordinary skill in the art to which said subject matter
pertains.” 35 U.S.C. § 103(a).
      The ultimate determination of obviousness is a question of law,
      but that determination is based on underlying factual

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 The Cooperstock Declaration does not provide a construction for any
claim term. See Ex. 1003 ¶ 29.

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      findings. . . . The underlying factual findings include (1) “the
      scope and content of the prior art,” (2) “differences between the
      prior art and the claims at issue,” (3) “the level of ordinary skill
      in the pertinent art,” and (4) the presence of secondary
      considerations of nonobviousness such “as commercial success,
      long felt but unsolved needs, failure of others,” and unexpected
      results.

In re Nuvasive, Inc., 842 F.3d 1376, 1381 (Fed. Cir. 2016) (citing inter alia,
Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966)).
      “To satisfy its burden of proving obviousness, a petitioner cannot
employ mere conclusory statements. The petitioner must instead articulate
specific reasoning, based on evidence of record, to support the legal
conclusion of obviousness.” In re Magnum Oil Tools Int’l, Ltd., 829 F.3d
1364, 1380 (Fed. Cir. 2016). Furthermore, in assessing the prior art, the
Board must consider whether a person of ordinary skill would have been
motivated to combine the prior art to achieve the claimed invention.
Nuvasive, 842 F.3d at 1381.
      As the Federal Circuit found, in quoting from the Supreme Court’s
decision in KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 418–419 (2007),
      because inventions in most, if not all, instances rely upon
      building blocks long since uncovered, and claimed discoveries
      almost of necessity will be combinations of what, in some sense,
      is already known,” “it can be important to identify a reason that
      would have prompted a person of ordinary skill in the relevant
      field to combine the elements in the way the claimed new
      invention does.”

Personal Web Technologies, LLC v. Apple, Inc., 848 F.3d 987, 991–92
(Fed. Cir. 2017).




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    D. Obviousness of Claims 1–2 and 18–20 over Rosener and Hankey or
                         Rosener, Hankey, and Dyer8
         Petitioner alleges claims 1–2 and 18–20 would have been obvious
over Rosener and Hankey or Rosener, Hankey, and Dyer. Pet. 1, 18–58.
Petitioner also relies on the Cooperstock Declaration. Ex. 1003 ¶¶ 16–57,
59–91.
                           1. Rosener (Ex. 1004)
       Rosener relates to wireless communication between an external data
or audio device, like a cell phone or PDA, MP3 or CD player, radio
personal computer or game console, and first and second earphones. Ex.
1004 ¶¶ 1, 30. Rosener explains that conventional wireless earphones came
in different designs, each with “its own unique benefits and drawbacks.”
Id. ¶¶ 5–10, Figs. 2–4. Rosener focuses on wireless “earbuds.” Id. at Abs.,
¶¶ 11, 30, Fig. 5.
       Each earbud is designed to fit into the concha of the pinna of the
user’s ear, and includes a housing containing a speaker, a radio-frequency
(RF) transceiver, and a battery. Ex. 1004 ¶ 30. The transceiver of each is
“configured to receive data signals over one or more single-access wireless
links or over a multi-access wireless link.” Id. ¶ 11. The Bluetooth
industrial specification (IEEE 802.15.1 standard) is one communication
protocol disclosed that allows each of the earphones to communicate with
the external data or audio data devices. Id. ¶¶ 4, 35.




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  We have analyzed commercial success for all challenges. See Section
III.J below.

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      Figure 9, reproduced below, illustrates some of the components of
Rosener’s headphones:




               Figure 9 is a block diagram of an RF transceiver.
Ex. 1004 ¶¶ 24, 49. As shown above, RF transceiver 900 includes RF
transmitter portion 902, RF receiver portion 904, antenna 906, and duplexer
908. Id. ¶ 49. A/D converter 910 receives analog baseband signals from
RF transceiver portion 904, digitizes the signals, and sends them to
baseband processor 914, which, along with signal conditioning circuit 916,
processes the signals into a form suitable to drive data sink (speaker) 918.
Id. Baseband processor 914 receives data from data source 922 (e.g., a
microphone) via signal conditioning circuit 920 and provides the data to RF
transmitter portion 902 for transmission via antenna 906. Id. 1650.




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                              2. Hankey9 (Ex. 1005)
      Hankey describes a headset within “a small compact unit.” Ex. 1005
¶¶ 93, 103. The techniques disclosed in Hankey include integrating
electronic components/assemblies (e.g., speaker, antenna) into the limited
volume of a small headset, by dividing the headset’s electronic
components/assemblies “into small multiple [groups of] components that
can be positioned at different locations (discretely) within the headset.” Id.
¶ 98. Similarly, “electronic assemblies that are partially flexible or
bendable such that the assemblies can be folded into a small compact form
in order to fit inside tightly spaced internal volumes.” Id. ¶ 99.
      Hankey divides the headset’s electronic components/assemblies
between the earbud and the primary housing. Ex. 1005 ¶¶ 130–131. For
example, the processor and speaker may be placed inside the earbud while
the microphone “can be electrically coupled to primary housing flexible
circuit board.” Id. ¶ 131.
      Figures 10A and 10B of Hankey are reproduced below.




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 In describing Hankey, Petitioner also cites to Ex. 1008, the Hankey
Provisional. Pet. 21; Ex. 1005, code (60); Section II.E above. Petitioner
cites to the Hankey Provisional to prove “Hankey is entitled to the benefit
of its provisional filing date, i.e., the January 6, 2007 filing date.” Pet. 3
(quoting Ex. 1003 ¶ 43; citing Ex. 1008 ¶¶ 89–90, 208–212, Figs 1A, 40A,
41–44). We cite only to Hankey, not the Hankey Provisional. Patent
Owner does not dispute that Hankey is prior art and we find the filing date
of the Hankey Provisional is the priority date for Hankey.


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    Figures l0A and 10B are perspective views of Hankey’s headset.
Ex. 1005 ¶ 143. Figure 10A shows headset 1000 for enclosing “electronic
and other elements of the headset.” Id. ¶ 144. The headset “can include
earbud 1020, neck 1030, primary housing 1010, antenna cap 1011 and
connector 1040.” Id. “Earbud 1020 can include perforations (e.g., acoustic
ports) 1021 and 1022 for allowing air to pass into and out of the earbud
1020.” Id. “Front port 1021 can allow sound waves from a receiver located
in earbud 1020 to reach a user’s ear and/or the outside environment.” Id.
Button 1012 can control the headset. Id. ¶ 145.


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                             3. Dyer (Ex. 1006)
      Dyer describes a “canalphone” type including an eartip that fits
within a user’s ear canal. Ex. 1006, 3:4–6, 4:37–39, Fig. 1. The eartip is
“attachable to a standard generic earphone.” Id. at 1:10–11, 2:21–24.
      Dyer’s Figure 1 is reproduced below.




       Figure 1 is a cross-sectional view of a generic earphone in
                      accordance with the prior art.

Ex. 1006, 2:48–49. Figure 1 illustrates an example of “canalphone” 100
that includes a sound delivery member 111 with an eartip 121 attached to an
end portion of it. Id. at 3:4–6, 3:26–28, 4:4–14. Sound delivery member
111 is attached to earphone enclosure 115 that protects “any required
earphone circuitry” of canalphone 100 from damage. Id. at 3:57–66.
Intermediary member 111 includes a sound delivery tube 113 that delivers
audio from circuitries in enclosure 115 to eartip 121. Id. at 3:22–25.




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                                  4. Claim 1
      Patent Owner disputes that a person of ordinary skill, as determined
above in Section III.A, would have had sufficient skill to combine Rosener
and Hankey with a reasonable expectation of success. PO Resp. 12–21.
Patent Owner disputes the reasons for combining Rosener, Hankey, and
Dyer. Id. at 34–40. Patent Owner also disputes that the Rosener and
Hankey or Rosener, Hankey, and Dyer combinations teach two wireless
earphones, each having a microphone. Id. at 21–34.
 a. Rosener and Hankey Reasons for the Combination and Expectation of
                                Success
      Petitioner’s reasons for combining Rosener and Hankey start with
Rosener’s teaching of “providing ‘high-quality stereo,’ i.e., binaural,
functionality.” Pet. 24 (citing Ex. 1004 ¶¶ 30, 3–8, Fig. 5; Ex. 1003 ¶ 44).
Petitioner relies on Rosener as teaching two “earpieces/earphones” 502 and
504 in wireless communication with an “audio source.” Id. at 25 (citing Ex.
1004, Fig. 5; see also id. ¶ 30 (describing Fig. 5)). Petitioner relies on
Hankey for details of the form factor for the earphones 502 and 505, thus
implementing the combination of Rosener’s earphones and Hankey’s
“small compact earpiece[s].”10 Pet. 25–27 (citing Ex. 1003 ¶¶ 45, 47).
Petitioner argues “Hankey considers the size and weight of prior art
headsets as a ‘key issue’ that causes an uncomfortable fit of the headsets on
a user’s ear.” Id. at 26 (citing Ex. 1005 ¶ 11; Ex. 100811 ¶ 3). Petitioner



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   Hankey uses the term “headset” but Petitioner uses “earpiece” for
“consistency and to avoid confusion.” See Pet. 24, n.6. We find that
convention reasonable and adopt it here.
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   Sanford, US Provisional Application No. 60/879,177, filed Jan. 6, 2007
(Ex. 1008). Provisional application for Hankey. See Ex. 1005 code (60).

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argues that “Hankey discloses a compact earpiece capable of
communicating with external audio devices wirelessly.” Id. (citing Pet. 22–
23 (describing Hankey)).
      Petitioner argues Hankey “provides techniques to package electronics
within ‘a small compact unit’ to alleviate the size and shape hassles of
conventional headsets.” Pet. 26 (citing Ex. 1005 ¶¶ 92–98; Ex. 1008 ¶¶ 93,
144–150). Petitioner alleges a person of ordinary skill in the art would have
been motivated to arrange the components of Hankey in a “small, compact
form factor” as shown in Figure 5 of Rosener. Id. (citing Ex. 1003 ¶ 46).
Petitioner provides a side-by-side comparison of Rosener’s Figure 5 as
compared to Hankey’s Figure 10A, which is reproduced below.




         Petitioners compare shows Rosener’s Figure 5 on the left and
                    Hankey’s Figure 10A on the right.

Pet. 27. Petitioner alleges a person of ordinary skill in the art “would have
recognized the similarities between the earpieces shown in Hankey’s FIGs.
5 or 10A and earphones 502, 504 shown in Rosener’s FIG. 5, and would
have been motivated to use Hankey’s component arrangement techniques to
implement internal components and external features of earphones 502,
504.” Id. at 27–28 (citing Ex. 1003 ¶ 48).
      Petitioner alleges Rosener’s earphones 502, 504 are “physically and
electrically” separate and a person of ordinary skill in the art “would have

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recognized that Hankey’s techniques are readily applicable to Rosener’s
earphones 502, 504.” Pet. 28 (citing Ex. 1004 ¶ 30). Dr. Cooperstock is
relied on for his testimony that latency compensation processing would
“enable stereo play when both earphones are being simultaneously used.”
Id. at 28–29 (citing Ex. 1004 ¶¶ 11, 39–42; Ex. 1003 ¶ 49).
      We find that Petitioner has shown sufficiently that a person of
ordinary skill in the art would have had reason to combine Hankey’s “small
form factors” with Rosener’s earphones. Pet. 25–29. Patent Owner argues
stereo input by the microphones to the earphones is an insufficient reason
for the combination and the Cooperstock Deposition testimony supporting it
is speculative. PO Resp. 32 (citing Ex. 2037, 104:12–18). Mr.
McAlexander testifies Rosener is intended for “communication purposes”
and not music. Ex. 2038 ¶ 71. Mr. McAlexander testifies that Rosener and
Hankey would be for communication and not “capturing high-quality,
stereo audio recordings.” Ex. 2038 ¶ 71; see also PO Resp. 32–33 (making
same argument).
      Patent Owner also argues a second microphone (see Section III.D.4.c
below, analyzing the “microphone limitation”) would “add significant
complexity” to the combination. PO Resp. 33 (citing Ex. 2038 ¶ 73). The
argument is based on the earphones being physically spaced apart, along
with the associated microphone, resulting in different signal strengths. Id.
at 34 (citing Ex. 2038 ¶ 74). Thus, there is a need to determine which
signal is stronger for communication with the external device. Id. at 33–34
(citing Ex. 2038 ¶ 74). According to Patent Owner, the need to
accommodate the difference in signal strength requires additional signal
processing and complexity. Id. at 34 (citing Ex. 2038 ¶ 74). Patent Owner



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concludes by arguing a person of ordinary skill in the art “would not modify
the Rosener-Hankey combination (or Rosener-Hankey-Dyer combination)
to include a microphone in each earphone.” Id. (emphasis omitted).
      We adopt as our findings Petitioner’s argument and evidence
summarized above. We find that the addition of stereo audio reception is a
reason to combine Hankey with Rosener. Rosener discloses “high quality
stereo sound” with two separate earpieces/earphones. Ex. 1004 ¶¶ 10–11
(“left-ear and right-ear circum-aural over-the-ear headphones, stereo
speakers, speakers for a surround sound system, etc.”). “[H]igh-quality
stereo sound” is an advantage over the prior art in “allowing each of the two
earpieces/earphones to be ‘physically and electrically separated’ from the
other.” Ex. 1003 ¶ 44 n.2 (citing Ex. 1004 ¶¶ 10–11).
      The McAlexander testimony that Rosener’s microphone would be
understood by a person of ordinary skill in the art as intended “exclusively
for communication purposes,” and not “stereo audio recordings,” is not
persuasive. Ex. 2038 ¶ 71. Why the alleged distinction makes a difference
is not explained. The ’982 patent does not discuss the difference in the
context of the written description nor is it part of any claim. Indeed, Mr.
McAlexander points to recent smartphone products, not the ’982 patent, for
their teachings of “using multiple microphones.” Id. (examples including
Apple XSW and XR).
      In connection with the challenge to claim 1 based on Rosener and
Hankey or Rosener, Hankey, and Dyer (this combination is analyzed in
Section III.D.4.b below), Patent Owner makes several arguments that a
person of ordinary skill would not have a level of skill sufficient to combine
the references as Petitioner proposes. PO Resp. 1, 12–21; see also Pet. 24–



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31 (reasons for the combination). More specifically, Patent Owner argues
that Dr. Cooperstock’s “experience [is] superior” to a person of ordinary
skill in the art yet he does not understand the operation of the prior art,
highlighting the “complexity of designing wireless earphones.” PO Resp.
1; see also id. at 14–16 (citing Ex. 2037, 37:17–43:17 (Dr. Cooperstock
“could not explain how the speaker elements disclosed in Rosener operate
or even how they compare to one another.”)).
      Patent Owner argues a person of ordinary skill in the art “would not
necessarily have any skills or knowledge specific to designing the acoustic
transducer for a wireless earphone, fitting all of the components into a small
form factor earphone, or suitably powering a wireless earphone given the
safety and size constraints.” PO Resp. 6–7 (citing Ex. 2038 ¶ 20); see also
id. at 16 (alleging Dr. Cooperstock, has skills superior to a person of
ordinary skill in the art, “could not explain how the speaker elements
disclosed in Rosener operate” (citing Ex. 2037, 37:17–43:17)). Patent
Owner argues a person of ordinary skill would need to overcome problems
relating to the design and construction of “operative wireless earphones,”
including sound quality and “form factor12” considerations. Id. at 16 (citing
Ex. 2038 ¶ 50).
      Because of these alleged complexities as compared to the relatively
low level of skill applicable here, Patent Owner argues generally that “it
would not have been obvious to a [person of ordinary skill in the art] . . . to
make the combinations proposed by Petitioner for claim 1.” PO Resp. 18
(citing Ex. 2038 ¶ 56). Patent Owner contends specifically that Dr.


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  We find “form factor” refers to the physical design of the “earphone.”
See, e.g., Ex. 1003 ¶ 45; Ex. 2038 ¶ 20.

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Cooperstock could not discern a difference between separately numbered
“DATA SOURCE” 618 in Figure 6 and “DATA SOURCE” 922 in Figure 9
of Rosener. Id. at 19 (citing Ex. 2037, 102:21–103, 12 (“they’re referring
to the same data source”)). Patent Owner argues the described “DATA
SOURCE[S]” 618 and 922 are different. Id. (citing Ex. 2037, 102:10–18
(DATA SOURCE 922 could be a “sensor or a microphone.”)). According
to Patent Owner the “DATA SOURCE 618,” which Rosener explains “may
be provided from a digital audio data output of an MP3 player, CD player,
PC, PDA, mobile telephone, game console, component of an entertainment
system, etc.” Id. at 19–20 (citing Ex. 2038 ¶ 68 (quoting Ex. 1004 ¶ 33)).
      Patent Owner argues that Dr. Cooperstock has a skill level beyond
that of the person of ordinary skill and cannot “ascertain whether data
source 922 is a sensor/microphone incorporated into a wireless earphone or
is a digital or audio data source like an MP3 player that is external to the
wireless earphone.” PO Resp. 19. As a result of this complexity, as
evidenced by Dr. Cooperstock’s alleged lack of understanding, Patent
Owner alleges the person of ordinary skill “would not have a reasonable
expectation of success implementing Rosener’s headset within the compact
form factor of Hankey.” Id. at 19–20 (citing Ex. 2038 ¶ 68). Patent Owner
also cites Dr. Cooperstock’s inability to identify a “suitable material for the
flexible electrical connector” as disclosed in Hankey. PO Resp. 20 (citing
Ex. 2037, 67:1–68:4).
      We agree with Petitioner and find that Rosener’s Figure 5 expressly
discloses “each of earphones 502, 504 is inserted into an ear of the user
when worn by the user. Since ‘[e]ach of the first and second earphones
502, 504 may be . . . a canalphone, which can be fitted within the ear canal



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of the user’s ear,’ each of the earphones has an ear canal portion.” Pet. 44
(citing Ex. 1003 ¶¶ 34, 109; Ex. 1004 ¶ 30) (alteration in original). Patent
Owner’s complexity arguments are predicated on bodily incorporation.
That is not the test for obviousness. As noted below, the test is what the
combined teachings of the references would have suggested to those of
ordinary skill in the art. In re Keller, 642 F.2d 413, 425 (C.C.P.A. 1981).
      We agree with Petitioner and find that design and implementation
details of the headphones would have been well-known, i.e., “suggested to
those of ordinary skill in the art.” Reply 9. As Petitioner argues
specifically, a person of ordinary skill in the art would have understood how
to make the claimed headphones. Id. (citing Ex. 1024 ¶ 13); see also Ex.
2037, 39:11–17 (Dr. Cooperstock Deposition testimony regarding
availability of “many references” to an engineer regarding speaker
technology).
      We also agree with Petitioner and find that “the properties,
characteristics, and use of audio transducers (the transducer types disclosed
in Rosener) were all well-known by the Critical Date.” Reply 10 (citing Ex.
2037, 39:6–17, 38:3–9; Ex. 1025, 182:13–194:4 (Mr. McAlexander
deposition testimony that different speakers have different transducers and
different applications)). We find that materials for flexible electrical
connectors were also well-known by the Critical Date. See Reply 12 (citing
Ex. 1025, 199:15–201:4 (the ’982 patent disclosure “is sufficient to enable a
person of ordinary skill in the art to make a set of headphones as claimed in
the patent”)). Dr. Cooperstock cites to prior art on flexible wiring circuit




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boards. Ex. 1024 ¶ 22 (identifying Exs. 102713, 102814, and 102915 as prior
art references disclosing exemplary materials). For example, Exhibit 1027
discloses “[a] flexible wiring board.” Ex. 1027, Abs. We find that if a
person of ordinary skill in the art could make the invention described and
claimed in the ’982 patent, the combination would likewise be made based
on the same level of disclosure in Rosener. In re Epstein, 32 F.3d 1559,
1568 (Fed. Cir. 1994).
       In sum, Patent Owner’s argument is that if the expert cannot succeed
in making the combination then neither can the person of ordinary skill in
the art.
       The test for obviousness is not whether the features of a
       secondary reference may be bodily incorporated into the
       structure of the primary reference; nor is it that the claimed
       invention must be expressly suggested in any one or all of the
       references. Rather, the test is what the combined teachings of
       the references would have suggested to those of ordinary skill in
       the art.

In re Keller, 642 F.2d at 425.
       The claims do not include limitations regarding design and
operability. Our inquiry is what the combined teachings of the references
would have suggested to those of ordinary skill in the art who
       would have had at least a Bachelor’s Degree in an academic area
       emphasizing electrical engineering, computer science, or a
       similar discipline, and at least two years of experience in wireless
       communications across short distance or local area networks.




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   Sera, US Patent No. 5,733,598, issued Mar. 31, 1998 (Ex. 1027).
14
   Lee, US Patent No. 7,281,328 B2, issued Oct. 16, 2007 (Ex. 1028).
15
   Myoung, US Patent No. 7,453,045 B2, issued Nov. 18, 2008 (Ex. 1029).

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Section III.A above. We are not persuaded that the design and operational
issues raised by Patent Owner would have precluded a person of ordinary
skill in the art from understanding the references and any differences
between the references and claim 1. Patent Owner does not allege the
references teach away from the combination.
      Based on the preceding findings, including Petitioner’s argument and
evidence summarized above, which we adopt, we determine that a person of
ordinary skill in the art would have had a reasonable expectation of success
in making the asserted combination of Rosener and Hankey.
             b. Rosener, Hankey, and Dyer Reasons for Combination
      To the extent any structure is argued as necessary by Patent Owner,
Petitioner cites to Dyer.16 Pet. 29 (citing Ex. 1003 ¶ 54). Petitioner alleges
motivation to add Dyer based on Dyer and Rosener both describing a
“‘canal phone’ with an element that extends into the user’s ear canal.” Id.
at 30 (citing Ex. 1003 ¶ 54). This combination is illustrated by an
annotation showing the Rosener, Hankey, and Dyer canalphone compared
to Dyer’s canalphone, which is reproduced below.




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  Petitioner adds Dyer as an alternative to the combination of Rosener and
Hankey contending “Rosener alone sufficiently shows . . . insertion of a
canalphone into a user’s ear.” Reply 14–15.

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Comparison on the left of the canalphone combining Rosener, Hankey,
       and Dyer and on the right part of Dyer’s canalphone.

Pet. 31. Referring to the above annotation, Petitioner explains that a person
of ordinary skill in the art “would employ Hankey’s techniques of arranging
circuitry within small housings to configure the supporting circuitry within
sub-enclosure 115 of the Rosener-Hankey-Dyer canalphone.” Id. (citing
Ex. 1005 ¶¶ 202–204, Figs. 20A–C). Petitioner further explains “Dyer’s
acoustic elements, including its sound delivery tube 113 in intermediary
member 111, would deliver sound from the circuitries in sub-enclosure 115
to eartip 121.” Id. (citing Ex. 1005 ¶¶ 202–204, Figs. 20A–C; Ex. 1003
¶ 57). An illustration from page 32 of the Petition is reproduced below.




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 Combination of Rosener Figure 5 and annotation of Rosener, Hankey
            and Dyer (reproduced immediately above).

The illustration above shows a one for one substitution of the Rosener,
Hankey, and Dyer canalphone for the earpieces of the Rosener, showing the
“Rosener-Hankey-Dyer system.” Id. at 32.
      Patent Owner argues the addition of Dyer’s canalphone to the
Rosener and Hankey combination “would not stay in a user’s ear” and
would cause discomfort “because the ‘canalphone does not include an
adequate securing mechanism, and the ‘body portion’ thereof forms an
extended cantilevered arm between the in-ear portion of the canalphone and
the primary housing 1010, which would generate a significant torque at the
in-ear portion from the offset weight of the primary housing.” PO Resp. 35
(citing Ex. 2039 (Blair Declaration) ¶ 20). Mr. Blair testifies to significant
experience designing earphones and headphones. Ex. 2039 ¶ 4.
      Relying on the Blair Declaration, Patent Owner argues how each of
Rosener, Hankey and Dyer are supported in the ear. PO Resp. 37 (citing
Ex. 2039 ¶¶ 10, 12–13). Patent Owner argues Rosener and Hankey are kept
in place by the weight of the earbud hanging in the “intratragal notch” of
the ear. Id. at 36–37 (citing Ex. 2039 ¶¶ 10, 12). Patent Owner argues

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Dyer relies on a different method of support where the “earphone 100 is
secured within a user’s ear by ’a seal between the eartip 121 and the user’s
ear canal.’” Id. at 37 (citing Ex. 2039 ¶ 13). Patent Owner alleges the
failure to stay in the user’s ear argument would worsen the performance of
the earbud and motivation to make the combination would be absent. Id. at
39 (citing Ex. 2038 ¶ 62).
      Patent Owner criticizes Dr. Cooperstock’s testimony, arguing the
“entire ‘body portion’ in Cooperstock’s Rosener-Hankey-Dyer canalphone
would not fit in a user’s ear because the ‘body portion’ defines a straight
structure that ‘does not account for the ear canal’s geometry’ and ‘does not
complement the shape of the user’s ear canal.’” PO Resp. 37–38 (citing Ex.
1003 ¶ 98 (the body portion of Rosener’s earphones “is inserted into an ear
of user”); Ex. 2039 ¶ 16 (“Cooperstock’s ‘body portion’ does not account
for the ear canal’s geometry.”)). Patent Owner also asserts that the securing
method where the “body portion” of Rosener is inserted into the ear would
not be secure. Id. at 39 (citing Ex. 2039 ¶ 18). Patent Owner concludes
that “performance of the earbud” is worse in the Rosener, Hankey, and
Dyer combination and a person of ordinary skill in the art would not be
motivated to make such a modification. Id. (citing Ex. 2038 ¶¶ 57–62).
      Hankey discloses small earpieces capable of communicating with
external audio devices wirelessly. Ex. 1005 ¶¶ 93, 103 (“wireless
connection”). We find Hankey’s small form factor wirelessly connected
earpieces resolve the problems identified by Rosener, i.e., “single earpiece
monaural devices” or “bulky . . . wired connections” between earpieces,
and is a reason to combine the two references. See Pet. 24–25 (citing Ex.
1004 ¶¶ 3–10, Figs. 1–4).



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      We are not persuaded we should discount the Blair Declaration
because he is an employee of Patent Owner and thus is the “testimony of an
interested Declarant.” See Reply 15. Petitioner further argues that Mr.
Blair’s testimony is conclusory and uncorroborated. Id. In support,
Petitioner offers testimony from Dr. Cooperstock, although that testimony
is also conclusory and does not identify the basis for the testimony. Id. at
16 (citing Ex. 1024 ¶¶ 29–31). We give neither expert conclusive weight
on the design issues presented.
      We are not persuaded by Patent Owner’s argument that the Rosener,
Hankey, and Dyer combination would not stay in the ear of a user. We find
a person of ordinary skill in the art “would have recognized that Rosener’s
disclosure of a canalphone could be implemented in the Rosener-Hankey
combination as advanced in the Petition to provide a superior securing
mechanism than an earphone configuration, like that disclosed in Hankey.”
Reply 18. Patent Owner’s response is based on the Blair Declaration,
which we determined above is not conclusive on this point. See Sur-Reply
13–14. We adopt as our findings Petitioner’s argument and evidence
summarized above in the Petition and Reply. Pet. 48–49; Reply 11–12. As
We find the Rosener, Hankey, and Dyer obviousness claim to be supported
by rational underpinnings.
                                  c. Limitation 1.c.iii
      Limitation 1.c.iii recites “a microphone connected to the processor
circuit and for picking up utterances of a user of the headphones.”
Petitioner’s evidence includes Rosener’s teaching that earphones 502 and
504 may include a microphone connected to a processor. Pet. 48 (citing Ex.
1004 ¶ 56; Ex. 1003 ¶¶ 119–120). Petitioner’s Annotated Figure 9 is



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reproduced below.




 Rosener Annotated Figure 9 showing a diagram of an RF transceiver.

Pet. 49. As shown in Annotated Figure 9, Rosener discloses a data source
922 which “provides an input to signal conditioning circuit 920 and
baseband processor 914 (“connected to the processor circuit”), which
process the inputted data prior to providing it to RF transmitter
portion 902 for transmission via antenna 906. Id. at 48–49 (citing Ex. 1004
¶ 50). Petitioner contends Rosener’s data source 922 is “a microphone for
picking up utterances of a user of the headphones.” Id. at 48 (citing Ex.
1003 ¶ 120; Ex. 1004 ¶ 56). The connection between the microphone and
processor is illustrated by Petitioner’s annotation of Rosener’s Figure 9
showing the “Processor Circuit” and “Microphone.” Id. at 49 (citing Ex.
1004 ¶ 50).
      Patent Owner disputes limitation 1.c.iii has been shown. See PO
Resp. 21–31. Patent Owner argues Rosener does not teach that “both
earphones include its own microphone.” Id. at 21.


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      Paragraph 56 of Rosener is set forth below.
      According to an embodiment of the invention, either or both the
      first and second data sinks of the various embodiments may
      include (or be coupled to) a data source such as, for example, a
      sensor or a microphone to allow a data to be sent back to an
      external electronic device.

Ex. 1004 ¶ 56 (emphasis added). Patent Owner contends the above
quotation from Rosener, upon which Petitioner relies for the limitation,
simply provides “examples of generic data sources for the data sinks.” PO
Resp. 22 (citing Pet. 48 (quoting Ex. 1004 ¶ 56). Patent Owner argues that
none of those arrangements conclusively includes a microphone in each
earphone. Id. Patent Owner further argues paragraph 56 means “in one
embodiment, one of the data sinks includes the data source and, in another
embodiment, both data sinks are coupled to the data source.” Id. (citing Ex.
2038 ¶ 64).
      For example, one arrangement Patent Owner identifies is “[b]oth
earphones being coupled to a data source, which can be the same data
source or different data sources.” PO Resp. 23. Another arrangement
Patent Owner identifies is “[o]ne earphone including a data source, and the
other earphone being coupled to a data source.” Id. Patent Owner disputes
that a person of ordinary skill in the art would find it obvious to include a
microphone in each of Rosener’s earphones. Resp. 32–34. Patent Owner
alleges that “[w]ithout the benefit of the ’982 Patent’s disclosure, a [person
of ordinary skill in the art] would not have modified the Rosener-Hankey
combination (or the Rosener-Hankey-Dyer combination) to include a
microphone in each wireless earphone.” Id. at 32 (citing Ex. 2038 ¶ 70).




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For reasons discussed below, we find both of Patent Owner’s examples
teach that the “data source” is a microphone, one for each earphone.
      We are not persuaded that separate embodiments where Rosener has
a single microphone limit its disclosure to a single microphone. Patent
Owner relies on Figure 13 as such an instance. PO Resp. 23–25. Patent
Owner acknowledges Rosener’s paragraph 56 describes “the particular
embodiment shown in Figure 13, which includes a single microphone and
two data sinks.” Id. at 23–24 (reproducing Figure 13) (emphasis added).
Patent Owner makes a similar argument for Figures 6 and 9 of Rosener,
contending a microphone is never mentioned in the description of either.
Id. at 26. We find paragraph 56 broadly discloses the data source may be a
microphone in teaching that “either or both the first and second data sinks
of the various embodiments may include (or be coupled to) a data source.”
Ex. 1004 ¶ 56. The first and second data sinks are disclosed as “speakers.”
Id. ¶ 38. As a result, two data sinks may include or be coupled to two
speakers. See Ex. 1004 ¶ 56 (“either or both . . . data sinks”).
      Paragraph 56 applies to “various embodiments,” which we find
includes the separate embodiments shown in Figures 6 and 9. See Reply 11
(citing Ex. 1024 ¶¶ 18–19); see also Ex. 1003 ¶ 12017 (citing Ex. 1004
¶ 56). Beyond asserting the disclosed “data source” is not a microphone in
the earphone, Patent Owner does not respond to the separate embodiment
issue. Sur-Reply 12 (citing Ex. 1004 ¶¶ 33–34). Paragraphs 33 and 34 of



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  The relevant Cooperstock Declaration testimony is “[i]n the earphone of
FIG. 9, data source 922 can be a microphone (a microphone for picking up
utterances of a user of the headphones) ‘to allow a data to be sent back to
an external electronic device.’”

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Rosener are not relevant in that they only describe the data source of Figure
6. See Section III.D.4.a above.
      Patent Owner cites alleged inconsistencies in Dr. Cooperstock’s
testimony regarding the “data sources” shown in Rosener’s Figures 6 and 9.
Sur-Reply 12 (citing Ex. 1003 ¶ 120; Ex. 2038 ¶¶ 65–66; Ex. 1024 ¶ 18).
Dr. Cooperstock’s original declaration stated that Rosener’s “data source”
is “a sensor/microphone incorporated within an earphone” and any
inconsistency testified to at his deposition “slipped his eyes.” Ex. 1024 ¶ 18
(citing Ex. 1003 ¶ 120). A mistake was made and clarified. We do not find
the mistake diminishes the Cooperstock Declaration, which is based on the
compelling evidence of Rosener’s paragraph 56. Ex. 1003 ¶¶ 119–120.
We discussed the Cooperstock testimony above in Section III.D.4.a. We
find the arguments based on a mistake in the Cooperstock Deposition
unpersuasive. See Ex. 1024 ¶ 28 (Dr. Cooperstock’s testimony explaining
his mistake).
      Based on the preceding findings, including Petitioner’s argument and
evidence summarized above, which we adopt, we determine that a person of
ordinary skill in the art would have found Rosener and Hankey or Rosener,
Hankey, and Dyer teach Limitation 1.c.iii.
                  d. Claim 1 Remaining Undisputed Limitations
      We summarize Petitioner’s argument and evidence on the remaining
limitations of claim 1 below. Patent Owner does not dispute the remaining
limitations. See PO Resp. 12–40.
      Recitation 1.P, the preamble of claim 1, recites “a system
comprising.” Although we do not find the preamble to be limiting,
Petitioner cites to Rosener as disclosing “a wireless system.” Pet. 32 (citing



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Ex. 1004 ¶¶ 30, 56; Ex. 1003 ¶ 89. Even if the preamble was limiting, we
find that Rosener teaches the recited system.
      Limitation 1.a recites “headphones comprising a pair of first and
second wireless earphones to be worn simultaneously by a user.” Rosener
teaches “a wireless headset comprising first and second wireless
earphones.” Ex. 1004 ¶ 30. The ’982 patent states earphones may be “in-
ear type headphones,” such as disclosed by Rosener. Ex. 1001, 1:50–2:3.
Petitioner relies on the preceding as teaching limitation 1.a. Pet. 32–33
(citing Ex. 1004 ¶ 30; Ex. 1003 ¶ 91).
      Limitation 1.b recites “wherein the first and second earphones are
separate such that when the headphones are worn by the user, the first and
second earphones are not physically connected.” Petitioner cites to
Rosener’s earphones 502 and 504 in Figure 5 as “physically and
electrically” separated when worn. Pet. 33 (quoting Ex. 1004 ¶ 11; Ex.
1003 ¶ 92).
      Limitation 1.c recites “wherein each of the first and second earphones
comprises.” Petitioner points to the fact that a person of ordinary skill
would have understood Rosener’s earphones each have identical
components. Pet. 33–34 (citing Ex. 1004 ¶¶ 30, 46, 49, Figs. 6, 8A–B; Ex.
1003 ¶ 93).
      Limitation 1.c.i recites “a body portion that comprises.” Petitioner
argues Rosener teaches “[e]ach of the first and second wireless earphones
502, 504 comprises a housing containing a speaker, an RF receiver or
transceiver and a battery.” Pet. 34 (quoting Ex. 1004 ¶ 30). Petitioner
contends that Hankey adds teachings regarding the arrangement of
electronic components, i.e., “a top portion (body portion) of the earpiece,



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and a longitudinal member (elongated portion) extending away from the
top portion.” Id. (citing Ex. 1005 ¶¶ 94–98, 107–115, 143–144; Ex. 1008,18
Figs. 1A–B, 20A–C, ¶¶ 89–91; Ex. 1003 ¶ 95).
      Limitation 1.c.i.A recites “a wireless communication circuit for
receiving and transmitting wireless signals.” Petitioner alleges “Rosener
discloses that each of earphones 502, 504 includes an RF transceiver circuit
(wireless communication circuit).” Pet. 36 (citing Ex. 1004 ¶¶ 11, 30).
Relying on the Cooperstock Declaration and Figure 9 of Rosener, Petitioner
further alleges “[t]he transceiver 900 includes RF transmitter portion 902,
RF receiver portion 904, duplexer 908, analog-to-digital (A/D) converter
910, and digital-to-analog converter (D/A) (collectively ‘a wireless
communication circuit’).” Id. at 37 (citing Ex. 1004 ¶¶ 30–36, 49, Fig. 9
(annotated at Pet. 37 to show “Wireless Communication Circuit”); Ex. 1003
¶¶ 99–100). Petitioner also cites to Hankey as teaching “RF circuitry 1520
is part of a processor 20, which is located inside the earpiece’s body
portion, a [person of ordinary skill] would have been led to similarly
position Rosener’s transceiver circuitry (wireless communication circuit)
in the body portion of the earphone.” Id. at 38 (citing Pet. 39, annotated
Figs. 1, 15 (Figures 1 and 15 annotated to show “Body portion,” “Hankey’s
Processor 20,” “Wireless Communication Circuit,” and “Hankey’s
Processor 20”); Ex. 1008, Fig. 5; Ex. 1003 ¶¶ 92–93, 122).
      Limitation 1.c.i.B recites “a processor circuit in communication with
the wireless communication circuit.” Petitioner relies Rosener’s Figure 9 to
show this limitation. Pet. 40. Specifically, Petitioner alleges Figure 9


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  As noted above, the Hankey Provisional cite is for purposes of
establishing entitlement to its earlier priority date. See Section II.E above.

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includes “components that perform signal processing functions, such as a
baseband processor 914 and signal conditioning circuits 916 and 920, and
‘additional circuitry and processing capabilities’ that ‘operate in accordance
with different wireless technologies,’” which is a “processor circuit.” Pet.
40 (quoting Ex. 1004 ¶¶ 49–51, Fig. 9 (annotated at Pet. 41 to show
“Wireless Communication Circuit” and “Processor Circuit”); Ex. 1003
¶ 104). Petitioner also cites to Hankey’s teaching of a processing circuitry
located in the body portion of Hankey’s earpiece. Id. at 41–42 (citing Ex.
1005 ¶¶ 176, 178, Fig. 15; Ex. 1008 ¶¶ 122, 124, Fig. 5; Ex. 1003 ¶ 106–
107).
        Limitation 1.c.i.C recites “an ear canal portion that is inserted into an
ear of the user when worn by the user.” As discussed above (Section IV.E),
we find this limitation is taught by Rosener. See Pet. 44 (citing Ex. 1004
¶ 30 (earphones may be an earbud “designed to fit into the concha of the
pinna of the user’s ear; a canalphone, which can be fitted within the ear
canal of the user’s ear”); Ex. 1003 ¶¶ 34, 109).
        Limitation 1.c.i.D recites “at least one acoustic transducer connected
to the processor circuit.” Petitioner cites Rosener’s teaching that each
earphone has a speaker in the form of an “acoustic transducer” electrically
connected to receivers or transceivers. Pet. 45 (citing Ex. 1004 ¶¶ 2, 30–31,
38, 49 (transceiver connect to other components of the earphone), Fig. 6).
Relying on the Cooperstock Declaration, Petitioner alleges that the data
sink 918 shown in Figure 9 of Rosener is a speaker, i.e., the claimed
acoustic transducer, connected to a processor circuit. Id. at 45 (citing Ex.
1004, Fig. 9 (annotated at Pet. 45 showing “Acoustic transducer,” “data
sink,” and “Processor Circuit”)).



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      Petitioner also cites to Hankey as teaching this limitation. Pet. 45–
46. Petitioner argues Hankey teaches speakers in the earbud which would
have suggest to a person of ordinary skill in the art to “position[ed]
Rosener’s acoustic transducer in the earphone’s body portion as well.” Id.
at 46 (citing Ex. 1005, Fig. 1 (annotated at Pet. 46 showing “Body portion”
and “Acoustic transducer”); Ex. 1008 ¶¶ 2, 89; Ex. 1003 ¶ 113).
      Limitation 1.c.ii recites “an elongated portion that extends away from
the body portion such that the elongated portion extends downwardly when
the ear canal portion is inserted in the ear of the user.” Petitioner relies
largely on Rosener’s Figure 5 showing both an “elongated portion” and an
“ear canal portion” to teach the limitation. Pet. 47 (citing Ex. 1004, Fig. 5
(annotated at Pet. 47 showing “Elongated portion” and “Body portion”);
Ex. 1003 ¶ 115). Hankey is also cited for its teaching of “a body portion
that includes earbud 12, and a longitudinal member (’an elongated
portion’) that extends away from the body portion.” Id. (citing Ex. 1003
¶¶ 116–117).
      Limitation 1.c.iv recites “an antenna connected to the wireless
communication circuit.” Petitioner relies on each of Rosener’s earphones
including “an antenna 906 connected to the wireless communication
circuit (i.e., transmitter portion 902, receiver portion 904, duplexer 908,
A/D 910, D/A 912).” Pet. 49 (citing Ex. 1004 ¶ 50, Fig. 9 (annotated at Pet.
50 showing “Antenna” and “Wireless communication circuit”); Ex. 1003
¶ 121).
      Limitation 1.c.v recites “a rechargeable power source.” Rosener is
cited for its disclosure that “each of the earphones includes a battery (power
source).” Pet. 50 (citing Ex. 1004 ¶ 30). According to Petitioner a



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rechargeable battery would have been obvious to a person of ordinary skill
because it would “extend the use of the battery and reduce or remove the
hassle and cost of periodically replacing non-rechargeable empty batteries.”
Id. (quoting Ex. 1003 ¶ 122). Petitioner also relies on Hankey’s teaching
“that using rechargeable batteries in headsets was ’traditional[].’” Id.
(citing Ex. 1005 ¶ 190; Ex. 1008 ¶ 136; Ex. 1003 ¶123).
      Limitation 1.d recites
      a mobile, digital audio player that stores digital audio content and
      that comprises a wireless transceiver for transmitting digital
      audio content to the headphones via Bluetooth wireless
      communication links, such that each earphone receives and plays
      audio content received wirelessly via the Bluetooth wireless
      communication links from the mobile, digital audio player.

      Petitioner argues Rosener discloses the claimed “mobile, digital
audio player” in describing that the earphones communicate with
“exemplary external audio devices, including audio players (e.g., MP3
player) that are both digital and mobile.” Pet. 51 (citing Ex. 1004 ¶ 2; Ex.
1003 ¶ 124). Petitioner argues a person of ordinary skill in the art “would
have understood that a typical MP3 player is mobile and stores digital audio
content in the form of, for example, MP3 files and transmits such content to
the earphones to be played.” Id. (citing Ex. 1001, 4:39–43 (“providing
MP3 player as an example data source for wirelessly sending and receiving
digital audio to and from earphone 10”); Ex. 1003 ¶ 125; see also Ex. 1004
¶ 2 (disclosing mobile, digital audio player to store audio content)).
      Petitioner relies on Rosener’s teaching that the “wireless
communication links can be in the form of Bluetooth communication
links.” Pet. 52 (citing Ex. 1004 ¶ 35). Petitioner also cites the RF



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transmitter and RF receivers used in Rosener’s earphones as well as
bidirectional transmission over wireless communication links as illustrated
in Petitioner’s annotation of Rosener’s Figure 6 reproduced below.




       Rosener’s Annotated Figure 6 showing a wireless system.

Pet. 52. As shown in Annotated Figure 6, Petitioner alleges “Rosener also
discloses that an external device sends audio content to the earphones
through multiple wireless communication links 612 and 616.” Pet. 51–52
(citing Ex. 1004 ¶ 32). Petitioner also asserts the “wireless communication
links can be in the form of Bluetooth communication links.” Id. at 52
(citing Ex. 1004 ¶ 35). Petitioner relies on the Cooperstock Declaration for
the assertion that a person of ordinary skill would have been motivated to
use transmitters/transceivers to “improve processing and communication
speed, and to reduce noise.” Id. at 53 (citing Ex. 1003 ¶ 127). Additional
reasons for including a wireless transceiver are also provided by the
Cooperstock Declaration and further include that the external devices



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disclosed in Rosener “were known to include both wireless transceivers and
data storage.” Id. (citing Ex. 1003 ¶ 127; Ex. 1004 ¶ 30).
        If Dyer is necessary for Petitioner to make its showing, which we do
not find necessary as summarized above, Petitioner has sufficiently shown a
person of ordinary skill would have been motivated to combine Dyer and
Rosener because both teach “the same type of earphone – a ‘canal phone’
with an element that extends into the user’s ear canal.” Pet. 29–30 (citing
Ex. 1003 ¶ 54). This proposed combination of “the Rosener-Hankey
canalphone is implemented using Dyer’s canalphone elements, including a
portion of Dyer’s enclosure 115 (which is referred to as the ‘sub-enclosure
115’ herein) that supports intermediary member 111, along with
intermediary member 111 and eartip 121.” Id. at 30 (citing Ex. 1003 ¶¶ 55–
56; Ex. 1006, 2:21–24); see also Pet. 31 (annotation at Pet. 31 showing
“Eartip 121,” “Intermediary Member 111,” and “Sub-Enclosure 115”); see
also annotation in Section III.D.4.b above (depicting elements 111, 115 and
121).
        As summarized above, we adopt Petitioner’s argument and evidence
regarding claim 1 as our own findings. Petitioner has sufficiently shown
recitation 1.P and limitations 1.a, 1.b, 1.c, 1.c.i, 1.c.i.A, 1.c.i.B, 1.c.i.C,
1.c.i.D, 1.c.ii, i.c.iv, 1.c.v and 1.c. are taught by the combination of Rosener
and Hankey or Rosener, Hankey, and Dyer.
                               5. Claims 2 and 18
        Claims 2 and 18 depend from claim 1. We have reviewed
Petitioner’s showing with respect to claims 2 and 18. Pet. 53–55. Patent
Owner does not dispute Petitioner’s showing with respect to claims 2 and
18. We summarize our findings below.



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      Claim 2 depends from claim 1. Petitioner shows that the “docking
station” recited in limitation 2.a is taught by Hankey’s charging device
6600. Pet. 53–54 (citing Ex. 1005 ¶¶ 315–320). Limitation 2.b’s recited
“power cable for connecting to an external device for charging the at least
the first wireless earphone” is sufficiently shown by Hankey’s charging
device. Id. at 54–55 (citing Ex. 1005 ¶ 320; Ex. 1003 ¶¶ 128–130).
      Claim 18 depends from claim 1 and recites, in pertinent part, “a
buffer for caching the audio content received by the earphone prior to being
played by the at least one acoustic transducer of the earphone.” Petitioner
cites Rosener’s teaching that “‘the first and second data streams’ [are] sent
to the first and second earphones 502, 504 by using the data buffer
(‘buffer’) included in each of the earphones.” Pet. 55 (citing Ex. 1004
¶ 39–42).
      As summarized above, we adopt Petitioner’s argument and evidence
regarding claims 2 and 18 as our own findings. Pet. 53–55. Petitioner has
sufficiently shown that the combination of Rosener and Hankey or Rosener,
Hankey, and Dyer teaches claims 2 and 18.
                            6. Claims 19 and 20
      Claim 19 depends from claim 1 and claim 20 depends from claim 19.
We have reviewed Petitioner’s showing with respect to claims 19 and 20.
Pet. 55–58.   Claim 19 recites, in pertinent part, that each of the claimed
headphones have a “processor circuit” where “the first and second
earphones comprises a digital signal processor” for “sound quality
enhancement.” Rosener is relied on by Petitioner, as it was for limitation
1.c.i.B, for, among other things, its teaching of “signal conditioning
circuitry 916 [that] filters and amplifies the audio content to enhance the



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sound quality to be played by data sink 918.” Pet. 56 (citing Ex. 1004 ¶ 49,
see also Ex. 1004 ¶¶ 10–11 (“indicating that Rosener’s earphones provide
‘high-quality stereo sound’”)).
      Petitioner provides an annotation of Rosener’s Figure 9 in support of
its arguments. Annotated Figure 9 is reproduced below.




Annotated Figure 9 of Rosener showing an RF transceiver that may be
  used in place of one or more of the RF transmitters and receivers.

Pet. 57; Ex. 1004 ¶ 24. Specifically, Annotated Figure 9 shows a “digital
signal processor,” as per claim 19. Ex. 1003 ¶ 132 (“The signal
conditioning circuitry provides a sound quality enhancement of the audio
content to be played by data sink 918 (at least one acoustic transducer of
the earphone).”).


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       Claim 20 depends from claim 19 and recites, in pertinent part, “a
baseband processor circuit that is in communication with the wireless
communication circuit of the earphone.” Petitioner cites to Rosener’s
teaching “that A/D converter 910 (a component of ‘wireless
communication circuit’) ‘digitizes the signals, and sends the digitized
baseband signals to a baseband processor 914.’” Pet. 57 (quoting Ex. 1004
¶ 49; see also Ex. 1003 ¶¶ 133–134).
       With reference to Annotated Figure 9, Patent Owner argues
“Rosener’s signal conditioning circuit converts the digital signal from the
baseband processor 914 to an analog signal because the data sink/speaker
918 is driven by an analog signal.” PO Resp. 62 (citing Ex. 2039 ¶ 90).
Patent Owner argues that the signal conditioning circuit describes a digital-
to-analog converter (DAC) and not a digital signal processor. Id. at 62–63
(citing Ex. 2039 ¶¶ 35, 91; Ex. 1004 ¶ 49). Patent Owner contends “[t]he
‘P’ in DSP stands for processor.” Id. at 63 (citing Ex. 2038 ¶ 93).
According to Patent Owner, the difference is important because neither
“Rosener’s baseband processor nor signal conditioning circuit . . . is a
processor that performs signal processing operations, including providing a
noise quality enhancement.” Id. (citing Ex. 2038 ¶93). Patent Owner then
asserts that:
       claim 19 recites that the DSP “provides a sound quality
       enhancement . . . .” [Ex. 1001, 20:29–30]. The ’982 Patent lists
       several sound quality enhancements that could be performed by
       the DSP, such as “noise cancellation and sound equalization.”
       APPLE-1001, 7:41. A person of ordinary skill in the art would
       understand that these are sound quality enhancements performed
       by a DSP, because that is what DSPs do in speakers – improve
       audio signal prior to delivery to a speaker. [citing Ex. 2038 ¶ 96].
       A [person of ordinary skill in the art] would also understand that


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       the DSP does not “drive” the speaker because it does not control
       the voltage and current of the drive signal; i.e., a DSP circuit that
       improves the signal quality does not convert that digital signal to
       analog, like a DAC, in order to drive a speaker element. Id.

Id. at 64.
       Petitioner responds that although Rosener’s signal conditioning
circuit 916 is a digital-to-analog converter it also performs “signal
processing functions.” Reply 26 (citing PO Resp., 61–62 (agreeing that
signal processing functions occur)); see also id. at 29–30 (similarly arguing
the signal condition circuit performs the functions alleged to be performed
by the DSP). According to Petitioner, this argument is supported by
Rosener’s disclosure of “signal processing functions.” Id. (citing Ex. 1004
¶¶44, 47, 50). Petitioner also argues a person of ordinary skill in the art
“would have understood that signal conditioning circuit 916 includes a DSP
that processes the digital signal before converting the signal to analog.” Id.
(citing Ex. 1025, 160:2–161:4 (Mr. McAlexander testifying filtering of a
signal occurs before and after digital-to-analog conversion); Ex. 1004 ¶ 61).
       Petitioner also argues Patent Owner construes digital signal processor
to distinguish it from a digital-to-analog converter. Reply 28–29. In sum,
Petitioner argues the DSP should be interpreted on its plain meaning. Id. at
28. Patent Owner does not propose a construction beyond arguing that a
digital-to-analog converter is not a digital signal processor and a person of
ordinary skill in the art “would not understand that Rosener’s signal
conditioning circuit 916 is a digital signal processor as recited in claim 19.”
See, e.g., PO Resp. 61 (citing Ex. 2038 ¶ 90). Petitioner argues that Patent
Owner’s contention that a DSP is “embodied as a single chip (i.e.,
integrated circuit)” is also improperly narrow. Reply 29 (citing PO Resp.


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64). Patent Owner responds that “amplifiers and filters can be analog.”
Sur-Reply 20 (Ex. 2047, 10:3–8). Patent Owner argues neither Petitioner
nor its expert, Dr. Cooperstock, “[ever] explained why it would have been
obvious that the amplification and filtering performed by Rosener’s signal
conditioning circuit would have been digital.” Id. Patent Owner also
argues the examples cited by Petitioner in paragraphs 44, 47, 49, and 50 of
Rosener are “are converters, either digital-to-analog or analog-to-digital.”
Id. at 21.
       We find Patent Owner’s response is persuasive as the cites from
Rosener, paragraphs 44, 47, and 50, all involve conversions between analog
and digital signals. Sur-Reply 21. It is not disputed that “sound quality
enhancement” is being performed by the signal conditioning circuitry of
Rosener on analog signals. Figure 9 unannotated clearly shows analog to
digital and digital to analog signals processed by a baseband “processor.”
We are not persuaded that digital-to-analog conversion or analog-to-digital
processing would be understood by a person of ordinary skill in the art to be
digital processing as performed by a DSP. For example, Petitioner does not
show that analog signals of the RF transceiver of Figure 9 are the same as
those processed by a “digital signal processor.”
       As summarized above, we adopt Patent Owner’s argument and
evidence regarding claim 19. Petitioner has not sufficiently shown that the
combination of Rosener and Hankey teaches claim 19 and its dependent
claim 20. We need not rely on the Rosener, Hankey, and Dyer
combination.




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                                  7. Conclusion
         We find that the prior art teaches each limitation of claims 1, 2, and
18–20 and that a skilled artisan would have had reason to combine the
teachings of Rosner, Hankey, and Dyer. As explained below, Patent
Owner’s objective indicia of nonobviousness are not persuasive. Petitioner
has not shown by a preponderance of the evidence that claim 19 and its
dependent claim 20 would have been obvious over Rosener and Hankey or
over Rosener, Hankey, and Dyer.
        E. Obviousness of Claims 3–5 over Rosener, Hankey, and Haupt or
                       Rosener, Hankey, Dyer, and Haupt
         Petitioner alleges claims 3–5 would have been obvious over Rosener,
Hankey, and Haupt or over Rosener, Hankey, Dyer, and Haupt. Pet. 1, 58–
66. Petitioner also relies on the Cooperstock Declaration. Ex. 1003
¶¶ 135–154.
                              1. Rosener (Ex. 1004)
         Rosener was described in Section III.D.1 above.
                              2. Hankey (Ex. 1005)
         Hankey was described in Section III.D.2 above.
                               3. Dyer (Ex. 1006)
         Dyer was described in Section III.D.3 above.
                               4. Haupt (Ex. 1020)
         Haupt describes “WLAN headphones” to which data (e.g., audio
data) can be wirelessly transmitted from a server through an access point.
Ex. 102019, 2–3. When the headphone is within transmission range of a




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     Citations are to the native page numbering.

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WLAN access point, a connection is made to the server, which permits the
headphone to wirelessly receive data from the server. Id. at 2.
      A private server PS a private sector “connected by a hardwire . . . to
an access point APP.” Ex. 1020, 6. APP “has a WLAN interface, and
communicates wirelessly with a playback device WG located within the
transmission range of the access point APP.” Id. There is also a “public
server OS in the public sector” connected wirelessly to the internet. Id.
“Communication between the playback device WG in the transmission
range of the public access point APO and a public or private server OS, PS,
takes place wirelessly until reaching the public access point APO, and then
takes place via the internet to reach the public server OS or the private
server PS.” Id. at 7.
      Haupt also discloses an audio forwarding mode in which a
headphone “perform[s] as a local server, providing . . . stored audio files to
other playback devices.” Ex. 1020, 10. The headphone “can therefore
receive data wirelessly from an access point, and then send this data to
another playback device.” Id.
                                5. Claims 3–5
      Claims 3 and 4 depend directly from claim 1 while claim 5 depends
from claim 4. We have reviewed Petitioner’s showing with respect to
claims 3–5. Pet. 58–66. As summarized below, Petitioner has sufficiently
shown all the limitations of claims 3–5. Patent Owner does not dispute the
showing made on claim 3 or claim 5 beyond the arguments on the claim
from which each depends. See PO Resp. 46–52 (disputing claim 4).
      Claim 3 depends from claim 1 and recites, in pertinent part,
      in a first operational mode, the pair of first and second earphones
      play audio content stored on the mobile, digital audio player and


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      transmitted to the first and second earphones from the mobile,
      digital audio player via the Bluetooth wireless communication
      links; and in a second operational mode, the pair of first and
      second earphones play audio content streamed from a remote
      network server.” (emphases added).

      Petitioner relies on Rosener to teach the “first operational mode,” as
discussed in above in Section III.D.4.d for limitation 1.d. Pet. 61.
Petitioner cites to Haupt’s disclosure of “headphones that can receive data
from a remote network server through WLAN communications” for the
“second operational mode.” Id. (citing Ex. 1020, 7–8). Petitioner adds,
among other evidence and argument, that “[i]t would have been obvious to
a [person of ordinary skill in the art] to incorporate Haupt’s techniques and
its Bluetooth/WLAN multicommunication-interfaces in Rosener’s
earphones.” Id. (citing Ex. 1003 ¶ 135). Petitioner argues the combination
“would enable Rosener’s earphones to both receive audio from Rosener’s
disclosed external devices via Bluetooth (in a first operational mode) and
audio from Haupt’s network server via WLAN communications (in a
second operational mode).” Id. (citing Ex. 1003 ¶ 135).
      Claim 4 depends from claim 1 and recites, in pertinent part
      the processor circuit of the first earphone is for, upon activation
      of a user control of the headphones, initiating transmission of a
      request to a remote network server that is remote from the
      mobile, digital audio player and in communication with the
      mobile, digital audio player via a data communication network.

Ex. 1001, 18:56–62 (emphases added). Petitioner cites to Haupt’s
disclosure of “wireless headphones [with] control buttons (‘user control’)
used to initiate connection to a server.” Pet. 65 (citing Ex. 1020, 11–12,




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22). Petitioner also alleges “user control” as claimed would have been
obvious based on Haupt. Id. (citing Ex. 1020, 2–4, 9–13, 22; Ex. 1003
¶ 150).
      Claim 5 depends from claim 4 and recites, in pertinent part, “the
processor circuit of the first earphone is further for receiving a response to
the request.” Petitioner quotes from Haupt as teaching “in order to upload
[stored music] to the wireless headphones for playback,” “[a] playlist [for
stored music] can be compiled on the network server” and then “sent from
there to the headphones.” Pet. 66 (quoting Ex. 1020, 22). Petitioner also
asserts claim 5 would have been obvious to a person of ordinary skill in the
art based in part on Haupt’s teachings of processing received data from a
server. Id. (citing Ex. 1003 ¶ 154).
      Patent Owner disputes that claim 4 and its dependent claim 5 have
been shown to be unpatentable. PO Resp. 46–52. Patent Owner
summarizes Petitioner’s showing as follows:
      Petitioner’s proposed combination is limited, at best, to a system
      in which the headphones communicate wirelessly with a remote
      network server (Haupt’s PS or OP) to receive digital audio
      content from that server (per Haupt) and, separately, connects to
      a mobile DAP (e.g., Rosener’s external data source) that provides
      the digital audio content to the headphones.

Id. at 48. Patent Owner argues that Petitioner “does not explain why
Haupt’s remote server to which the request is transmitted in Petitioner’s
proposed Rosener-Hankey-Haupt (-Dyer) combination
would be in communication with Rosener’s external data source 618.” Id.
      Petitioner argues claim 4 was shown in “the master/slave
configuration discussed in the Petition, the headphone recited in claim 4 is
mapped to a slave headphone (or Playback Device_1), and the mobile DAP


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recited in claim 4 is mapped to a master headphone (or Playback
Device_2).” Reply 19 (citing Pet. 61–66). An annotation based on Haupt’s
figures20 (Ex. 1003 ¶ 141) is reproduced below.




     Annotated schematic showing audio forwarding mode in which one
          pair of the canalphones (the “master”) acts as a mobile,
        digital audio player for another pair of canalphones.

Pet. 63; Reply 20. Petitioner argues that a person of ordinary skill in the art
“would have understood that the master earphone in Haupt is another
example of Rosener’s data source 618 (which was mapped to mobile DAP
in claim 1) because the master earphone is a device that sends audio to
another earphone, which is the same function that Rosener lists for data
source 618.” Reply 20 (citing Ex. 1024 ¶ 43).
         Patent Owner responds that the “slave” in Petitioner’s master/slave
theory


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  We take notice that the figure also includes the annotated drawing at page
32 of the Petition of the “Rosener-Hankey-Dyer system,” illustrating
“Playback Device_1” and “Playback Device_2.” The annotation is
reproduced in Section III.D.4.b above.

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         cannot initiate transmission of a request to the server that is
         connected to the “master.” At a minimum, Petitioner never
        explained how the slave initiates transmission of a request to
         the server that is communication with the master in light of
         Haupt’s teaching that the server interrupts communications
        from devices with IP addresses other than the master device.

Sur-Reply 16.
      Patent Owner does not cite any evidentiary support for its
interruption of communication argument based on Haupt. Haupt
explains that “[i]f the IP address of the data receiver is not the IP
address IP-WG for the playback device, the respective data transfer
can be interrupted.” Ex. 1020, 7 (emphasis added). If Patent Owner
is arguing this excerpt for support, it states that “data transfer” is not
necessarily interrupted.
      Patent Owner does not respond to the combination of Rosener and
Haupt, on which Petitioner relies. Specifically, Petitioner alleges a person of
ordinary skill in the art “would have understood that the master earphone in
Haupt is another example of Rosener’s data source 618.” Reply 20. Patent
Owner does not dispute, and we find, Haupt and Rosener teach the two
operational modes of claim 3. See above Section III.E.5 (re: claim 3). We
also find that Haupt discloses “wireless headphones . . . control buttons
(‘user control’) used to initiate connection to a server.” Pet. 65 (citing Ex.
1020, 11–12, 22) (emphasis omitted).
      Petitioner argues a person of ordinary skill in the art would
have had reason to combine Haupt with Rosener and Hankey. One
reason is that Rosener’s earphones would have been improved by
accessing WLAN technology in order for communication over the



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Internet to occur. Pet. 59–60 (citing Ex. 1003 ¶¶ 65–66). Patent
Owner does dispute the rationale for the combination, citing an
institution decision in another inter partes review between the same
parties on a different patent. PO Resp. 49–52 (citing Apple Inc. v.
Koss Corp., IPR2021-00546, Paper 10 at 6–7, 14–16 (PTAB Sept. 7,
2021) (“’546 IPR”)).
      We agree with Petitioner that the grounds under consideration here
are not the same as in the ’546 IPR. Reply 21. The ’546 IPR challenge
included the reference to Seshardri, alleged prior art which is not at issue
here. See PO Resp. 50. Patent Owner does not explain how Seshardri is
relevant here and the argument is not persuasive.
      As summarized above, we adopt Petitioner’s argument and evidence
regarding claims 3–5 as our own findings. Petitioner has sufficiently shown
that the combination of Rosener, Hankey, and Haupt or Rosener, Hankey,
Haupt, and Dyer teaches claims 3–5.
                                6. Conclusion
      We find that the prior art teaches each limitation of claims 3–5 and
that a skilled artisan would have combined the teachings of Rosner,
Hankey, Haupt, and Dyer. As explained below, Patent Owner’s objective
indicia of nonobviousness are not persuasive. After considering the
complete record, we conclude that Petitioner has shown by a preponderance
of the evidence that claims 3–5 would have been obvious over Rosener,
Hankey, and Haupt or over Rosener, Hankey, Dyer, and Haupt.
       F. Obviousness of Claim 14 over Rosener, Hankey, and Price or
                    Rosener, Hankey, Dyer, and Price
      Petitioner alleges claim 14 would have been obvious over Rosener,
Hankey, and Price or over Rosener, Hankey, Dyer, and Price. Pet. 1, 67–


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72. Petitioner also relies on the Cooperstock Declaration. Ex. 1003
¶¶ 155–157. Patent Owner disputes the showing on claim 14. PO Resp.
52–57.
                          1. Rosener (Ex. 1004)
      Rosener was described in Section III.D.1 above.
                           2. Hankey (Ex. 1005)
      Hankey was described in Section III.D.2 above.
                            3. Dyer (Ex. 1006)
      Dyer was described in Section III.D.3 above.
                            4. Price (Ex. 1009)
      Price describes a “software updating system” for updating software
on electronic devices. Ex. 1009 ¶¶ 37, 7–11. The system includes a
“coordinating computer” (or “proxy server”), which is an intermediary
device between (i) a server providing software update codes and (ii) one or
more devices to be updated using the software update codes. Id. ¶¶ 7, 25.
The coordinating computer can provide software update codes to each
device “without requiring user intervention.” Id. ¶ 35. One example of
software content is “firmware typically stored in an EEPROM.” Id. ¶ 29.
      Figure 1 of Price is reproduced below.




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 Figure 1 is a schematic of a particular embodiment of Price’s system.

Ex. 1009 ¶ 13. Figure 1 illustrates a system 10A, with a coordinating
computer 12 is in communication 14 with a network 18 in communication
20 with a network data store 22. Id. ¶ 37. Server 23 provides software
update codes to computer 12 through network 18 using wired
communication 14 or wireless communication 34. Id. ¶ 38. Computer 12
then processes the software update codes and delivers them to devices 50,
54, 58. Id. ¶ 39. Once the software update codes are delivered, software in
devices 50, 54, 58 are updated. Id.
                                5. Claim 14
      Claim 14 depends from claim 1 and recites “wherein the processor
circuits of the headphones are configured to receive firmware upgrades
pushed from a remote network server.”




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      Petitioner alleges that Price describes that “‘[c]omplex digital
devices’ requiring ‘microprocessors,’ and ‘firmware, an operating system,
or other device-specific software’ benefit from receiving software updates
by improving reliability, functionality, or compatibility.” Pet. 68–69
(quoting Ex. 1009 ¶¶ 5, 11). According to Petitioner, Rosener’s
headphones 502, 504 could be configured to “‘receive’ software update
code for firmware updates transmitted from a remote server, via a
coordinating computer (e.g., computer 12).” Id. at 69–71 (regarding
Rosener headphones). Further, Petitioner alleges a person of ordinary skill
in the art “would have understood that a firmware upgrade is one example
of a firmware update and, therefore, would have found it obvious to
configure earphones 502, 504 to receive software update code representing
‘firmware upgrades’ in order to upgrade the capabilities of earphones 502,
504.” Id. at 71 (citing Ex. 1003 ¶ 155).
      Petitioner argues the combination of Price with Rosener “would have
involved applying conventional techniques within the [person of ordinary
skill in the art’s] skill level.” Pet. 70. Petitioner provides, as an example,
Price’s description “that device 50 can receive software update code from
computer 12 using wireless channel communication 70, which coincides
with the one or more wireless links Rosener’s earphones 502, 504 already
have with an external data device.” Id. (citing Ex. 1003 ¶ 72; Ex. 1004
¶ 30; Ex. 1009 ¶ 39).
      Patent Owner alleges that “updating a device’s firmware requires that
the device be sufficiently powered throughout the firmware upgrade
process.” PO Resp. 53 (citing Ex. 2038 ¶ 70). Patent Owner acknowledges
Hankey’s earpiece downloads updates but requires power from an external



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power supply. Id. (citing Ex. 1005 ¶¶ 182–188). According to Patent
Owner “Hankey does not disclose using the earpiece’s battery to power the
earpiece during a firmware upgrade and Rosener does not disclose a way to
connect to an external power supply.” Id. at 53–54. Patent Owner argues
Rosener’s earphones would have to be modified to include a power source,
i.e., a battery, which would be beyond the level of ordinary skill determined
previously. Id. at 54. Patent Owner notes that none of the other references
in this challenge address this power issue, resulting in no expectation of
success from the combination. Id. at 55–56.
      We agree with Petitioner that the argument Patent Owner makes is
not supported by the evidence. Reply 24. Furthermore, as Petitioner
argues, a person of ordinary skill in the art “would have understood how to
implement configuration options that would have addressed any power
consumption issues associated with firmware upgrades.” Id. (citing Ex.
1024 ¶¶ 49–50).
      Patent Owner’s argument is predicated on bodily incorporating a
battery into Hankey or Rosener’s earpieces. As already stated, how to put
together a device based on the combined references is not required in order
to find a claim obvious. In re Keller, 642 F.2d at 425. In addition, Patent
Owner did not dispute that Rosener and Hankey taught a “rechargeable
power source,” limitation 1.c.v. See Section III.D.4.d (limitation 1.c.v
above). Claim 14 itself does not recite a power source. All that is required
by claim 14 is that “the headphones are configured to receive firmware
upgrades pushed from a remote network server.” How the firmware is
“pushed” is left to the understanding of a person of ordinary skill in the art
and is not directly recited.



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      Patent Owner attempts to distinguish “charging” from “powering
during use.” Sur-Reply 16–17 (emphasis omitted). Other than timing, we
are not persuaded there is a difference and Patent Owner does not support
its argument with evidence. Patent Owner’s responses to Petitioner’s other
arguments, “conditional or incremental firmware upgrades” and improper
incorporation “system-on-chip (SOC)” from the written disclosure into the
claims of the ’982 patent, do not persuade us that our determination is
erroneous. See Sur-Reply 17–18.
      We find that the prior art teaches each limitation of claim 14 and that
a skilled artisan would have combined the teachings of Rosner, Hankey,
Price, and Dyer. As explained below, Patent Owner’s objective indicia of
nonobviousness are not persuasive. After considering the complete record,
we conclude that Petitioner has shown by a preponderance of the evidence
that claim 14 would have been obvious over Rosener, Hankey, and Price or
over Rosener, Hankey, Dyer, and Price.
      G. Obviousness of Claim 15 over Rosener, Hankey, and Paulson or
                   Rosener, Hankey, Dyer, and Paulson
      Petitioner alleges claim 15 would have been obvious over Rosener,
Hankey, and Paulson or over Rosener, Hankey, Dyer, and Paulson. Pet. 1,
72–75. Petitioner also relies on the Cooperstock Declaration. Ex. 1003
¶¶ 158–159. Patent Owner disputes that claim 15 would have been
obvious. PO Resp. 57–60.
                           1. Rosener (Ex. 1004)
      Rosener was described in Section III.D.1 above.
                           2. Hankey (Ex. 1005)
      Hankey was described in Section III.D.2 above.



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                             3. Dyer (Ex. 1006)
      Dyer was described in Section III.D.3 above.
                           4. Paulson (Ex. 1010)
      Paulson describes a “two-way voice communication device” with a
“switch supporting a push-to-talk” operation. Ex. 1010, 2:51–67. The
device includes “earphone assembly 105” with housing 110 and
microphone 130 located at one end of boom 120. Id. at 5:1–13, Fig. 1B.
      Paulson describes that an “electrical signal from a microphone” (e.g.,
microphone 130) can be “carried on conductors 343 and 344.” Ex. 1010,
6:17–19, Fig. 3. Paulson also describes that “switch 330 may be arranged
to provide push-to-talk functionality.” Id. at 6:43–44. “When activated,
switch 330 may stop the electrical signals of microphone 130 from reaching
the designated conductors of multi-conductor cable 350, effectively muting
microphone 130.” Id. at 6:30–33.
                                5. Claim 15
      Limitation 15.1 of claim 15, which depends from claim 1, recites
“wherein the processor circuit of the first earphone is configured to: process
audible utterances by the user picked by the microphone in response to
activation of the microphone by the user.” Pet. 74. Petitioner contends that
Rosener’s earphones 502, 504 include “a microphone to collect ‘audible
utterances by the user.’” Id. (quoting Ex. 1004 ¶ 56). Petitioner argues
Paulson’s teaching that a switch is “important for users in a noisy
environment, to allow [users] to reduce the noise heard by [a] distant
party.” Id. at 73–74 (citing Ex. 1010, 6:33–49; Ex.1003 ¶ 76).
      Limitation 15.2 of claim 15 recites “transmit a communication based
on the audible utterances via the Bluetooth wireless communication links.”



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Pet. 75. Petitioner cites Rosener’s teaching that “earphones 502, 504 can
provide ‘two-way communications between a user and an external data
device (e.g., a cellular telephone),’ e.g., via Bluetooth connections.” Pet. 75
(citing Ex. 1004 ¶¶ 11, 35). According to Petitioner, a person of ordinary
skill in the art “would have understood that earphones 502, 504 would have
been configured to provide two-way communications with an external
device using Bluetooth connections (‘Bluetooth wireless communication
links’) such that audio generated by a user’s voice (‘communication based
on the audible utterances’) are transmitted from earphones 502, 504 to the
cellular telephone.” Id. at 75 (citing Ex. 1004 ¶ 50; Ex. 1003 ¶ 159).
      Patent Owner argues that Paulsen’s earphone is not wireless. PO
Resp. 58 (citing Ex. 1010, Fig. 3 (switch 330); Ex. 2038 ¶ 85). Patent
Owner argues Petitioner has not shown “how Paulson’s pressure-actuated,
mechanical switch would be implemented into Rosener’s small form factor
earphones. Mechanical switches are typically larger in size than solid-state
or MEMS (microelectromechanical systems) switches because mechanical
switches have (non-micro) moving parts.” Id. at 59 (citing Ex. 2038 ¶ 87).
Again, Patent Owner argues such an implementation would be beyond the
level of ordinary skill we have determined for the ’982 patent in this
proceeding. Id. at 59–60 (citing, inter alia, Ex. 2038 ¶ 87).
      Bodily incorporation is not required in order to meet the test of
obviousness. In re Keller, 642 F.2d at 425. Petitioner’s argument is in
accord, arguing, as we also find, Paulson’s mechanical button “does not
mean that [a person of ordinary skill in the art] would have had to
physically incorporate the exact mechanical button from Paulson into
Rosener-Hankey earphone.” Reply 24–25 (citing Ex. 1024 ¶¶ 53–54).



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      Petitioner argues a person of ordinary skill in the art “reading
Paulson would get the idea of incorporating the push-to-talk button to
Hankey’s device.” Reply 24 (citing Ex. 1024 ¶¶ 53–54). Patent Owner
argues that the “button” would provide the idea recited in claim 15 raises a
new argument not presented in the Petition. Sur-Reply 19. We disagree.
The argument was a response to the argument raised in pages 59 through 60
of Patent Owner’s Response. Patent Owner does not respond to the bodily
incorporation argument made by Petitioner. We find that bodily
incorporation is dispositive of the positions raised by Patent Owner.
                               6. Conclusion
      We find that the prior art teaches each limitation of claim 15 and that
a skilled artisan would have combined the teachings of Rosner, Hankey,
Paulson, and Dyer. As explained below, Patent Owner’s objective indicia
of nonobviousness are not persuasive. After considering the complete
record, we conclude that Petitioner has shown by a preponderance of the
evidence that claim 15 would have been obvious over Rosener, Hankey,
and Paulson or over Rosener, Hankey, Dyer, and Paulson.
 H. Obviousness of Claims 16 and 17 over Rosener, Hankey, and Huddart
                  or Rosener, Hankey, Dyer, and Huddart
      Petitioner alleges claims 16 and 17 would have been obvious over
Rosener, Hankey, and Huddart or over Rosener, Hankey, Dyer, and
Huddart. Pet. 1, 76–82. Petitioner also relies on the Cooperstock
Declaration. Ex. 1003 ¶ 160. Patent Owner does not dispute Petitioner’s
showing regarding claims 16 and 17.
                           1. Rosener (Ex. 1004)
      Rosener was described in Section III.D.1 above.



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                            2. Hankey (Ex. 1005)
       Hankey was described in Section III.D.2 above.
                             3. Dyer (Ex. 1006)
       Dyer was described in Section III.D.3 above.
                           4. Huddart (Ex. 1007)
       Huddart describes a wireless stereo system that includes a headset
component and a wireless earbud component. Ex. 1007, 2:13–15. Headset
4 communicates with electronic device 2 over a wireless communication
link 12. Id. at 2:52–3:6. During a “stereo listening operation,” wireless
earbud 6 is used in conjunction with headset 4 through wireless
communication link 18. Id. at 3:7–18. In this mode, headset 4 and earbud 6
can be used in conjunction for stereo listening from “a cellular telephone
100, digital music player 106,” among other electronic devices. Id. at 7:62–
8:8.
       Huddart describes embodiments in which the wireless stereo system
includes a “charger/carrier” with “a small plastic storage case for storing
headset 4 and wireless earbud 6 for protection and charging.” Ex. 1007,
8:25–27. The charger/carrier includes “a battery and charger circuit for
charging both the headset battery and wireless earbud battery when inserted
into the . . . charger/carrier.” Id. at 8:27–31. The charger/carrier can be
pocket size, providing “a convenient mechanism” to charge the batteries
frequently. Id. at 8:31–33. Since the earbud can have “a relatively small[]
capacity battery due to its limited size,” the pocket charger/carrier provides
the convenience of frequent charging of the earbud “in the absence of a
primary charger.” Id. at 8:31–34. The pocket charger/carrier is portable.
Id. “The primary charger may be a cable or docking facility connecting the



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pocket charger/carrier to a wall outlet or [a] primary batter[y]” to allow a
storage case battery on the pocket charger/carrier to be charged. Id. at
8:52–57.
      The charger/carrier is capable of charging the earbud’s and the
headset’s batteries wirelessly. Ex. 1007, 8:37–40. As a result, “the earbud
advantageously does not require charging contacts on its small exterior
surface when charging is performed with inductive charging.” Id.
                            5. Claims 16 and 17
      Claim 16 depends from claim 1 and recites “wherein the rechargeable
power source comprises a wirelessly chargeable circuit.” Huddart teaches a
wireless battery and enabling circuitry. Ex. 1007, 8:35–50. Petitioner relies
on this teaching to show claim 16. Pet. 80 (citing Ex. 1007, 8:35–50; Ex.
1003 ¶ 160).
      Claim 17 depends from claim 1 and recites “wherein the rechargeable
power source comprises a passive, wireless rechargeable power source.”
Petitioner argues “passive” is described in a prior art United States patent
and is “not inventive.” Pet. 80–81 (citing Ex. 1001, 7:7–9 (referencing US
Patent No. 7,027,311 toVanderelli (Ex. 1012); see also Section III.I.5
(describing Vanderelli).
      According to Petitioner, a person of ordinary skill in the art would
have looked to Huddart “to reduce the number of components needed on
the surface area of small compact Rosener-Hankey/Rosener-Hankey-Dyer
earphones,” thus “eliminating the charging contacts on the surface of the
earphones.” Pet. 78 (citing Ex. 1003 ¶¶ 81–82; Ex. 1007, 8:38–45).
      We find that the prior art teaches each limitation of claims 16 and 17
and that a skilled artisan would have combined the teachings of Rosner,



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Hankey, Huddart, and Dyer. As explained below, Patent Owner’s objective
indicia of nonobviousness is not persuasive. After considering the complete
record, we conclude that Petitioner has shown by a preponderance of the
evidence that claims 16 and 17 would have been obvious over Rosener,
Hankey, and Huddart or over Rosener, Hankey, Dyer, and Huddart.
      I. Obviousness of Claim 17 over Rosener, Hankey, Huddart, and
        Vanderelli or Rosener, Hankey, Dyer, Huddart, and Vanderelli
      Petitioner alleges claim 17 would have been obvious over Rosener,
Hankey, Huddart, and Vanderelli or over Rosener, Hankey, Dyer, Huddart,
and Vanderelli. Pet. 1, 82–85. Petitioner also relies on the Cooperstock
Declaration. Ex. 1003 ¶¶ 166–167. Patent Owner does not dispute
Petitioner’s showing regarding claim 17.
                           1. Rosener (Ex. 1004)
      Rosener was described in Section III.D.1 above.
                           2. Hankey (Ex. 1005)
      Hankey was described in Section III.D.2 above.
                            3. Dyer (Ex. 1006)
      Dyer was described in Section III.D.3 above.
                          4. Huddart (Ex. 1007)
      Huddart was described in Section III.H.4 above.
                         5. Vanderelli (Ex. 1012)
      Vanderelli describes circuitry for wireless charging that converts
radiation energy obtained from “a range of RF radiation” into direct current
(DC) output. Ex. 1012, 1:40–45, Fig. 1.
      The circuitry includes antenna 12 for receiving RF radiation and
inductor 18 for converting RF radiation into a storable form. Ex. 1012,
2:1–58. To allow energy to be obtained from a range of frequencies,


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inductor 18 is divided into taps 20, which are calculated to match “the
inductor’s impedance to [the] desired RF range.” Id. Diodes 26 direct
converted energy to capacitors C1–Cx, where the energy is stored as DC
voltage. Id. “The sum of the voltages available from C1–Cx is stored in
any storage device 28 such as a capacitor [and is] made available for
immediate use.” Id. at 4:9–17
                                6. Claim 17
      Claim 17 is described above in Section III.H. With respect to
Vanderelli, Petitioner argues it would be added to the combination “to
thereby enjoy advantages of obtaining energy from a range of RF
frequencies.” Pet. 85. “[T]he resulting system would have provided
earphones 502, 504, each with a rechargeable power source that may
comprise capacitors passively charged with RF radiation (‘passive, wireless
rechargeable power source’).” Id. (citing Ex. 1003 ¶ 167).
      We find that the prior art teaches each limitation of claim 17 and that
a skilled artisan would have combined the teachings of Rosner, Hankey,
Huddart, Vanderelli, and Dyer. As explained below, Patent Owner’s
objective indicia of nonobviousness are not persuasive. After considering
the complete record, we conclude that Petitioner has shown by a
preponderance of the evidence that claim 17 would have been obvious over
Rosener, Hankey, Huddart, and Vanderelli or over Rosener, Hankey, Dyer,
Huddart, and Vanderelli.
                    J.     Objective Indicia of Nonobviousness
      Patent Owner argues that the sales of Petitioner’s AirPods and
AirPods Pro products (collectively “AirPods Products”) have achieved
significant sales and are thus evidence of commercial success that confirms



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that the ’982 patent claim 1 would not have been obvious. PO Resp. 41
(citing Ex. 204421, 15). Patent Owner also alleges that dependent claims 4,
5, 14, 15, 19, and 20 are embodied by commercially successful products
based on “record evidence” showing that the AirPods Products “when used
with an iPhone as the mobile DAP, possess the elements of these claims.”
Id. at 65 (citing Ex. 101422, 1018–1019,1033–1035, 1038–1039, 1056–
1057, 1071–1073, 1076–1077).
      Notwithstanding what the teachings of the prior art would have
suggested to one skilled in the art, objective evidence of non-obviousness
(so called “secondary considerations”) may lead to a conclusion that the
challenged claims would not have been obvious. In re Piasecki, 745 F.2d
1468, 1471–72 (Fed. Cir. 1984). Objective evidence of non-obviousness
“may often be the most probative and cogent evidence in the record” and
“may often establish that an invention appearing to have been obvious in
light of the prior art was not.” Transocean Offshore Deepwater Drilling,
Inc. v. Maersk Drilling USA, Inc., 699 F.3d 1340, 1349 (Fed. Cir. 2012)
(quoting Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530, 1538 (Fed. Cir.
1983)). Objective evidence may include long-felt but unsolved need,
failure of others, unexpected results, commercial success, copying,
licensing, and praise. See Graham, 383 U.S. at 17–18; Leapfrog Enters.,
Inc. v. Fisher–Price, Inc., 485 F.3d 1157, 1162 (Fed. Cir. 2007).
      Commercial success is typically shown with evidence of “significant
sales in a relevant market.” Ormco Corp. v. Align Tech., Inc., 463 F.3d



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  Available at https://www.businessofapps.com/data/apple-statistics/
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  District Court Lawsuit, “Plaintiff Koss Corporation’s Preliminary
Infringement Contentions” (Ex. 1014).

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1299, 1312 (Fed. Cir. 2006) (citation omitted). “When a patentee can
demonstrate commercial success, usually shown by significant sales in a
relevant market, and that the successful product is the invention disclosed
and claimed in the patent, it is presumed that the commercial success is due
to the patented invention.” J.T. Eaton & Co. v. Atlantic Paste & Glue Co.,
106 F.3d 1563, 1571 (Fed. Cir. 1997).
      To give substantial weight to objective indicia of nonobviousness
such as commercial success, a proponent must establish a nexus between
the evidence and the merits of the claimed invention. ClassCo, Inc. v.
Apple, Inc., 838 F.3d 1214, 1220 (Fed. Cir. 2016). Nexus is a legally and
factually sufficient connection between the objective evidence and the
claimed invention, such that the objective evidence should be considered in
determining non-obviousness. Demaco Corp. v. F. Von Langsdorff
Licensing Ltd., 851 F.2d 1387, 1392 (Fed. Cir. 1988). “[T]here is no nexus
unless the evidence presented is ‘reasonably commensurate with the scope
of the claims.’” ClassCo, 838 F.3d at 1220 (quoting Rambus Inc. v. Rea,
731 F.3d 1248, 1257 (Fed. Cir. 2013)). A patentee is entitled to a
presumption of nexus “when the patentee shows that the asserted objective
evidence is tied to a specific product and that product ‘embodies the
claimed features, and is coextensive with them.’” Fox Factory, Inc. v.
SRAM, LLC, 944 F.3d 1366, 1373 (Fed. Cir. 2019) (quoting Polaris Indus.,
Inc. v. Arctic Cat, Inc., 882 F.3d 1056, 1072 (Fed. Cir. 2018)). “[T]he
patentee retains the burden of proving the degree to which evidence of
secondary considerations tied to a product is attributable to a particular
claimed invention.” Fox Factory, 944 F.3d at 1378. The Federal Circuit
has held that “if the marketed product embodies the claimed features, and is



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coextensive with them, then a nexus is presumed and the burden shifts to
the party asserting obviousness to present evidence to rebut the presumed
nexus.” Brown & Williamson Tobacco Corp. v. Philip Morris Inc., 229
F.3d 1120, 1130 (Fed. Cir. 2000).
      “[T]he purpose of the coextensiveness requirement is to ensure that
nexus is only presumed when the product tied to the evidence of secondary
considerations is the invention disclosed and claimed.” Lectrosonics, Inc.
v. Zaxcom, Inc., IPR2018-01129, Paper 33 at 32 (PTAB Jan. 24, 2020)
(precedential) (citing Fox Factory, 944 F.3d at 1374) (emphasis and
internal quotation marks omitted) (alteration in original). “[T]he degree of
correspondence between a product and the patent claim falls along a
spectrum. At one end of the spectrum lies perfect or near perfect
correspondence. At the other end lies no or very little correspondence.” Id.
(alteration in original). Also, “[a] patent claim is not coextensive with a
product that includes a ‘critical’ unclaimed feature that is claimed by a
different patent and that materially impacts the product’s functionality.” Id.
(citing Fox Factory, 944 F.3d at 1375).
      “A finding that a presumption of nexus is inappropriate does not end
the inquiry into secondary considerations”; rather, “the patent owner is still
afforded an opportunity to prove nexus by showing that the evidence of
secondary considerations is the ‘direct result of the unique characteristics of
the claimed invention.’” Fox Factory, 994 F.3d at 1374 (quoting In re
Huang, 100 F.3d 125, 140 (Fed. Cir. 1996)).
      “Ultimately, the fact finder must weigh the [objective indicia]
evidence presented in the context of whether the claimed invention as a
whole would have been obvious to a skilled artisan.” See Lectrosonics,



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Paper 33 at 33 (citing WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1331–32
(Fed. Cir. 2016)).
      As evidence of commercial success, Patent Owner relies on public
sources to estimate that Petitioner sold: 15 million AirPods in 2017; 35
million AirPods in 2018; 60 million AirPods in 2019; and 114 million
AirPods in 2020. PO Resp. 41 (citing Ex. 204423, 15). Patent Owner
argues that “[a]t $159 USD apiece, that amounts to more than $35 billion in
sales in four years. This estimate is exceedingly great because the
AirPod[s] Products dominate the market for ‘true wireless’ stereo
headphones.” Id. at 43 (citing Ex. 204624, 1). Patent Owner also alleges the
market for wireless headphones is growing, “which is an important
component of . . . commercial success.’” Id. at 43–44 (citing Ex. 2046, 2;
In re Applied Materials, Inc., 692 F.3d 1289, 1300 (Fed. Cir. 2012)).
      Patent Owner argues that nexus exists between the AirPods Products
and claim 1 based on a November 6, 2020, infringement claim chart,
comparing the AirPods Products to the ’982 patent claims, that it had
submitted in the District Court Lawsuit. PO Resp. 44 (citing Ex.1014,
1003–1014 (AirPods Pro), 1041–1052 (AirPods)). Patent Owner also relies
on the instructions to “Connect your AirPods and AirPods Pro to your
iPhone.” Id. at 42–44 (citing Ex. 204525, 1). Patent Owner does not
provide a detailed comparison of the AirPods with the challenged claims in
its Response. Id. at 44–45. Nevertheless, Petitioner does not contest, in this



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   Available at https://www.businessofapps.com/data/apple-statistics/.
24
   Available at https://9to5mac.com/2021/01/27/airpods-dominate-wireless-
headphone-market/.
25
   Available at https://support.apple.com/en-us/HT207010.

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proceeding at least, that its products meet all the claim limitations.
Tr. 66:11–26.
      Petitioner argues that Patent Owner has failed to meet its burden to
establish nexus, because Patent Owner has not shown the required
coextensiveness between the AirPods Products and the claims. Reply 30.
Petitioner argues that Patent Owner does not allege the coextensiveness
aspect of nexus. Id. Petitioner argues the evidence of nexus is based on a
“subset of features recited in claim 1” and the setup process for the AirPods
Products. Id. at 31 (citing PO Resp. 43–44). Petitioner concludes by
arguing the allegations are conclusory and fail to establish a prima facie
nexus. Id. (citing Demaco Corp. v. F. Von Langsdorff Lic. Ltd., 851 F.2d
1387, 1392 (Fed. Cir. 1988)).
      Petitioner also lists several unclaimed features of the AirPods
products including:
      (a) the first-generation AirPods had sensors that “detect when
      AirPods are in ear and can automatically play and pause music”
      [Ex. 2040], (b) the second generation AirPods had a proprietary
      system-in-package (SiP) chip (Apple H1 chip) that delivered
      “performance efficiencies, faster connect times, more talk time”
      [Ex. 2041], (c) the AirPods Pro had adaptive noise cancelling
      feature that “uses two microphones” on a single earphone
      “combined with advanced software. to continuously adapt to
      each individual ear and headphone fit” [Ex. 2042], and (d) all
      AirPods Products “feature the same great battery life . . . with up
      to five hours of listening time” [Ex. 2042].

Reply 31–32; see also id. at 32 (citing Ex. 1025, 240:12–15 (Mr.
McAlexander testifying as to other unclaimed features of the AirPods
Products)).




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      Petitioner also argues Patent Owner’s evidence does not demonstrate
commercial success that results directly from the “unique characteristics” of
the claimed invention. Reply 32 (citing In re Huang, 100 F. 3d 135, 140
(Fed. Cir. 1996)).
      In response, Patent Owner alleges it need not prove the claims are
coextensive with the AirPods Products where there is proof “that the
patentee demonstrate[s] that the product is essentially the claimed
invention.” Sur-Reply 22–23 (citing FOX Factory, 944 F.3d at 1374).
Notwithstanding the preceding argument, Patent Owner contends “several”
of the alleged unclaimed features are claimed. Id. at 23. As an example,
Patent Owner cites unclaimed feature (b) above from the Reply, the “(SiP)
chip (Apple H1 chip),” arguing claim 1 recites a “processor circuit.” Id. at
23. Patent Owner also argues claim 1 recites a “rechargeable battery,” as
meeting the alleged “great battery life” of unclaimed feature (d) above. Id.
Noise cancelling is identified in unclaimed feature (c) above and is argued
as the “sound quality enhancement” of claim 19. Id. Patent Owner argues
it has shown three of the four unclaimed features are claimed. Id.
      We find that Patent Owner has not met its burden of showing the
requisite nexus — that the AirPods Products embody “the claimed features,
and is coextensive with them.” Fox Factory, 944 F.3d at 1373. Patent
Owner’s sole basis for asserting that the AirPods Products embody the
claims is a claim chart from a separate litigation. Ex. 1014, 1003–1014,
1041–1052.
      In any case, we agree with Petitioner that the Response did not allege
the AirPods Products are coextensive with any claim. Reply 30. Further,
Patent Owner misapprehends Fox Factory in alleging coextensiveness is



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not required. See Fox Factory, 944 F.3d at 1376 (“On a broader note, if we
were to agree . . . that the coextensiveness requirement is met so long as the
patent claim broadly covers the product that is the subject of the secondary
considerations evidence, irrespective of the nature of any unclaimed
features — then the coextensiveness requirement would rest entirely on
minor variations in claim drafting.”). Moreover, we are not persuaded that
the alleged unclaimed features, (a) through (d) of the Reply, are claimed.
Patent Owner treats the claim language too broadly. Beyond attorney
argument, we are not presented with proof that a “processor circuit” is
coextensive with a chip is used on the AirPods to enhance “performance
efficiencies, faster connect times, more talk time.” Similarly, “great battery
life” is not swallowed up by a claim limitation to a “rechargeable battery.”
Neither do we agree that Patent Owner has sufficiently shown that “sound
quality enhancement” is noise cancellation.
      Moreover, the question is whether the unclaimed features “materially
impact the functionality of the . . . products.” Fox Factory, 944 F.3d at
1376. Fox Factory did not hold that unclaimed features must be critical to
or for improving the heart of the challenged claims. Rather, we look to
whether the unclaimed features “materially impact[] the product’s
functionality.” Id. at 1375. Thus, when Fox Factory states that “if the
unclaimed features amount to nothing more than additional insignificant
features, presuming nexus may nevertheless be appropriate,” id. at 1374, it
means insignificant to the product, not insignificant to the challenged
claims. Patent Owner does not argue, and has not presented evidence, that
the unclaimed features of AirPods Products are insignificant to, or do not
materially impact, the AirPods Products. In sum, Patent Owner has not



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shown nexus by virtue of the claims being coextensive with the allegedly
successful products.
      As noted above, Patent Owner may still show nexus by showing that
the commercial success of AirPods Products is the direct result of the
unique characteristics of the claimed invention. See Fox Factory, 944 F.3d
at 1373–1374; Huang, 100 F.3d at 140. Although Patent Owner cites case
law regarding nexus based on unique characteristics of the claimed
invention, it does not argue what the characteristics are or provide
supporting evidence. See PO Resp. 42–43 (citing Demaco, 851 F.2d at
1392; Fox Factory, 994 F.3d at 1373–1374).
      Because Patent Owner has not shown a nexus between the claimed
invention and the alleged commercial success, Patent Owner has not made a
persuasive showing that commercial success evidences non-obviousness.
                          IV.    CONCLUSION26
      For the reasons discussed above, Petitioner has shown by a
preponderance of the evidence that claims 1–5 and 14–18 of the ’982 patent
are unpatentable as summarized in the table below. Petitioner has not
shown that challenged claims 19 and 20 are unpatentable.


26
  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue
application or a request for reexamination of the challenged patent, we
remind Patent Owner of its continuing obligation to notify the Board of any
such related matters in updated mandatory notices. See 37 C.F.R.
§§ 42.8(a)(3), (b)(2).


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                                   Appx135
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Patent 10,491,982 B1

     In summary:


  Claims     35 U.S.C. §     Reference(s)/Basis      Claims Shown        Claims Not
                                                      Unpatentable          Shown
                                                                         Unpatentable
                             Rosener, Hankey or          1, 2, 18            19, 20
 1, 2, 18–
                 103          Rosener, Hankey,
     20
                                   Dyer
                              Rosener, Hankey,              3–5
   3–5           103          Haupt or Rosener,
                             Hankey, Dyer, Haupt
                              Rosener, Hankey,
    14           103          Price or Rosener,             14
                             Hankey, Dyer, Price
                              Rosener, Hankey,
                             Paulson or Rosener,
    15           103                                        15
                                Hankey, Dyer,
                                   Paulson
                              Rosener, Hankey,
                             Huddart or Rosener,
  16, 17         103                                      16, 17
                                Hankey, Dyer,
                                   Huddart
                              Rosener, Hankey,
                             Huddart, Vanderelli
    17           103         or Rosener, Hankey,            17
                                Dyer, Huddart,
                                 Vanderelli
Overall
Outcome                                                 1–5, 14–18          19, 20

                                 V.    Order
     In consideration of the foregoing, it is hereby:




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      ORDERED that Petitioner has shown that challenged claims 1–5 and
14–18 are unpatentable;
      FURTHER ORDERED that Petitioner has not shown that challenged
claims 19 and 20 are unpatentable; and
      FURTHER ORDERED that, because this is a Final Written Decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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                                   Appx137
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                                                                                             US010506325B1


(12) Koss
     United      States Patent                                             (10 ) Patent No.: US 10,506,325 B1
          et al.                                                           (45 ) Date of Patent: * Dec. 10 , 2019
(54 ) SYSTEM WITH WIRELESS EARPHONES                                  (56 )                   References Cited
(71) Applicant: Koss Corporation , Milwaukee , WI                                       U.S. PATENT DOCUMENTS
                   (US )                                                      5,784,685 A       7/1998 Stanford et al.
                                                                              6,006,115 A      12/1999 Wingate
(72 ) Inventors: Michael J. Koss, Milwaukee, WI (US );                                            (Continued )
                 Michael J. Pelland , Princeton , WI
                 (US ); Michael Sagan , Fairfield , CA                              FOREIGN PATENT DOCUMENTS
                 (US); Steven R. Reckamp, Crystal
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                 Sterling , IL (US); Morgan J. Lowery ,                                           (Continued )
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(73 ) Assignee : KOSS CORPORATION , Milwaukee,
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( * ) Notice :     Subject to any disclaimer , the term of this                                  ( Continued )
                   patent is extended or adjusted under 35
                   U.S.C. 154 (b ) by 0 days.
                   This patent is subject to a terminal dis           Primary Examiner — Kiet M Doan
                   claimer .                                          (74 ) Attorney, Agent, or Firm — K & L Gates LLP
(21) Appl. No.: 16 /528,703                                           (57)                       ABSTRACT
(22) Filed :     Aug. 1, 2019                                         Apparatus comprises adapter and speaker system . Adapter is
             Related U.S. Application Data                            configured to plug into port of personal digital audio player .
                                                                      Speaker system is in communication with adapter, and
(63 ) Continuation of application No. 16 /375,879, filed on           comprises multiple acoustic transducers , programmable pro
      Apr. 5 , 2019, which is a continuation of application           cessor circuit, and wireless communication circuit . In first
                           (Continued )                               operational mode , processor circuit receives, via adapter,
                                                                      and processes digital audio content from personal digital
( 51 ) Int. CI.                                                       audio player into which adapter is plugged , and the multiple
      H04R 1/10                  ( 2006.01 )                          acoustic transducers output the received audio content from
      H04W 48/20                 (2009.01 )                           the personal digital audio player. In second operational
                           (Continued )                               mode , wireless communication circuit receives digital audio
(52 ) U.S. Ci.                                                        content from a remote digital audio source over a wireless
      CPC             H04R 1/1041 ( 2013.01); HOZG 3/02               network , processor circuit processes the digital audio con
                     ( 2013.01 ); H03K 17/9622 ( 2013.01 );           tent received from remote digital audio source , and the
                        (Continued )                                  multiple acoustic transducers output the audio content
(58 ) Field of Classification Search                                  received from the remote digital audio source .
      CPC         HO4R 2201/107; HO4R 1/02; HO4R 5/033
                           (Continued )                                                 18 Claims, 16 Drawing Sheets

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                                                                  1                                                      APPLE 1001



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                                                                   Page 2

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                                            FIG . 1A
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                                            FIG . 1B
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                                     FIG . 1C




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           106 -A



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                               FIG . 1D



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                                       106 - A
                               FIG . 1E
                                        6



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                            ADHOCWIREL S   NETWORK                              FIG
                                                                                2A
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    Case: 22-2091                                      Document: 20                                    Page: 217                    Filed: 11/28/2022




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                                                                                  Appx146
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U.S. Patent                                                       Dec. 10 , 2019                                                                      Sheet 7 of 16                                                                             US 10,506,325 B1




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                                                                                                                                                            32a
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                                      102
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                            POWER SOURCE
                                                                                                    116
                                                                * . *** W       *** ww           ********** ****** ***** ***** ***
                                                                                                                                                               2
                                                                                                                                                             8
                             POWER SOURCE                                                                                                                   40

                                CONTROL                                             MICRO                                         DSP
                                                                            PROCESSOR                                                                              - 118
                                                                                                                             MMU
                                     USB                        **          *        *   *   *        * *   *          *      *   *   * Y   Y   Y   Y   Y
                                                                                                                                                              8
                                                                                                                                                            YY :    124
                    130
                                                                         BASEBAND                                                     MEMORY
                126
                                      28                 112            PROCESSOR                                                                                  -120

       MICROPHONE             ADC           DAC                                                                                       NON
104                                                                                                                               VOLATILE
                               128                125
                                                                                                                                  MEMORY                             22


                                    TRANSDUCER (S)                                   ANTENNA
                                             106                                                 108

                                             FIG . 3



                                                        11



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                                                   10




                                     202
                                                                200



                                 FIG . 4A

                                                           10


                                           210




                                 FIG . 4B



                                           12



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     CURRENT
    DATA RATE
                                           UPDATE OK TO BE
                                           SENT WIRELESSLY ?        -50
     SIZE OF
     UPDATE
                                     YES                       NO

                          TRANSMIT                             TRANSMIT UPDATE TO
                          UPDATE           -52                 EARPHONE VIA HOST    51
                        WIRELESSLY                                 COMPUTER


                                       FIG . 5




                                           13



                                     Appx150
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                    61
                                                                                            63
              COMMUNICATE            NO         con
                                                           3         +




                                                                                                                      00
            VAAD HOC WIRELESS                                                                                         *




                                                                                                                      on

                NETWORK ?                       ***

                                                **
                                                  1
                                                                                                                      **
                                                                                                                      **
                     YES        62              ***
                                                **
                                                ***
                                                ***
                                                co
                                                **                                                                    **

     EXCHANGE DATA REGARDING LOCAL
       INFRASTRUCTURE NETWORKS
                                                 1

                                                                         nin PRIORITY
                                          YES                     INFRASTRUCTURE
                                                                 WIRELESS NETWORK
                                                ***
                                                **                   AVAILABLE ?
                                                       M       WWWMMWW




                           COMMUNICATE VIAnth                                           n EQUALS        NO
                  INFRASTRUCTURE WIRELESS NETWORK                                  NUMBER OF PRIORITIZED              ***




                                                                                          NETWORKS ?                  **
                                                                                                                      ***
                                                                                                                      **

                                            64                                                  YES
                                                                                                                      ***
                                                                                                                      **


                                                                                                      EN
                                                                                                                 M
                                                                                                                      **


      YES       INFRASTRUCTURE
               WIRELESS NETWORK                 65
                      OK ?                                           CONNECT TO HOST SERVER
                   NO
                                                                         HOST SERVER SENDS
                                                                              IP ADDRESS                   -67

                                                        EARPHONE CONNECT TO STREAMING                                68
                                                       DIGITAL AUDIO CONTENT SERVER USING
                                                                     P ADDRESS

                                                               YES                               NO
                                                                          LOSE CONNECTION ?



                                            FIG . 6
                                                      14



                                          Appx151
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                                   IRNATEDRINEOT SHEORVSETR
                            -70a
                                                                                              RINATEDRINOT SHEORSVETR


42
                  NETWORK                                       w     ??
                                                                                                                                  3       3   3             3 3
                                                                                                                                                                                      $
                                                                                                                                                                                           §
                                                                                                                                                                                                                   .
                                                                                                                                                                                                                   FIG
                                                                                                                                                                                                                   7




                                                                    33
                                                                                          NETWORK
                                                                                                                                  32
                                                                                                                                                                                               RBiAmTOaMnEt
                                                  30



                                                                3
                                                                    ww ** **   19 3   5
                                                                                          3


                                                                                              *   3
                                                                                                      ** *              3
                                                                                                                             **   1   3
                                                                                                                                          ** an w   3   3   3

                                                                                                                                                                ** w ?   33
                                                                                                                                                                              ** ** w no   3

                                                                                                                                                                                                ***

                                                                                                                                                                                                              10


     SHEORSVETR


                                                                                                                        15



                                                                                                  Appx152
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                                                                                                                                                                                                                 ***


                                  *




                          30b
                                  $

                                      !
                                                   336
                                                                                                  NETWORK                                             320                                                        *




                                                                                                                                                                                                                  1



                                                                                                                                                                                                                  #
                                                                                                                                                                                                                      !




                                  1
                                                                 Y*     * *         * *   *                 *            *       *        *                                 * ***   *** ** .   ** *




                NETWORK                    3
                                           3
                                                                                              W         WWW WWW
                                                                                                                             w        ************ ************ *** W War W                                  *
                                                                                                                                                                                                                            3
                                                                                                                                                                                                                            3
                                                                                                                                                                                                                          ????


                                          UM
                                           3
                                               3
                                                                                                                                                                                                                                    FIG
                                                                                                                                                                                                                                    8
                                                                                                                                                                                                                                    .
                           30a                                                                                                                         32a                                                                ***




                                          som

                                           3
                                          **
                                            3
                                                         33a
                                                                                                       NETWORK                                                                                                                  1




                                          ???
                                          **

                                                   E '   )   I        ET CE M   1    TE TE         >    *        IL CI       1       PE       SE ET   Er   FE          ET               *




   SHEORVSETR



                                                                                                                                     16



                                                                                                            Appx153
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                       10




                                                 92
                                       104


                                FIG . 9



                                       17



                                     Appx154
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                                                           10b
                         10a                  24
              Z




                                 FIG . 10




                                       18



                                     Appx155
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               10                                          10




                                            150

                                        -152


                                FIG . 11




                                       19



                                     Appx156
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                                                   US 10,506,325 B1
                                                                                               2
      SYSTEM WITH WIRELESS EARPHONES                                                        SUMMARY
                     PRIORITY CLAIM                                     In one general aspect, the present invention is directed to
                                                                     a wireless earphone that comprises a transceiver circuit for
    The present application claims priority as a continuation 5 receiving streaming audio from a data source, such as a
to U.S. nonprovisional patent application Ser. No. 16/375 , digital audio player or a computer , over an ad hoc wireless
879, filed Apr. 5 , 2019, which is a continuation of U.S. network . When the data source and the earphone are out of
nonprovisional patent application Ser. No. 16 /182,927, filed range via the ad hoc wireless network , they may transition
Nov. 7 , 2018 , which is a continuation of U.S. nonprovisional automatically to a common infrastructure wireless network
patent application Ser. No. 15 / 962,305 , filed Apr. 25 , 2018 , 10 (e.g., a wireless LAN ). If there is no common infrastructure
now U.S. Pat. No. 10,206,025 , which is a continuation of wireless network for both the data source and the earphone ,
U.S. nonprovisional patent application Ser . No. 15 /650,362 , the earphone may connect via an available infrastructure
filed Jul. 14 , 20 now U.S. Pat. No. 9,986,325 , issued May wireless network a host server. The host server may, for
29 , 2018, which is a continuation of U.S. nonprovisional example , broadcast streaming audio to the earphone and /or
patent application Ser. No. 15 /293,785, filed Oct. 14 , 2016 , 15 transmit to the earphone a network address (e.g. , an Internet
now U.S. Pat. No. 9,729,959, issued Aug. 8 , 2017 , which is Protocol (IP ) address ) for a network -connected content
a continuation of U.S.nonprovisional patent application Ser. server that streams digital audio . The earphone may then
No. 15 /082,040, filed Mar. 28, 2016 , now U.S. Pat. No. connect to the content server using the IP address. The
 9,497,535 , issued Nov. 15 , 2016 , which is a continuation of content server may be an Internet radio server, including , for
U.S. nonprovisional patent application Ser.No. 14/695,696 , 20 example , an Internet radio server that broadcasts streaming
filed Apr. 24 , 2015 , now U.S. Pat. No. 9,438,987 , issued on      audio from the data source or some other content.
Sep. 6 , 2016 , which is a continuation of U.S. nonprovisional   These and other advantageous, unique aspects of the
patent application Ser. No. 13/609,409, filed Sep. 11, 2012 , wireless earphone are described below .
now U.S. Pat. No. 9,049,502 , issued Jun . 2 , 2015 , which is
a continuation of U.S. nonprovisional patent application Ser. 25                      FIGURES
No. 13 /459,291, filed Apr. 30 , 2012 , now U.S. Pat. No.
8,571,544, issued Oct. 29 , 2013 , which is a continuation of           Various embodiments of the present invention are
U.S. patent application Ser. No. 12/ 936,488 , filed Dec. 20 , described herein by way of example in conjunction with the
2010 , now U.S. Pat. No. 8,190,203 , issued May 29 , 2012 , following figures, wherein :
which is a national stage entry of PCT/US2009/039754 , 30 FIGS . 1A - 1E are views of a wireless earphone according
filed Apr. 7 , 2009, which claims priority to U.S. provisional to various embodiments of the present invention ;
patent application Ser.No.61/ 123,265, filed Apr. 7 , 2008 , all       FIGS. 2A - 2D illustrate various communication modes for
of which are incorporated herein by reference in their a wireless earphone according to various embodiments of
entireties .                                                        the present invention;
                                                                 35    FIG . 3 is a block diagram of a wireless earphone accord
             CROSS -REFERENCE TO RELATED                             ing to various embodiments of the present invention ;
                       APPLICATIONS                                    FIGS . 4A -4B show the wireless earphone connected to
                                                                    another device according to various embodiments of the
   U.S. nonprovisional patent application Ser. No. 14/031, present invention ;
938, filed Sep. 13 , 2013 , now U.S. Pat. No. 8,655,420 , 40 FIG . 5 is a diagram of a process implemented by a host
issued Feb. 18 , 2014 , is also a continuation ofU.S. nonpro         server according to various embodiments of the present
visional patent application Ser. No. 13/609,409 , filed Sep. invention ;
 11, 2012 , now U.S. Pat. No. 9,049,502 ,mentioned above .             FIG . 6 is a diagram of a process implemented by the
                                                                    wireless earphone to transition automatically between wire
                       BACKGROUND                                45 less networks according to various embodiments of the
                                                                    present invention ;
   Digital audio players, such as MP3 players and iPods, that          FIGS. 7, 8 and 10 illustrate communication systems
store and play digital audio files, are very popular . Such involving the wireless earphone according to various
devices typically comprise a data storage unit for storing and embodiments of the present invention ;
playing the digital audio , and a headphone set that connects 50 FIG . 9 is a diagram of a headset including a wireless
to the data storage unit , usually with a 14" or a 3.5 mm jack earphone and a microphone according to various embodi
and associated cord . Often the headphones are in -ear type ments of the present invention ; and
headphones. The cord , however, between the headphones                 FIG . 11 is a diagram of a pair of wireless earphones with
and the data storage unit can be cumbersome and annoying a dongle according to various embodiments of the present
to users, and the length of the cord limits the physical 55 invention .
distance between the data storage unit and the headphones .
Accordingly , some cordless headphones have been pro                                       DESCRIPTION
posed, such as the Monster iFreePlay cordless headphones
from Apple Inc., which include a docking port on one of the             In one general aspect, the present invention is directed to
earphones that can connect directly to an iPod Shuffle. 60 a wireless earphone that receives streaming audio data via ad
Because they have the docking port, however, the Monster hoc wireless networks and infrastructure wireless networks,
iFreePlay cordless headphones from Apple are quite large and that transitions seamlessly between wireless networks .
and are not in -ear type phones. Recently , cordless head            The earphone may comprise one or more in -ear, on -ear, or
phones that connect wirelessly via IEEE 802.11 to a WLAN            over -ear speaker elements . Two exemplary in -ear earphone
ready laptop or personal computer (PC) havebeen proposed, 65 shapes for the wireless earphone 10 are shown in FIGS. 1A
but such headphones are also quite large and not in -ear type and 1B , respectively , although in other embodiments the
phones.                                                             earphone may take different shapes and the exemplary
                                                                 20



                                                         Appx157
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shapes shown in FIGS. 1A and 1B are not intended to be              does not comprise the transceiver circuit . The embodiment
 limiting. In one embodiment, the earphone transitions auto          shown in FIG . 1C comprises on -ear earphones 10 ; in other
matically and seamlessly , without user intervention , embodiments, in -ear or over -ear earphones may be used .
between communication modes. That is , the earphone may                 In other embodiments, the earphone 10 may comprise a
transition automatically from an ad hoc wireless network to 5 hanger bar 17 that allows the earphone 10 to clip to , or hang
an infrastructure wireless network , without user interven           on , the user's ear, as shown in the illustrated embodiment of
tion . As used herein , an " ad hoc wireless network " is a FIGS. 1D - 1E . FIG . 1D is a perspective view of the earphone
network where two ( or more ) wireless -capable devices, such and FIG . 1E is a side view according to one embodiment. As
as the earphone and a data source , communicate directly and shown in the illustrated embodiment, the earphone 10 may
wirelessly, without using an access point. An “ infrastructure 10 comprise dual speaker elements 106 - A , 106 -B . One of the
wireless network ,” on the other hand, is a wireless network speaker elements (the smaller one ) 106 - A is sized to fit into
that uses one or more access points to allow a wireless              the cavum concha of the listener's ear and the other element
capable device , such as the wireless earphone , to connect to ( the larger one) 106 -B is not. The listener may use the
 a computer network , such as a LAN or WAN (including the hanger bar to position the earphone on the listener's ear. In
Internet).                                                        15 that connection , the hanger bar may comprise a horizontal
    FIGS. 1A and 1B show example configurations for a section that rests upon the upper external curvature of the
wireless earphone 10 according to various embodiments of listener's ear behind the upper portion of the auricula (or
the present invention . The examples shown in FIGS. 1A and pinna ). The earphone may comprise a knurled knob that
1B are not limiting and other configurations are within the allows the user to adjust finely the distance between the
scope of the present invention . As shown in FIGS . 1A and 20 horizontal section of the hanger bar and the speaker ele
 1B , the earphone 10 may comprise a body 12. The body 12 ments , thereby providing, in such embodiments, another
may comprise an ear canal portion 14 that is inserted in the measure of adjustability for the user. More details regarding
ear canal of the user of the earphone 10. In various embodi          such a dual element, adjustable earphone may be found in
ments , the body 12 also may comprise an exterior portion 15 U.S. provisional patent application Ser. No. 61/054,238,
that is not inserted into user's ear canal . The exterior portion 25 which is incorporated herein by reference in its entirety.
 15 may comprise a knob 16 or some other user control ( such            FIGS. 2A -2D illustrate various communication modes for
as a dial , a pressure-activated switch , lever, etc.) for adjust a wireless data communication system involving the ear
 ing the shape of the ear canal portion 14. That is, in various phone 10 according to embodiments of the present inven
embodiments, activation (e.g. rotation) of the knob 16 may tion . As shown in FIG . 2A , the system comprises a data
cause the ear canal portion 14 to change shape so as to , for 30 source 20 in communication with the earphone 10 via an ad
example, radially expand to fit snugly against all sides of the hoc wireless network 24. The earphone 10 , via its trans
user's ear canal. Further details regarding such a shape ceiver circuit (described in more detail below ), may com
changing earbud earphone are described in application PCT/ municate wirelessly with a data source 20 , which may
US08 /88656 , filed 31 Dec. 2008 , entitled “ Adjustable Shape comprise a wireless network adapter 22 for transmitting the
Earphone,” which is incorporated herein by reference in its 35 digital audio wirelessly. For example, the data source 20
entirety . The earphone 10 also may comprise a transceiver may be a digital audio player (DAP), such as an mp3 player
circuit housed within the body 12. The transceiver circuit, or an iPod , or any other suitable digital audio playing device ,
described further below , may transmit and receive the wire          such as a laptop or personal computer, that stores and/or
 less signals, including receive streaming audio for playing plays digital audio files. In other embodiments, the data
by the earphone 10. The transceiver circuit may be housed 40 source 20 may generate analog audio , and the wireless
in the exterior portion 15 of the earphone 10 and /or in the ear network adapter 22 may encode the analog audio into digital
canal portion 14 .                                                    format for transmission to the earphone 10 .
    Although the example earphones 10 shown in FIGS. 1A                  The wireless network adapter 22 may be an integral part
and 1B include a knob 16 for adjusting the shape of the ear of the data source 20 , or it may be a separate device that is
canal portion 14 , the present invention is not so limited , and 45 connected to the data source 20 to provide wireless connec
in other embodiments , different means besides a knob 16 tivity for the data source 20. For example , the wireless
may be used to adjust the ear canal portion 14. In addition , network adapter 22 may comprise a wireless network inter
 in other embodiments, the earphone 10 may not comprise a face card (WNIC ) or other suitable transceiver that plugs
 shape -changing ear canal portion 14 .                              into a USB port or other port or jack of the data source 20
    In various embodiments, the user may wear two discrete 50 ( such as a TRS connector) to stream data , e.g., digital audio
wireless earphones 10 : one in each ear. In such embodi files, via a wireless network (e.g., the ad hoc wireless
ments, each earphone 10 may comprise a transceiver circuit. network 24 or an infrastructure wireless network ). The
 In such embodiments , the earphones 10 may be connected digital audio transmitted from the data source 20 to the
by a string or some other cord -type connector to keep the earphone 10 via the wireless networks may comprise com
 earphones 10 from being separated .                              55 pressed or uncompressed audio . Any suitable file format
    In other embodiments, as shown in FIG . 1C , a headband may be used for the audio , including mp3 , lossy or lossless
 19 may connect the two ( left and right) earphones 10. The WMA , Vorbis , Musepack , FLAC , WAV, AIFF , AU , or any
headband 19 may be an over-the -head band, as shown in the other suitable file format.
example of FIG . 1C , or the headband may be a behind-the               When in range, the data source 20 may communicate with
head band . In embodiments comprising a headband 19 , each 60 the earphone 10 via the ad hoc wireless network 24 using
earphone 10 may comprise a transceiver circuit; hence , each any suitable wireless communication protocol, including
 earphone 10 may receive and transmit separately the wire Wi-Fi (e.g. , IEEE 802.11a/b / g/n ), WiMAX (IEEE 802.16 ),
less communication signals. In other embodiments compris             Bluetooth , Zigbee , UWB, or any other suitable wireless
ing a headband 19 , only one earphone 10 may comprise the communication protocol. For purposes of the description to
 transceiver circuit , and a wire may run along the headband 65 follow , it is assumed that the data source 20 and the earphone
 19 to the other earphone 10 to connect thereby the trans            10 communicate using a Wi- Fi protocol, although the inven
ceiver circuit to the acoustic transducer in the earphone that      tion is not so limited and other wireless communication
                                                                 21



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protocols may be used in other embodiments of the inven            Using the received IP address, the earphone 10 may connect
tion . The data source 20 and the earphone 10 are considered to the streaming digital audio content server 70 via the
in range for the ad hoc wireless network 24 when the signal        networks 30a , 42 to receive and process digital audio from
strengths (e.g., the RSSI) of the signals received by the two the streaming digital audio content server 70 .
devices are above a threshold minimum signal strength 5 The digital audio content server 70 may be, for example,
level. For example, the data source 20 and the earphone 10 an Internet radio station server. The digital audio content
are likely to be in range for an ad hoc wireless network when server 70 may stream digital audio over the network 42 (e.g.,
then are in close proximity, such as when the wearer of the the Internet), which the earphone 10 may receive and
earphone 10 has the data source 20 on his/her person , such process. In one embodiment, the streaming digital audio
as in a pocket, strapped to their waist or arm , or holding the 10 content server 70 may stream digital audio received by the
data source in their hand .                                        streaming digital audio content server 70 from the data
   When the earphone 10 and the data source 20 are out of source 20. For example , where the data source 20 is a
range for the ad hoc wireless network 24 , that is, when the wireless-capable device, such as a portable DAP , the data
received signals degrade below the threshold minimum               source 20 may connect to the streaming digital audio content
signal strength level, both the earphone 10 and the data 15 server 70 via a wireless network 30b and the network 42.
source 20 may transition automatically to communicate over Alternatively, where for example the data source 20 is
an infrastructure wireless network (such as a wireless LAN non -wireless-capable device , such as a PC , the data source
(WLAN )) 30 that is in the range of both the earphone 10 and 20 may have a direct wired connection to the network 42 .
the data source 20, as shown in FIG . 2B . The earphone 10 After being authenticated by the streaming digital audio
and the data source 20 (e.g. , the wireless network adapter 20 content server 70 , the data source 20 may stream digital
22 ) may include firmware , as described further below , that audio to the streaming digital audio content server 70 , which
cause the components to make the transition to a common may broadcast the received digital audio over the network
infrastructure wireless network 30 automatically and seam      42 (e.g., the Internet). In such a manner, the user of the
lessly, e.g., without user intervention . The earphone 10 may earphone 10 may listen to audio from the data source 20
cache the received audio in a buffer or memory for a time 25 even when (i) the earphone 10 and the data source 20 are not
period before playing the audio . The cached audio may be in communication via an ad hoc wireless network 24 and (ii)
played after the connection over the ad hoc wireless network the earphone 10 and the data source 20 are not in commu
is lost to give the earphone 10 and the data source 20 time      nication via a common local infrastructure wireless network
to connect via the infrastructure wireless network .            30 .
   For example , as shown in FIG . 2B , the infrastructure 30 FIG . 3 is a block diagram of the earphone 10 according to
network may comprise an access point 32 that is in the range various embodiments of the present invention . In the illus
of both the data source 20 and the earphone 10. The access trated embodiment, the earphone 10 comprises a transceiver
point 32 may be an electronic hardware device that acts as circuit 100 and related peripheral components . As shown in
a wireless access point for, and that is connected to , a wired FIG . 3, the peripheral components of the earphone 10 may
and /or wireless data communication network 33, such as a 35 comprise a power source 102 , a microphone 104 , one or
LAN or WAN , for example. The data source 20 and the             more acoustic transducers 106 (e.g., speakers ), and an
earphone 10 may both communicate wirelessly with the             antenna 108. The transceiver circuit 100 and some of the
access point 32 using the appropriate network data protocol peripheral components (such as the power source 102 and
(a Wi- Fi protocol, for example ). The data source 20 and the the acoustic transducers 106 ) may be housed within the body
earphone 10 may both transition automatically to an agreed- 40 12 of the earphone 10 (see FIG . 1 ). Other peripheral com
upon WLAN 30 that is in the range of both devices when ponents, such as the microphone 104 and the antenna 108
they cannot communicate satisfactorily via the ad hoc wire may be external to the body 12 of the earphone 10. In
less network 24. A procedure for specifying an agreed -upon addition , some of the peripheral components , such as the
infrastructure wireless network 30 is described further microphone 104 , are optional in various embodiments .
below . Alternatively , the infrastructure wireless network 30 45 In various embodiments, the transceiver circuit 100 may
may have multiple access points 32a-b , as shown in FIG . be implemented as a single integrated circuit ( IC ), such as a
 2C . In such an embodiment, the data source 20 may com          system -on -chip (SOC ), which is conducive to miniaturizing
municate wirelessly with one access point 32b and the the components of the earphone 10 , which is advantageous
 earphone 10 may communicate wirelessly with another if the earphone 10 is to be relatively small in size , such as
 access point 32a of the same infrastructure wireless network 50 an in -ear earphone (see FIGS . 1A - 1B for example ). In
 30. Again , the data source 20 and the earphone 10 may alternative embodiments , however, the components of the
transition to an agreed -upon WLAN .                             transceiver circuit 100 could be realized with two or more
   If there is no suitable common infrastructure wireless        discrete ICs or other components, such as separate ICs for
network over which the earphone 10 and the data source 20 the processors, memory, and RF ( e.g., Wi-Fi) module , for
can communicate , as shown in FIG . 2D , the earphone 10 55 example .
may transition to communicate with an access point 32a for        The power source 102 may comprise , for example , a
an available (first ) wireless network (e.g., WLAN ) 30a that rechargeable or non -rechargeable battery (or batteries). In
is in the range of the earphone 10. In this mode, the earphone other embodiments, the power source 102 may comprise one
10 may connect via the wireless network 30a to a network       or more ultracapacitors (sometimes referred to as superca
enabled host server 40. The host server 40 may be connected 60 pacitors) that are charged by a primary power source. In
to the wireless network 30a via an electronic data commu         embodiments where the power source 102 comprises a
nication network 42 , such as the Internet. In one mode , the rechargeable battery cell or an ultracapacitor, the battery cell
host server 40 may transmit streaming digital audio via the or ultracapacitor, as the case may be ,may be charged for use ,
networks 33a , 42 to the earphone 10. In another mode , the for example, when the earphone 10 is connected to a
host server 40 may transmit to the earphone 10 a network 65 docking station or computer. The docking station may be
address, such as an Internet Protocol (IP ) address , for a connected to or part of a computer device, such as a laptop
streaming digital audio content server 70 on the network 42 . computer or PC . In addition to charging the rechargeable
                                                              22



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power source 102 , the docking station and /or computer may docking station 200. In addition , the external device may be
 facilitate downloading of data to and /or from the earphone a DAP 210 , as shown in FIG . 4B . In that way, the earphone
 10. In other embodiments , the power source 102 may 10 could connect directly to a data source 20 , such as the
comprise capacitors passively charged with RF radiation, DAP 210 or the computer 202 , through the USB port 130 .
 such as described in U.S. Pat . No. 7,027,311 . The power 5 In addition , through the USB port 130 , the earphone 10 may
 source 102 may be coupled to a power source control connect to a PC 202 or docking station 202 to charge up the
module 103 of transceiver circuit 100 that controls and            power source 102 and/or to get downloads (e.g., data or
monitors the power source 102 .                                    firmware ).
    The acoustic transducer (s ) 106 may be the speaker ele
ment(s ) for conveying the sound to the user of the earphone 10 haveAccording        to various embodiments, the earphone 10 may
                                                                          an associated web page that a user may access through
 10. According to various embodiments , the earphone 10 may the host           server 40 ( see FIG . 2D ) or some other server. An
 comprise one or more acoustic transducers 106. For embodi
ments having more than one transducer, one transducermay authenticated                user could log onto the website from a client
be larger than the other transducer, and a crossover circuit computing device 50 ( e.g., laptop , PC , handheld computer
(not shown) may transmit the higher frequencies to the 15 access   device, theetc.,web
                                                                                    including   the data source 20) (see FIG . 2D ) to
                                                                                          page for the earphone 10 to set various
smaller transducer and may transmit the lower frequencies
to the larger transducer.More details regarding dual element profile values for the earphone 10. For example , at the web
 earphones are provided in U.S. Pat. No. 5,333,206 , assigned site , the user could set various content features and filters, as
 to Koss Corporation , which is incorporated herein by ref         well as adjust various sound control features , such as treble ,
 erence in its entirety .                                       20 bass , frequency settings , noise cancellation settings, etc. In
    The antenna 108 may receive and transmit the wireless addition , the user could set preferred streaming audio sta
 signals from and to the wireless networks 24 , 30. A RF ( e.g., tions, such as preferred Internet radio stations or other
 Wi-Fi) module 110 of the transceiver circuit 100 in com           streaming audio broadcasts. Thatway, instead of listening to
munication with the antenna 108 may , among other things, streaming audio from the data source 20 , the user could
modulate and demodulate the signals transmitted from and 25 listen to Internet radio stations or other streaming audio
received by the antenna 108. The RF module 110 commu broadcasts received by the earphone 10. In such an operating
nicates with a baseband processor 112 ,which performsother mode, the earphone user, via the web site, may prioritize a
 functions necessary for the earphone 10 to communicate number of Internet radio stations or other broadcast sources
 using the Wi- Fi (or other communication ) protocol.              (hosted by streaming digital audio content servers 70 ). With
    The  baseband   processor 112  may be  in communication     30
with a processor unit 114 , which may comprise a micropro address  reference to FIG . 7, the host server 40 may send the IP
 cessor 116 and a digital signal processor (DSP ) 118. The                   for the earphone user's desired (e.g., highest prior
microprocessor 116 may control the various components of itythe) earphone
                                                                        Internet radio station to the earphone 10. A button 11 on
                                                                                     10 , such as on the rotating dial 16 as shown in
 the transceiver circuit 100. The DSP 114 may , for example ,
perform various sound quality enhancements to the digital 35 the
                                                             cycleexamples
                                                                    through oftheFIGS. 1Apreferred
                                                                                  preset   and 1B ,Internet
                                                                                                   may allowradiothestations
                                                                                                                     user to.
audio received by the baseband processor 112 , including
noise cancellation and sound equalization . The processor That is, for example , when the user presses the button 11 , an
unit 114 may be in communication with a volatile memory electronic communication may be transmitted to the host
unit 120 and a non - volatile memory unit 122. A memory server 40 via the wireless network 30 , and in response to
management unit 124 may control the processor unit's 40 receiving the communication , the host server 40 may send
access to the memory units 120 , 122. The volatile memory the IP address for the user's next highest rated Internet radio
 122 may comprise , for example , a random access memory station via the network 42 to the earphone 10. The earphone
(RAM ) circuit. The non -volatile memory unit 122 may 10 may then connect to the streaming digital audio content
comprise a read only memory (ROM ) and /or flash memory server 70 for that Internet radio station using the IP address
circuits. Thememory units 120 , 122 may store firmware that 45 provided by the host server 40. This process may be
is executed by the processor unit 114. Execution of the repeated , e.g., cycled through , for each preset Internet radio
firmware by the processor unit 114 may provide various station configured by the user of the earphone 10 .
functionality for the earphone 10 , such as the automatic        At the web site for the earphone 10 hosted on the host
transition between wireless networks as described herein . server 40 , in addition to establishing the identification of
 Thememory units 120 , 122 may also cache received digital 50 digital audio sources (e.g., IDs for the user's DAP or PC )
audio .                                                          and earphones, the user could set parental or other user
   A digital- to - analog converter (DAC ) 125 may convert the controls. For example, the user could restrict certain Internet
digital audio from the processor unit 114 to analog form for radio broadcasts based on content or parental ratings , etc.
coupling to the acoustic transducer(s) 106. An IPS interface That is , for example , the user could configure a setting
126 or other suitable serial or parallel bus interface may 55 through the web site that prevents the host server 40 from
provide the interface between the processor unit 114 and the sending an IP address for a streaming digital audio content
DAC 125. An analog - to -digital converter (ADC ) 128 , which server 70 that broadcasts explicit content based on a rating
also communicates with the I’S interface 126 , may convert for the content. In addition , if a number of different ear
analog audio signals picked up by the microphone 104 for phones 10 are registered to the same user, the user could
processing by the processor unit 114 .                        60 define separate controls for the different earphones 10 (as
   The transceiver circuit 100 also may comprise a USB or well as customize any other preferences or settings particu
other suitable interface 130 that allows the earphone 10 to be lar to the earphones 10 , including Internet radio stations ,
connected to an external device via a USB cable or other sound quality settings, etc. that would later be downloaded
suitable link . As shown in FIG . 4A , the external devicemay to the earphones 10 ). In addition , in modes where the host
be a docking station 200 connected to a computer device 65 server 40 streams audio to the earphone 10 , the host server
202. Also , in various embodiments, the earphone 10 could 40 may log the files or content streamed to the various
be connected directly to the computer 202 without the earphones 10 , and the user could view at the web site the
                                                                  23



                                                           Appx160
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files or content that were played by the earphones 10. In that    the performance of the earphone 10 will be adversely
way, the user could monitor the files played by the earphones     affected , the host server 40 may refrain from pushing the
10 .                                                              update to the earphone 10 wirelessly and wait instead to
  In addition , the host server 40 may provide a so -called download the update to the client computing device 202 at
eavesdropping function according to various embodiments . 5 step 51. Conversely , if the host server 40 determines that,
The eavesdropping service could be activated via the web given the size of the update and the current data rate for the
site . When the service is activated , the host server 40 may         earphone 10 that the performance of the earphone 10 will not
transmit the content that it is delivering to a first earphone be adversely affected , the host server 40 may transmit the
10a to another, second earphone 106, as shown in FIG . 8 . update wirelessly to the earphone 10 at step 52.
Alternatively , the host server 40 may transmit to the second 10 As mentioned above , the processor unit 114 of the speak
earphone 10b the most recent IP address for a streaming erphones 14 may be programmed , via firmware stored in the
digital audio content server 70 that was sent to the first memory 120 , 122 , to have the ability to transition automati
earphone 10a . The second earphone 10b may then connect cally from the ad hoc wireless network 24 to an infrastruc
to the streaming digital audio content server 70 that the first ture wireless network 30 (such as a WLAN ) when the
earphone 10a is currently connected . That way, the user of 15 quality of the signal on the ad hoc wireless network 24
the second earphone 10b , which may be a parent, for degrades below a suitable threshold (such as when the data
example, may directly monitor the contentbeing received by source 20 is out of range for an ad hoc wireless network ). In
the first earphone 10a , which may belong to a child of the that case , the earphone 10 and the data source 20 may
parent.                                                         connect to a common infrastructure wireless network (e.g.,
    This function also could be present in the earphones 10 20 WLAN ) ( see, for example , FIGS. 2B -2C ). Through the web
themselves, allowing a parent (or other user ) to join an site for the earphone 10 , described above, the user could
ad -hoc wireless network and listen to what their child (or specify a priority of infrastructure wireless networks 30 for
other listener ) is hearing . For example , with reference to the data source 20 and the earphone 10 to connect to when
FIG . 10 , a first earphone 10a may receive wireless audio , the ad hoc wireless network 24 is not available. For example ,
such as from the data source 20 or some other source, such 25 the user could specify a WLAN servicing his/her residence
as the host server 40. The first earphone 10a may be first, a WLAN servicing his /her place of employment sec
programmed with firmware to broadcast the received audio ond, etc. During the time that the earphone 10 and the data
to a second earphone 10b via an ad hoc wireless network 24 . source 20 are connected via the ad hoc wireless network 24 ,
 That way, the wearer of the second earphone 10b can the earphone 10 and the data source 20 may exchange data
monitor in real-time the content being played by the first 30 regarding which infrastructure networks are in range. When
earphone 10a.                                                 the earphone 10 and the data source 20 are no longer in range
   At the web site, the user may also specify the identifica      for the ad hoc wireless network 24 (that is , for example , the
tion number (" ID " ) of their earphone (s ) 10 , and the host    signals between the device degrade below an acceptable
server 40 may translate the ID to the current internet            level), they may both transition automatically to the highest
protocol (IP ) addresses for the earphone 10 and for the data 35 prioritized infrastructure wireless network whose signal
source 20. This allows the user to find his or her data source        strength is above a certain threshold level. That way, even
20 even when it is behind a firewall or on a changing IP though the earphone 10 and the data source 20 are out of
address. That way , the host server 40 can match the audio range for the ad hoc wireless network 24 , the earphone 10
from the data source 20 to the appropriate earphone 10 based may still receive the streaming audio from the data source 20
on the specified device ID . The user also could specify a 40 via the infrastructure wireless network 30 (see FIGS.
number of different data sources 20. For example, the user's 2B - 2C ) .
DAP may have one specified IP address and the user's home             When none of the preferred infrastructure networks is in
(or work ) computer may have another specified IP address. range , the earphone 10 may connect automatically to the
Via the web site hosted by the host server 40 , the user could host server 40 via an available infrastructure wireless net
specify or prioritize from which source ( e.g. , the user's DAP 45 work 30 (see FIG . 2 ), e.g., the infrastructure wireless
or computer) the earphone 10 is to receive content.                network 30 having the highest RSSI and to which the
    The host server 40 (or some other server ) may also push earphone 10 is authenticated to use . The host server 40 , as
firmware upgrades and/or data updates to the earphone 10 mentioned above, may transmit IP addresses to the earphone
using the IP addresses of the earphone 10 via the networks 10 for streaming digital audio content servers 70 or the host
30 , 42. In addition , a user could download the firmware 50 sever 40 may stream digital audio to the earphone 10 itself
upgrades and /or data updates from the host server 40 to the when in this communication mode .
client computing device 202 ( see FIG . 4A ) via the Internet,        FIG . 6 is a diagram of the process flow , according to one
and then download the firmware upgrades and /or data embodiment, implemented by the transceiver circuit 100 of
updates to the earphone 10 when the earphone 10 is con             the earphone 10. The process shown in FIG . 6 may be
nected to the client computer device 202 (such as through a 55 implemented in part by the processor unit 114 executing
USB port and /or the docking station 200 ).                        firmware stored in amemory unit 120 , 122 of the transceiver
   Whether the downloads are transmitted wirelessly to the circuit 100. At step 61 , the earphone 10 may determine if it
earphone 10 or via the client computing device 202 may can communicate with the data source 20 via an ad hoc
depend on the current data rate of the earphone 10 and the wireless network 24. That is, the earphone 10 may determine
quantity of data to be transmitted to the earphone 10. For 60 if the strength of the wireless signals from the data source 20
example , according to various embodiments , as shown in the exceed some minimum threshold . If so , the data source 20
process flow of FIG . 5 , the host server 40 may be pro            and the earphone 10 may communicate wirelessly via the ad
grammed, at step 50, to make a determination , based on the hoc wireless network 24 (see FIG . 2A ). While in this
current data rate for the earphone 10 and the size of the communication mode, at step 62, the data source 20 and the
update, whether the update should bepushed to the earphone 65 earphone 10 also may exchange data regarding the local
10 wirelessly ( e.g., via the WLAN 30a in FIG . 2D ). If the infrastructure wireless networks, if any , in the range of the
update is too large and / or the current data rate is too low that data source 20 and the earphone 10 , respectively. For
                                                                 24



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example , the earphone 10 may transmit the ID of local                 In various embodiments, as shown in FIG . 1B , the button
infrastructure wireless networks 30 that the earphone 10 can 11 or other user selection device that allows the wearer of the
detect whose signal strength (e.g. , RSSI) exceeds some earphone 10 to indicate approval and/or disapproval of
minimum threshold level. Similarly, the data source 20 may songs or other audio files listened to by the wearer over an
transmit the ID the local infrastructure wireless networks 30 5 Internet radio station . The approval/disapproval rating ,
that the data source 20 can detect whose signal strength ( e.g. , along with metadata for the song received by the earphone
RSSI) exceeds some minimum threshold level. The ear 10 with the streaming audio , may be transmitted from the
phone 10 may save this data in a memory unit 120 , 122. transceiver circuit 100 of the earphone 10 back to the host
Similarly, the data source 20 may store in memory the server 40 , which may log the songs played as well as the
wireless networks that the earphone 10 is detected .             10 ratings for the various songs/audio files. In addition to being
   The data source 20 and the earphone 10 may continue to able to view the logs at the website, the host server 40 (or
communicate via the ad hoc wireless network mode 24 until some other server ) may send an email or other electronic
they are out of range (e.g., the signal strengths degrade communication to the earphone user, at a user specified
below a minimum threshold level). If an ad hoc wireless email address or other address , which the user might access
network 24 is not available at block 61, the transceiver 15 from their client communication device 50 ( see FIG . 2D ) .
 circuit 100 and the data source 20 may execute a process, The email or other electronic communication may contain a
shown at block 63 , to connect to the user's highest priori         listing of the song/audio files for which the user gave
tized infrastructure wireless network 30. For example , of the     approval ratings using the button 11 or other user selection
infrastructure wireless networks whose signal strength             device . Further, the email or other electronic communication
exceeded the minimum threshold for both the earphone 10 20 may provide a URL link for a URL at which the user could
and the data source 20 determined at step 62 , the earphone download song/audio files that the user rated (presumably
10 and the data source 20 may both transition to the song/audio files for which the user gave an approval rating ).
infrastructure wireless network 30 having the highest prior In some instances, the user may be required to pay a fee to
ity , as previously set by the user (seen FIGS. 2B -2C , for download the song /audio file .
example ). For example, if the user's highest prioritized 25 The user song ratings also may be used by the host server
infrastructure wireless network 30 is not available, but the       40 to determine the user's musical preferences and offer new
user's second highest prioritized infrastructure wireless net      music that the user might enjoy. More details about gener
work 30 is, the earphone 10 and the data source 20 may both        ating user play lists based on song ratings may be found in
transition automatically to the user's second highest priori       published U.S. patent applications Pub . No. 2006/0212444 ,
tized infrastructure wireless network 30 at block 64. As 30 Pub . No. 2006/0206487 , and Pub . No. 2006/0212442 , and
shown by the loop with block 65 , the earphone 10 and the U.S. Pat. No. 7,003,515 , which are incorporated herein by
data source 20 may continue to communicate via one of the reference in their entirety .
user's prioritized infrastructure wireless networks 30 as long In addition or alternatively, the user could log onto a web
as the infrastructure wireless network 30 is available . If the     site hosted by the host server 40 (or some other server) to
infrastructure wireless network becomes unavailable , the 35 view the approval/disapproval ratings that the user made via
process may return to block 61 .                                       the button 11 on the earphone 10. The web site may provide
   If, however, no ad hoc wireless network and none of the             the user with the option of downloading the rated songs /
user's prioritized infrastructure wireless networks are avail          audio files ( for the host server 40 or some other server
able , the earphone 10 may transition automatically to con         system ) to their client computer device 50. The user could
nect to the host server 40 at block 66 (see FIG . 2D ) using an 40 then have their earphone 10 connect to their client computer
available infrastructure wireless network 30. At block 67 ,        device 50 as a data source 20 via an ad hoc wireless network
the host server 40 may transmit an IP address to the earphone          24 (see FIG . 2A ) or via an infrastructure wireless network
10 for one of the streaming digital audio content servers 70, (see FIGS . 2B -2D ) to listen to the downloaded songs. In
and at block 68 the earphone 10 may connect to the addition , the user could download the song files from their
streaming digital audio content server 70 using the received 45 client computer device 50 to their DAP and listen to the
IP address . At step 69 , as long as the earphone 10 is downloaded song files from their DAP by using their DAP
connected to the streaming digital audio content server 70 , as the data source 20 in a similar manner .
the earphone 10 may continue to communicate in this mode .         Another application of the headsets may be in vehicles
However , if the earphone 10 loses its connection to the equipped with Wi- Fi or other wireless network connectivity .
digital audio content server 70 , the process may return to 50 Published PCT application WO 2007/136620 , which is
block 61 in one embodiment. Asmentioned above, at block incorporated herein by reference, discloses a wireless router
67 , instead of sending an IP address for a streaming digital          for providing a Wi-Fi or other local wireless network for a
audio content server 70 , the host server 40 may stream            vehicle , such as a car, truck , boat, bus, etc. In a vehicle
digital audio to the earphone 10. The user, when configuring       having a Wi- Fi or other local wireless network , the audio for
their earphone 10 preferences via the web site , may specify 55 other media systems in the vehicle could be broadcast over
and / or prioritize whether the host server 40 is to send IP the vehicle's wireless network . For example, if the vehicle
addresses for the streaming digital audio content servers 70 comprises a DVD player, the audio from the DVD system
and/or whether the host server 40 is to stream audio to the            could be transmitted to the router and broadcast over the
earphone 10 itself.                                            vehicle's network . Similarly , the audio from terrestrial radio
   In another embodiment, the earphone 10 may be pro- 60 stations, a CD player , or an audio cassette player could be
grammed to transition automatically to the host server 40 broadcast over the vehicle's local wireless network . The
when the earphone 10 and the data source 20 are not in vehicle's passengers , equipped with the earphones 10 , could
communication via the ad hoc wireless network 24. That is, cycle through the various audio broadcasts (including the
in such an embodiment, the earphone 10 may not try to broadcasts from the vehicle's media system as well as
connect via a local infrastructure wireless network 30 with 65 broadcasts from the host server 40 , for example ) using a
the data source 20, but instead transition automatically to selection button 11 on the earphone 10. The vehicle may also
connect to the host server 40 ( see FIG . 2D ).                be equipped with a console or terminal, etc., through which
                                                                  25



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a passenger could mute all of the broadcasts for direct voice receiving and transmitting wireless signals via the antenna
communications , for example .                                  108 , and the transceiver circuit 100 is for outputting the
   As described above, the earphones 10 may also include a electrical signal to the at least one acoustic transducer 106 .
microphone 104 , as shown in the example of FIG . 9. The The wireless transceiver circuit also comprises firmware ,
headset 90 shown in FIG.9 includes two earphones 10 , both 5 which when executed by the transceiver circuit, causes the
of which may include a transceiver circuit 100 or only one transceiver circuit to : (i) receive digital audio wirelessly
of which may include the transceiver circuit, as discussed from a data source 20 via an ad hoc wireless network 24
above. The microphone 104 could be used to broadcast when the data source 20 is in wireless communication range
 communications from one earphone wearer to another ear with the earphone 10 via the ad hoc wireless network 24 ; and
phone wearer . For example , one wearer could activate the 10 ( ii ) when the data source 20 is not in wireless communica
microphone by pressing a button 92 on the headset 90. The tion range with the earphone 10 via the ad hoc wireless
headset 90 may then transmit a communication via an ad hoc network 24 , transition automatically to receive digital audio
wireless network 24 or other wireless network to a nearby via an infrastructure wireless network 30 .
recipient (or recipients) equipped with a headset 90 with a        According to various implementations, the data source
transceiver circuit 100 in one or both of the earphones 10. 15 may comprise a portable digital audio player, such as an
When such communication is detected by the recipient's MP3 player, iPod , or laptop computer, or a nonportable
headset 90 , the streaming audio received over the wireless digital audio player, such as a personal computer. In addi
network by the recipient's headset 90 may be muted , and the tion , the transceiver circuit 100 may comprise : (i) a wireless
intercom channel may be routed to the transducer(s ) of the communication module 110 (such as a Wi-Fi or other
recipient's headset 90 for playing for the recipient. This 20 wireless communication protocol module ); ( ii ) a processor
 functionality may be valuable and useful where multiple unit 114 in communication with the wireless communication
wearers of the headsets 90 are in close proximity, such as on module 110 ; (iii ) a non - volatile memory unit 122 in com
motorcycles, for example .                                     munication with the processor unit 114 ; and (iv ) a volatile
   Another exemplary use of the earphones 10 is in a factory, memory 120 unit in communication with the processor unit
warehouse , construction site , or other environment that 25 114. The infrastructure wireless network may comprise a
might be noisy . Persons ( e.g., workers ) in the environment WLAN . The transceiver circuit 100 may receive digital
could use the earphones 10 for protection from the surround          audio from the data source 20 via the infrastructure wireless
ing noise of the environment. From a console or terminal, a          network 30 when the data source 20 is not in wireless
person (e.g., a supervisor) could select a particular recipient communication range with the earphone 10 via the ad hoc
 for a communication over the Wi-Fi network (or other local 30 wireless network 24. The transceiver circuit firmware, when
wireless network ). The console or terminal may have but executed by the transceiver circuit 100 , may cause the
tons, dials, or switches, etc., for each user/recipient, or it transceiver circuit 100 of the earphone 10 to transition
could have one button or dial through which the sender automatically to a pre - set infrastructure wireless network 30
could cycle through the possible recipients. In addition , the that the data source 20 transitions to when the data source 20
console or terminal could have a graphical user interface , 35 is not in wireless communication range with the earphone 10
through which the sender may select the desired recipient(s). via the ad hoc wireless network 24 and when the pre -set
   As mentioned above , the earphones 10 may comprise a infrastructure wireless network 30 is in range of both the
USB port. In one embodiment, as shown in FIG . 11 , the user earphone 10 and the data source 20. In addition , the trans
may use an adapter 150 that connects to the USB port of ceiver circuit firmware, when executed by the transceiver
each earphone 10. The adapter 150 may also have a plug 40 circuit 100 , may cause the transceiver circuit 100 of the
connector 152 , such as a 3.5 mm jack , which allows the user earphone 10 to transmit data via the ad hoc wireless network
to connect the adapter 150 to devices having a correspond     24 to the data source 20 regarding one ormore infrastructure
ing port for the connector 152. When the earphones 10 detect wireless networks 30 detected by the transceiver circuit 100
a connection via their USB interfaces in such a manner, the when the earphone 10 and the data source 20 are commu
Wi-Fi (or other wireless protocol) components may shut 45 nicating via the ad hoc wireless network 24 .
down or go into sleep mode, and the earphones 10 will route        In addition , the transceiver circuit firmware, when
standard headphone level analog signals to the transducer(s ) executed by the transceiver circuit 100 , may cause the
106. This may be convenient in environments where wire          transceiver circuit 100 of the earphone 10 to connect to a
less communications are not permitted , such as airplanes , host server 40 via an available infrastructure wireless net
but where there is a convenient source of audio contact. For 50 work 30 when the data source 20 is not in wireless com
example , the adapter 150 could plug into a person's DAP. munication range with the earphone 10 via the ad hoc
The DSP 118 of the earphone 10 may still be operational in wireless network 24. The earphone 10 may receive stream
such a non -wireless mode to provide noise cancellation and ing digital audio from the host server 40 via the infrastruc
any applicable equalization .                                       ture wireless network 30. In addition, the earphone 10 may
   The examples presented herein are intended to illustrate 55 receive a first network address for a first streaming digital
potential and specific implementations of the embodiments . audio content server 70 from the host server 40 via the
It can be appreciated that the examples are intended primar infrastructure wireless network 30. In addition, the earphone
ily for purposes of illustration for those skilled in the art. No 10 may comprise a user control, such as button 11 , dial ,
particular aspect of the examples is/ are intended to limit the pressure switch , or other type of user control, that, when
scope of the described embodiments.                              60 activated , causes the earphone 10 to transmit an electronic
  According to various embodiments , therefore , the present         request via the infrastructure wireless network 30 to the host
invention is directed to an earphone 10 that comprises a             server 40 for a second network address for a second stream
body 12 , where the body 12 comprises: (i) at least one              ing digital audio content server 70 .
acoustic transducer 106 for converting an electrical signal to            In other embodiments , the present invention is directed to
sound ; (ii) an antenna 108 ; and ( iii ) a transceiver circuit 100 65 a system that comprises: (i) a data source 20 for wirelessly
in communication with the at least one acoustic transducer           transmitting streaming digital audio ; and ( ii ) a wireless
106 and the antenna 108. The transceiver circuit 100 is for            earphone 10 that is in wireless communication with the data
                                                                  26



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source 20. In yet other embodiments, the present invention                 In addition , according to various embodiments, the first
is directed to a communication system that comprises: (i) a earphone 10a may comprise a first data port and the second
host server 40; ( ii ) a first streaming digital audio content earphone 10b may comprise a second data port. In addition ,
server 70 that is connected to the host server 40 via a data the headset may further comprise an adapter or dongle 150
network 42; and ( iii ) a wireless earphone 10 that is in 5 connected to the first data port of the first earphone 10a and
communication with the host server 40 via a wireless to the second data port of the second earphone 10b , wherein
network 30. The host server 40 is programmed to transmit to connecting  the adapter 150 comprises an output plug connector 152 for
the earphone 10 a first network address for the first stream                          to a remote device.
ing digital audio content server 70 on the data network 42 .               In  addition , according to other embodiments, the present
The host server 40 and the streaming digital audio content 10 (invention            is directed to a method
                                                                         i) receiving,by a wireless           that,comprises
                                                                                                       earphone                the steps
                                                                                                                    via an ad hoc        of:
                                                                                                                                   wireless
server (s ) 70 each may comprise one or more processor network                    , digital audio from a data source when the data
circuits and one or more memory circuits ( e.g. , ROM                   source is in wireless communication with the earphone via
circuits and /or RAM circuits ).
   In yet another embodiment, the present invention is 15 the                ad hoc wireless network ; ( ii ) converting , by the wireless
                                                                        earphone, the digital audio to sound ; and (iii ) when the data
directed to a headset that comprises: (i) a first earphone 10a source is not in wireless communication with the earphone,
that comprises one or more acoustic transducers 10b for transitioning automatically , by the earphone, to receive
converting a first electrical signal to sound ; and ( ii ) a second digital audio via an infrastructure wireless network .
earphone 10b , connected to the first earphone 10a , wherein               In various implementations, the step of transitioning
the  second   earphone  106   comprises   one  or more      acoustic 20 automatically    by the earphone to receive digital audio via an
transducers 10b for converting a second electrical signal to infrastructure wireless network may comprises transitioning
sound . In one embodiment, the first earphone 10a com                   automatically to receive digital audio from the data source
prises: (i) a first antenna 108; and ( ii ) a first transceiver via an infrastructure wireless network when the data source
circuit 100 in communication with the one or more acoustic is not in wireless communication range with the earphone
transducers 106 of the first earphone 10a and in communi- 25 via the ad hoc wireless network . In addition , the method may
cation with the first antenna 108. The first transceiver circuit          further comprise the step of receiving by the wireless
100 is for receiving and transmitting wireless signals via the          earphone from the data source via the ad hoc wireless
first antenna 108 , and for outputting the first electrical signal        network data regarding one ormore infrastructure wireless
to the one or more acoustic transducers 10b of the first networks detected by data source when the earphone and the
earphone 10a . The first transceiver circuit 100 also may 30 data source are communicating via the ad hoc wireless
comprise firmware , which when executed by the first trans network .
ceiver circuit 100 , causes the first transceiver circuit 100 to :   In addition , the step of transitioning automatically by the
(i) receive digital audio wirelessly from a data source 20 via earphone receive digital audio via an infrastructure wire
an ad hoc wireless network 24 when the data source 20 is in        less network comprises may transitioning automatically to
wireless communication range with the first earphone 10a 35 receive digital audio from a host sever via the infrastructure
via the ad hoc wireless network 24 ; and ( ii ) when the data wireless network when the data source is not in wireless
source 20 is not in wireless communication range with the communication range with the earphone via the ad hoc
first earphone 10a via the ad hoc wireless network 24 , wireless network . Additionally , the step of transitioning
transition automatically to receive digital audio via an automatically by the earphone to receive digital audio via an
infrastructure wireless network 30 .                          40 infrastructure wireless network may comprise: (i) receiving ,
   In various implementations, the headset further may com       by the wireless earphone via the infrastructure wireless
prise a head band 19 that is connected to the first and second network , from a host server connected to the infrastructure
earphones 10. In addition , the headset 19 further may wireless network , a network address for a streaming digital
comprise a microphone 104 having an output connected to audio content server; and (ii) connecting , by the wireless
the first transceiver circuit 100. In one embodiment, the first 45 earphone, to the streaming digital audio content server using
transceiver circuit 100 is for outputting the second electrical           the network address received from the host server.
signal to the one or more acoustic transducers 106 of the                    It is to be understood that the figures and descriptions of
second earphone 10b . In another embodiment, the second                 the embodiments have been simplified to illustrate elements
earphone 10b comprises: (i) a second antenna 108 ; and ( ii ) that are relevant for a clear understanding of the embodi
a second transceiver circuit 100 in communication with the 50 ments , while eliminating, for purposes of clarity , other
one ormore acoustic transducers 106 of the second earphone elements. For example , certain operating system details for
 10b and in communication with the second antenna 108. The the various computer - related devices and systems are not
second transceiver circuit 100 is for receiving and transmit    described herein . Those of ordinary skill in the art will
ting wireless signals via the second antenna 108 , and for recognize, however , that these and other elements may be
outputting the second electrical signal to the one or more 55 desirable in a typicalprocessor or computer system . Because
acoustic transducers 106 of the second earphone 10b . The such elements are well known in the art and because they do
second transceiver circuit 100 may comprise firmware, not facilitate a better understanding of the embodiments , a
which when executed by the second transceiver circuit 100 , discussion of such elements is not provided herein .
causes the second transceiver circuit 100 to : (i) receive         In general , it will be apparent to one of ordinary skill in
digital audio wirelessly from the data source 20 via the ad 60 the art that at least some of the embodiments described
hoc wireless network 24 when the data source 20 is in herein may be implemented in many different embodiments
wireless communication range with the second earphone of software, firmware and /or hardware . The software and
 10b via the ad hoc wireless network 24 ; and (ii) when the firmware code may be executed by a processor or any other
data source 20 is not in wireless communication range with similar computing device. The software code or specialized
the second earphone 10b via the ad hoc wireless network 24 , 65 control hardware that may be used to implement embodi
transition automatically to receive digital audio via the ments is not limiting. For example , embodiments described
infrastructure wireless network 30 .                            herein may be implemented in computer software using any
                                                                     27



                                                             Appx164
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suitable computer software language type . Such software            intended to include all such modifications, alterations, and
may be stored on any type of suitable computer -readable            adaptationswithout departing from the scope of the embodi
medium or media , such as , for example , a magnetic or             ments as set forth herein .
optical storage medium . The operation and behavior of the            What is claimed is :
embodiments may be described without specific reference to 5            1. Headphones comprising:
specific software code or specialized hardware components .             a pair of first and second wireless earphones to be worn
 The absence of such specific references is feasible , because             simultaneously by a user, wherein the first and second
it is clearly understood that artisans of ordinary skill would             earphones are separate such that when the headphones
be able to design software and control hardware to imple                   are worn by the user, the first and second earphones are
ment the embodiments based on the present description with 10              not physically connected , wherein each of the first and
no more than reasonable effort and without undue experi                    second earphones comprises:
mentation .                                                                a body portion ;
   Moreover, the processes associated with the present                     an earbud extending from the body portion that is
embodiments may be executed by programmable equip                           inserted into an ear of the user when worn by the
ment, such as computers or computer systems and /or pro- 15                 user;
 cessors . Software that may cause programmable equipment                 a curved hanger bar connected to the body portion ,
to execute processes may be stored in any storage device ,                  wherein the curved hanger bar comprises a portion
such as , for example, a computer system (nonvolatile )                     that rests upon an upper external curvature of an ear
memory, an optical disk , magnetic tape, or magnetic disk .                 of the user behind an upper portion of an auricula of
Furthermore, at least some of the processes may be pro- 20                  the ear of the user ;
grammed when the computer system is manufactured or                       a wireless communication circuit for receiving and
stored on various types of computer -readable media .                       transmitting wireless signals ;
   A “ computer ," " computer system ,” "host,” “ host server ,"          a processor circuit connected to the wireless commu
" server,” or “ processor” may be, for example and without                  nication circuit;
limitation , a processor, microcomputer, minicomputer , 25                at least one acoustic transducer for producing audible
 server, mainframe, laptop , personal data assistant (PDA ),                 sound from the earbud ;
wireless e-mail device, cellular phone, pager , processor, fax            a microphone for picking up utterances of a user of the
machine , scanner , or any other programmable device con                     headphones;
figured to transmit and /or receive data over a network . Such            an antenna connected to the wireless communication
components may comprise : one or more processor circuits ; 30                circuit; and
and one more memory circuits , including ROM circuits and                 a rechargeable power source; and
RAM circuits. Computer systems and computer-based                       a docking station for holding at least the first wireless
devices disclosed herein may include memory for storing                   earphone , wherein the docking station comprises a
certain software applications used in obtaining , processing,             power cable for connecting to an external device to
and communicating information . It can be appreciated that 35             power the docking station , and wherein the docking
such memory may be internal or external with respect to                   station is for charging at least the first wireless ear
operation of the disclosed embodiments . The memory may                   phone when the first wireless earphone is placed in the
also include any means for storing software , including a hard            docking station .
disk , an opticaldisk , floppy disk , ROM (read only memory ),          2. The headphones of claim 1, wherein :
RAM (random access memory ), PROM (programmable 40 the wireless communication circuits are for receiving,
ROM ), EEPROM ( electrically erasable PROM ) and /or other wirelessly, streaming audio content;
computer-readable media .                                       the at least one acoustic transducers are for playing the
   In various embodiments disclosed herein , a single com          streaming audio content; and
ponent may be replaced by multiple components and mul           each of the first and second earphones comprises a buffer
tiple components may be replaced by a single component to 45        for caching the streaming audio content prior to being
perform a given function or functions. Except where such           played by the at least one acoustic transducer.
substitution would not be operative , such substitution is       3. The headphones of claim 1 , wherein the processor
within the intended scope of the embodiments. Any servers circuit for the first earphone is for, upon activation of a user
described herein , such as the host server 40 , for example , control of the headphones , initiating transmission of a
may be replaced by a “ server farm ” or other grouping of 50 request to a remote network server that is remote from the
networked servers ( such as server blades ) that are located headphones .
and configured for cooperative functions. It can be appre       4. The headphones of claim 3 , wherein the processor
ciated that a server farm may serve to distribute workload circuit of the first earphone is further for receiving a
between /among individual components of the farm and may response to the request.
expedite computing processes by harnessing the collective 55 5. The headphones of claim 1 , wherein the processor
and cooperative power of multiple servers. Such server circuits are configured to transition from playing streaming
farms may employ load balancing software that accom             audio content received wirelessly from a first digital audio
plishes tasks such as, for example , tracking demand for source via a first communication link to playing streaming
processing power from differentmachines, prioritizing and audio content received wirelessly from a second digital
scheduling tasks based on network demand and /or providing 60 audio source via a second communication link based on, at
backup contingency in the event of component failure or least in part, a signal strength for the second wireless
reduction in operability .                                      communication link .
   While various embodiments have been described herein ,         6. The headphones of claim 5 , wherein :
it should be apparent that various modifications, alterations ,    the wireless communication circuits are for receiving ,
and adaptations to those embodiments may occur to persons 65         wirelessly, streaming audio content;
skilled in the art with attainment of at least some of the              the at least one acoustic transducers are for playing the
advantages. The disclosed embodiments are therefore                        streaming audio content; and
                                                                   28



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                            19                                                             20
  each of the first and second earphones comprises a buffer        13. The headphones of claim 12 , wherein :
    for caching the streaming audio content prior to being         the wireless communication circuits are for receiving ,
     played by the at least one acoustic transducer.                 wirelessly, streaming audio content;
  7. The headphones of claim 6 , wherein the processor           the at least one acoustic transducers are for playing the
circuit of each of the first and second earphones comprises: 5      streaming audio content; and
   a digital signal processor that provides a sound quality      each of the first and second earphones comprises a buffer
      enhancement for the audio content played by the at            for caching the streaming audio content prior to being
                                                                    played by the at least one acoustic transducer.
      least one acoustic transducers of the earphone; and         14. The headphones of claim 10 , wherein :
   a baseband processor circuit that is in communication 10 the wireless communication circuits are for receiving ,
      with the wireless communication circuit of the ear            wirelessly, streaming audio content;
      phone .                                                    the at least one acoustic transducers are for playing the
   8. The headphones of claim 7 , wherein the rechargeable          streaming audio content; and
power source comprises a passive , wireless rechargeable         each of the first and second earphones comprises a buffer
power source .                                                15
                                                                     for caching the streaming audio content prior to being
   9. The headphones of claim 1, the processor circuits ofthe       played by the at least one acoustic transducer.
headphones are configured to receive firmware upgrades circuit    15. The headphones of claim 1, wherein the processor
transmitted from a remote network server.
                                                                       of the first earphone is configured to :
                                                                 process audible utterances by the user picked by the
   10. The headphones of claim 9 , wherein the headphone            microphone in response to activation of themicrophone
are configured to receive the firmware upgrades wirelessly. 20      by the user; and
    11. The headphones of claim 10 , wherein the processor       transmit a communication based on the audible utterances
circuits are configured to transition from playing streaming        via the Bluetooth wireless communication links .
                                                                 16. The headphones of claim 1, wherein the rechargeable
audio content received wirelessly from a first digital audio power
source via a first communication link to playing streaming             source comprises wirelessly chargeable circuit com
audio content received wirelessly from a second digital 25 ponents17.
                                                                        .
                                                                      The  headphones of claim 1, wherein the rechargeable
audio source via a second communication link based on , at power source
least in part, a signal strength for the second wireless power source . comprises a passive, wireless rechargeable
communication link .                                             18. The headphones of claim 1, wherein the processor
   12. The headphones of claim 11, wherein the processor 30 circuit of each of the first and second earphones comprises :
circuit of each of the first and second earphones comprises:     a digital signal processor that provides a sound quality
   a digital signal processor that provides a sound quality         enhancement for the audio content played by the at
      enhancement for the audio content played by the at            least one acoustic transducers of the earphone ; and
      least one acoustic transducers of the earphone ; and       a baseband processor circuit that is in communication
   a baseband processor circuit that is in communication 35         with the wireless communication circuit of the ear
      with the wireless communication circuit of the ear            phone.
      phone.




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(12) Koss
     United      States Patent                                            (10 ) Patent No.: US 10,491,982 B1
          et al.                                                          (45 ) Date of Patent: * Nov. 26 , 2019
(54 ) SYSTEM WITH WIRELESS EARPHONES                                 (56 )                    References Cited
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                  This patent is subject to a terminal dis           Primary Examiner — Kiet M Doan
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(21) Appl. No.: 16 /528,701                                          (57)                         ABSTRACT
(22) Filed :     Aug. 1, 2019                                        Apparatus comprises adapter and speaker system . Adapter is
             Related U.S. Application Data                           configured to plug into port of personal digital audio player .
                                                                     Speaker system is in communication with adapter, and
(63 ) Continuation of application No. 16 /375,879, filed on          comprises multiple acoustic transducers , programmable pro
      Apr. 5 , 2019, which is a continuation of application          cessor circuit, and wireless communication circuit . In first
                          (Continued )                               operational mode , processor circuit receives, via adapter,
                                                                     and processes digital audio content from personal digital
( 51 ) Int. CI.                                                      audio player into which adapter is plugged , and the multiple
      HO4R 3/00                 ( 2006.01)                           acoustic transducers output the received audio content from
      H04R 1/10                 (2006.01 )                           the personal digital audio player. In second operational
                          (Continued )                               mode , wireless communication circuit receives digital audio
(52 ) U.S. Ci.                                                       content from a remote digital audio source over a wireless
      CPC             H04R 1/1041 ( 2013.01); HOZG 3/02              network , processor circuit processes the digital audio con
                      (2013.01 ); HO3K 17/9622 (2013.01 );           tent received from remote digital audio source , and the
                        (Continued )                                 multiple acoustic transducers output the audio content
(58 ) Field of Classification Search                                 received from the remote digital audio source .
      CPC ... H04R 1/1016 ; HO4R 25/554; H04R 1/1008
                          (Continued )                                               20 Claims, 16 Drawing Sheets




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                                             FIG . 1A
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                                             FIG . 1B

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                                     FIG . 1C




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                                       FIG . 1D


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                                       FIG . 1E
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                          ADHOCWIREL S   YUOMEN                             FIG
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                                                         Appx175
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     -70
           DSTIRGEAMINLG CASOEUNRDTVEINORT                     50

                                                                                           *** KK           saa * **      ?? *** ** ** M. *** SA **                 TRF *** **    !
                                                                                                                                                                                      KA             ** * W                                     20

                                                                                                                                                                                                                 ** *
                                                                                                                                                                                                                                 DATA
                                                                                                                                                                                                                                 ponySO22URCE
                                                                    30b   10          W
                                                                                      W
                                                                                                                                         32b

                                                                                      IK
                                                                                      W            {        }                 3

                                                                                                                                         *   3            {       }   1           1   {
                                                                                                                                                                                               ***       1       í
                                                                                                                                                                                                                        W
       42
                                              NETWORK                                      3   3   }

                                                                                                       ma   3

                                                                                                                w                 3          3
                                                                                                                                                 { 3          3   3           3   3       $                  3   .
                                                                                                                                                                                                                 3
                                                                                                                                                                                                                                                2D
                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                FIG

                                                                                **
                                                                                                                                       32?                                                                       W*ow
                                                                30a        .

                                                                               phot
                                                                                      33a
                                                                                                                    NETWORK
                                                                                           5



                                                                                               ??   1

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                                                                                                                                                     ??       wer   5



                                                                                                                                                                        ???   3

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                                                                                                                                                                                           3



                                                                                                                                                                                                         *
                                                                                                                                                                                                                            10
                                             40

                                                  SHEORSVETR



                                                                                                                                    10



                                                                                                                     Appx176
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                                                                      10
                                    102
                                    L
                          POWER SOURCE
                                                                      116
                                                                               /
                          POWER SOURCE
                            CONTROL                             MICRO         DSP
                                                              PROCESSOR                     118
                                                                                            124
                                   USB
                  130
                                                               BASEBAND         MEMORY
                  126              28                 112     PROCESSOR                    -120

         MICROPHONE                       DAC
   104                                                           RF            VOLATILE
                                                                               MEMORY       122
                             128                125

                                                                       110
                               TRANSDUCER (S )                  ANTENNA

                                           106                     108

                                           FIG . 3




                                                      11



                                           Appx177
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                                 202
                                       ?                ? 200

                               FIG . 4A



                                       210




                               FIG . 4B



                                        12



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        CURRENT
       DATA RATE      ?                    UPDATE OK TO BE
                                           SENT WIRELESSLY ?         50
         SIZE OF
        UPDATE
                                     YES                       NO


                             TRANSMIT                          TRANSMIT UPDATE TO
                             UPDATE                            EARPHONE VIA HOST
                           WIRELESSLY       -52                    COMPUTER         51

                                        FIG . 5




                                           13



                                     Appx179
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                         61
                                                                                           63
                   COMMUNICATE             NO
                 VIAAD HOC WRELESS                    40
                      NETWORK ?                       *
                                                                              +




                          YES         62
                                                      **




         EXCHANGE DATA REGARDING LOCAL                 5

           INFRASTRUCTURE NETWORKS
                                                      AM
                                                                        nith PRIORITY       NO
                                                YES                INFRASTRUCTURE
                                                                  WIRELESS NETWORK
                                                                      AVAILABLE ?
                                                      *




                                 COMMUNICATE VIAnth                                     n EQUALS        NO
                       INFRASTRUCTURE WIRELESS NETWORK                             NUMBER OF PRIORITIZED       HOM


                                                                                         NETWORKS ?
                                                                                                 YES
                          nth
           YES       INFRASTRUCTURE
                   WIRELESS NETWORK               -65
                          OK ?                                         CONNECT TO HOST SERVER          -66
                        NO
                                                                         HOST SERVER SENDS
                                                                              IP ADDRESS

                                                                EARPHONE CONNECT TO STREAMING                -68
                                                            DIGITAL AUDIO CONTENT SERVER USING
                                                                             P ADDRESS

                                                                 YES     LOSE CONNECTION ?       NO



                                                  FIG . 6


                                                           14



                                            Appx180
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                               RINATEDRINEOT SHEORSVETR
                                                                                 70b
                                                                                       RINATEDRINOT SHEORVSETR


  42
                     NETWORK                                 **
                                                                  ca    E

                                                                            **    mo we        WY                in w   ***         **   3   w       w       E
                                                                                                                                                                 3




                                                                                                                                                                     ws w   2   &       5
                                                                                                                                                                                                               FIG
                                                                                                                                                                                                               .
                                                                                                                                                                                                               7

                                                                                                                                                                                            Toboktok

                                                                                                                          32



                                                30          $A
                                                             W
                                                             **
                                                                   33
                                                                                    NETWORK                                                                                                   doOkbab




                                                                                                                                                                                                             O
                                                                                                                                                                                            )
                                                                                                                                                                                            5

                                                                            *4 4 * * *                      "      1    1
                                                                                                                              ***   -            *** *** *              * **        4   4




        SHEORVSETR



                                                                                                                    15



                                                                                             Appx181
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                                        *    * *   *   *     * *     *   *    4   413   TE IT   t   E   TY   CENY       LIMU
                                    $                                                                                           .




                                    8
                                                                                                                                .




                                                                                  320
                                                       NETWORK
                                                                                                                                P




                              300
                                                                                                                                0




                                                                                                             -   * 4   ATWE




                    NETWORK                                                                                                         w



                                                                                                                                     3
                                                                                                                                    ws
                                                                                                                                      3
                                                                                                                                     31
                                                                                                                                    w
                                                                                                                                                   8
                                                                                                                                                   .
                                                                                                                                                   FIG
                                                                                                                                    ch

                                                                                                                                    ??
                                                                                                                                    11

                              30a                                                  322


                                        th
                                                           NETWORK                                                                  w




       SHEORVSETR




                                                                         16



                                                           Appx182
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                Do

                                               10




                                                    -92
                                      -104


                               FIG . 9



                                       17



                                     Appx183
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                                                              106
                          10a                   24
            Z                        DOMOV
                                        you




                                 FIG . 10




                                         18



                                     Appx184
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                    10                                      10




                                               150

                                            -152


                                 FIG . 11




                                       19



                                     Appx185
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                                                    US 10,491,982 B1
                                                                                                    2
      SYSTEM WITH WIRELESS EARPHONES                                ready laptop or personal computer (PC ) have been proposed ,
                                                                    but such headphones are also quite large and not in -ear type
                     PRIORITY CLAIM                                     phones .
    The present application claims priority as a continuation 5                               SUMMARY
to U.S. nonprovisional patent application Ser. No. 16/375 ,
879, filed Apr. 5 , 2019, which is a continuation of U.S.              In one general aspect, the present invention is directed to
nonprovisional patent application Ser. No. 16 / 182,927, filed a wireless earphone that comprises a transceiver circuit for
Nov. 7, 2018, which is a continuation ofU.S. nonprovisional receiving streaming audio from a data source , such as a
patent application Ser. No. 15 /962,305 , filed Apr. 25 , 2018 , 10 digital audio player or a computer , over an ad hoc wireless
now U.S. Pat . No. 10,206,025 , which is a continuation of network           . When the data source and the earphone are out of
                                                                    range via the ad hoc wireless network , they may transition
U.S. nonprovisional patent application Ser. No. 15 /650,362, automatically
 filed Jul. 14 , 2017 , now U.S.Pat. No. 9,986,325 , issued May (e.g., a wirelessto LAN
                                                                                      a common infrastructure wireless network
                                                                                           ). If there is no common infrastructure
29 , 2018 , which is a continuation of U.S. nonprovisional
patent application Ser. No. 15 /293,785 , filed Oct. 14 , 2016 , 15 wireless  network for both the data source and the earphone ,
                                                                    the earphone may connect via an available infrastructure
now U.S. Pat. No. 9,729,959, issued Aug. 8 , 2017, which is wireless
a continuation ofU.S. nonprovisional patent application Ser. example ,network          to a host server. The host server may, for
                                                                               broadcast  streaming audio to the earphone and /or
No. 15 /082,040, filed Mar. 28 , 2016 , now U.S. Pat. No. transmit to the earphone a network address ( e.g., an Internet
9,497,535 , issued Nov. 15 , 2016 , which is a continuation of 20 Protocol (IP ) address ) for a network -connected content
U.S.nonprovisional patent application Ser. No. 14 /695,696 , server that streams digital audio . The earphone may then
filed Apr. 24 , 2015 , now U.S. Pat. No. 9,438,987 , issued on connect to the content server using the IP address. The
Sep. 6 , 2016 , which is a continuation of U.S.nonprovisional content servermay be an Internet radio server, including , for
patent application Ser. No. 13 /609,409, filed Sep. 11, 2012 , example , an Internet radio server that broadcasts streaming
now U.S. Pat. No. 9,049,502, issued Jun . 2, 2015 , which is 25 audio from the data source or some other content.
a continuation ofU.S.nonprovisional patent application Ser.             These and other advantageous, unique aspects of the
No. 13 /459,291 , filed Apr. 30 , 2012 , now U.S. Pat. No. wireless earphone are described below .
8,571,544, issued Oct. 29 , 2013 , which is a continuation of
U.S. patent application Ser. No. 12 / 936,488, filed Dec. 20 , 30                      FIGURES
2010 , now U.S. Pat. No. 8,190,203 , issued May 29 , 2012 ,
which is a national stage entry of PCT/US2009/ 039754 , described Various embodiments of the present invention are
                                                                         herein by way of example in conjunction with the
filed Apr. 7 , 2009, which claimspriority to U.S. provisional following figures , wherein :
patent application Ser. No.61/ 123,265, filed Apr. 7 , 2008, all
of which are incorporated herein by reference in their 35 to FIGS     . 1A - 1E are views of a wireless earphone according
                                                                 various embodiments of the present invention;
entireties.                                                               FIGS. 2A -2D illustrate various communication modes for
              CROSS -REFERENCE TO RELATED                               a wireless earphone according to various embodiments of
                      APPLICATIONS                               the present invention ;
                                                                   FIG . 3 is a block diagram of a wireless earphone accord
   U.S. nonprovisional patent application Ser. No. 14/031 , 40 ingFIGSto various embodiments of the present invention ;
                                                                          . 4A -4B show the wireless earphone connected to
938 , filed Sep. 13, 2013 , now U.S. Pat. No. 8,655,420 , another device according to various embodiments of the
issued Feb. 18 , 2014, is also a continuation of United States
nonprovisional patent application Ser. No. 13 /609,409, filed present     invention ;
                                                                   FIG . 5 is a diagram of a process implemented by a host
Sep. 11, 2012 , now U.S. Pat. No. 9,049,502, mentioned 45 server according to various embodiments of the present
above .                                                          invention ;
                                                                    FIG . 6 is a diagram of a process implemented by the
                      BACKGROUND                                 wireless earphone to transition automatically between wire
                                                                 less networks according to various embodiments of the
   Digital audio players , such asMP3 players and iPods, that 50 present invention ;
store and play digital audio files, are very popular . Such         FIGS. 7, 8 and 10 illustrate communication systems
devicestypically comprise a data storage unit for storing and involving the wireless earphone according to various
playing the digital audio , and a headphone set that connects embodiments of the present invention ;
to the data storage unit , usually with a 1/4 " or a 3.5 mm jack    FIG . 9 is a diagram of a headset including a wireless
and associated cord. Often the headphones are in -ear type 55 earphone and a microphone according to various embodi
headphones. The cord , however, between the headphones ments of the present invention ; and
and the data storage unit can be cumbersome and annoying           FIG . 11 is a diagram of a pair of wireless earphones with
to users, and the length of the cord limits the physical a dongle according to various embodiments of the present
distance between the data storage unit and the headphones. invention .
Accordingly, some cordless headphones have been pro- 60
posed , such as the Monster iFreePlay cordless headphones                              DESCRIPTION
from Apple Inc., which include a docking port on one of the
earphones that can connect directly to an iPod Shuffle.             In one general aspect, the present invention is directed to
Because they have the docking port, however, the Monster a wireless earphone that receives streaming audio data via ad
 iFreePlay cordless headphones from Apple are quite large 65 hoc wireless networks and infrastructure wireless networks,
and are not in -ear type phones . Recently, cordless head               and that transitions seamlessly between wireless networks.
phones that connectwirelessly via IEEE 802.11 to a WLAN                 The earphone may comprise one or more in -ear , on-ear, or
                                                                   20



                                                          Appx186
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over - ear speaker elements . Two exemplary in -ear earphone ing a headband 19 , only one earphone 10 may comprise the
shapes for the wireless earphone 10 are shown in FIGS. 1A transceiver circuit , and a wire may run along the headband
and 1B , respectively , although in other embodiments the 19 to the other earphone 10 to connect thereby the trans
earphone may take different shapes and the exemplary ceiver circuit to the acoustic transducer in the earphone that
shapes shown in FIGS. 1A and 1B are not intended to be 5 does not comprise the transceiver circuit. The embodiment
limiting. In one embodiment, the earphone transitions auto   shown in FIG . 1C comprises on -ear earphones 10 ; in other
matically and seamlessly , without user intervention , embodiments , in - ear or over- ear earphones may be used .
between communication modes. That is , the earphone may         In other embodiments , the earphone 10 may comprise a
transition automatically from an ad hoc wireless network to hanger bar 17 that allows the earphone 10 to clip to , or hang
an infrastructure wireless network , without user interven- 10 on, the user's ear, as shown in the illustrated embodiment of
tion . As used herein , an “ ad hoc wireless network ” is a FIGS. 1D - 1E . FIG . 1D is a perspective view of the earphone
network where two (or more ) wireless -capable devices, such and FIG . 1E is a side view according to one embodiment. As
as the earphone and a data source, communicate directly and shown in the illustrated embodiment, the earphone 10 may
wirelessly, without using an access point. An " infrastructure comprise dual speaker elements 106 -A , 106 - B . One of the
wireless network ," on the other hand , is a wireless network 15 speaker elements (the smaller one ) 106 - A is sized to fit into
that uses one or more access points to allow a wireless             the cavum concha of the listener's ear and the other element
capable device, such as the wireless earphone, to connect to (the larger one ) 106 - B is not. The listener may use the
a computer network , such as a LAN or WAN ( including the hanger bar to position the earphone on the listener's ear. In
Internet ).                                                         that connection , the hanger bar may comprise a horizontal
    FIGS. 1A and 1B show example configurations for a 20 section that rests upon the upper external curvature of the
wireless earphone 10 according to various embodiments of listener's ear behind the upper portion of the auricula (or
the present invention . The examples shown in FIGS. 1A and pinna ). The earphone may comprise a knurled knob that
 1B are not limiting and other configurations are within the allows the user to adjust finely the distance between the
scope of the present invention . As shown in FIGS. 1A and horizontal section of the hanger bar and the speaker ele
 1B , the earphone 10 may comprise a body 12. The body 12 25 ments, thereby providing, in such embodiments, another
may comprise an ear canal portion 14 that is inserted in the measure of adjustability for the user . More details regarding
ear canal of the user of the earphone 10. In various embodi such a dual element, adjustable earphone may be found in
ments, the body 12 also may comprise an exterior portion 15 U.S. provisional patent application Ser. No. 61/054,238 ,
 that is not inserted into user's ear canal. The exterior portion which is incorporated herein by reference in its entirety .
 15 may comprise a knob 16 or some other user control ( such 30 FIGS. 2A - 2D illustrate various communication modes for
 as a dial, a pressure -activated switch , lever, etc. ) for adjust a wireless data communication system involving the ear
 ing the shape of the ear canal portion 14. That is , in various phone 10 according to embodiments of the present inven
embodime activation ( e.g. rotation ) of the knob 16 may tion . As shown in FIG . 2A , the system comprises a data
cause the ear canal portion 14 to change shape so as to , for source 20 in communication with the earphone 10 via an ad
example , radially expand to fit snugly against all sides of the 35 hoc wireless network 24. The earphone 10, via its trans
user's ear canal. Further details regarding such a shape ceiver circuit (described in more detail below ), may com
changing earbud earphone are described in application PCT/ municate wirelessly with a data source 20, which may
US08/ 88656 , filed 31 Dec. 2008, entitled “ Adjustable Shape comprise a wireless network adapter 22 for transmitting the
Earphone,” which is incorporated herein by reference in its digital audio wirelessly. For example, the data source 20
entirety. The earphone 10 also may comprise a transceiver 40 may be a digital audio player (DAP ), such as an mp3 player
circuit housed within the body 12. The transceiver circuit , or an iPod , or any other suitable digital audio playing device ,
described further below , may transmit and receive the wire such as a laptop or personal computer, that stores and /or
less signals, including receive streaming audio for playing plays digital audio files. In other embodiments , the data
by the earphone 10. The transceiver circuit may be housed source 20 may generate analog audio , and the wireless
in the exterior portion 15 of the earphone 10 and /or in the ear 45 network adapter 22 may encode the analog audio into digital
canal portion 14 .                                                  format for transmission to the earphone 10 .
   Although the example earphones 10 shown in FIGS. 1A                 The wireless network adapter 22 may be an integral part
and 1B include a knob 16 for adjusting the shape of the ear of the data source 20, or it may be a separate device that is
canal portion 14 , the present invention is not so limited , and connected to the data source 20 to providewireless connec
in other embodiments , different means besides a knob 16 50 tivity for the data source 20. For example , the wireless
may be used to adjust the ear canal portion 14. In addition , network adapter 22 may comprise a wireless network inter
in other embodiments , the earphone 10 may not comprise a face card (WNIC ) or other suitable transceiver that plugs
shape -changing ear canal portion 14 .                              into a USB port or other port or jack of the data source 20
   In various embodiments, the user may wear two discrete ( such as a TRS connector ) to stream data , e.g., digital audio
wireless earphones 10 : one in each ear. In such embodi- 55 files, via a wireless network (e.g. , the ad hoc wireless
ments, each earphone 10 may comprise a transceiver circuit.       network 24 or an infrastructure wireless network ). The
In such embodiments, the earphones 10 may be connected            digital audio transmitted from the data source 20 to the
by a string or some other cord -type connector to keep the     earphone 10 via the wireless networks may comprise com
earphones 10 from being separated .                            pressed or uncompressed audio . Any suitable file format
   In other embodiments, as shown in FIG . 1C , a headband 60 may be used for the audio , including mp3 , lossy or lossless
19 may connect the two (left and right) earphones 10. The WMA, Vorbis, Musepack , FLAC , WAV, AIFF, AU , or any
headband 19 may be an over- the -head band , as shown in the other suitable file format.
example of FIG . 1C , or the headband may be a behind -the       When in range, the data source 20 may communicate with
head band . In embodiments comprising a headband 19, each the earphone 10 via the ad hoc wireless network 24 using
earphone 10 may comprise a transceiver circuit; hence, each 65 any suitable wireless communication protocol, including
earphone 10 may receive and transmit separately the wire       Wi- Fi (e.g. , IEEE 802.11a /b /g /n ), WiMAX (IEEE 802.16 ),
less communication signals . In other embodiments compris      Bluetooth , Zigbee, UWB , or any other suitable wireless
                                                               21



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                              5                                                                6
communication protocol . For purposes of the description to networks 33a , 42 to the earphone 10. In another mode, the
follow , it is assumed that the data source 20 and the earphone host server 40 may transmit to the earphone 10 a network
 10 communicate using a Wi-Fiprotocol, although the inven          address, such as an Internet Protocol ( IP ) address, for a
tion is not so limited and other wireless communication streaming digital audio content server 70 on the network 42 .
protocols may be used in other embodiments of the inven- 5 Using the received IP address, the earphone 10 may connect
tion . The data source 20 and the earphone 10 are considered to the streaming digital audio content server 70 via the
in range for the ad hoc wireless network 24 when the signal networks 30a , 42 to receive and process digital audio from
strengths (e.g., the RSSI) of the signals received by the two the streaming digital audio content server 70 .
devices are above a threshold minimum signal strength                 The digital audio content server 70 may be, for example,
level. For example , the data source 20 and the earphone 10 10 an Internet radio station server. The digital audio content
are likely to be in range for an ad hoc wireless network when server 70 may stream digital audio over the network 42 ( e.g.,
then are in close proximity, such as when the wearer of the the Internet), which the earphone 10 may receive and
earphone 10 has the data source 20 on his /her person , such process. In one embodiment, the streaming digital audio
as in a pocket , strapped to their waist or arm , or holding the content server 70 may stream digital audio received by the
data source in their hand .                                     15 streaming digital audio content server 70 from the data
   When the earphone 10 and the data source 20 are out of source 20. For example , where the data source 20 is a
range for the ad hoc wireless network 24 , that is , when the wireless -capable device , such as a portable DAP , the data
received signals degrade below the threshold minimum               source 20 may connect to the streaming digital audio content
signal strength level, both the earphone 10 and the data         server 70 via a wireless network 30b and the network 42.
source 20 may transition automatically to communicate over 20 Alternatively , where for example the data source 20 is
an infrastructure wireless network ( such as a wireless LAN non -wireless -capable device, such as a PC , the data source
(WLAN )) 30 that is in the range of both the earphone 10 and 20 may have a direct wired connection to the network 42.
the data source 20 , as shown in FIG . 2B . The earphone 10 After being authenticated by the streaming digital audio
and the data source 20 (e.g., the wireless network adapter content server 70 , the data source 20 may stream digital
22 ) may include firmware, as described further below , that 25 audio to the streaming digital audio content server 70 , which
cause the components to make the transition to a common may broadcast the received digital audio over the network
infrastructure wireless network 30 automatically and seam       42 (e.g., the Internet). In such a manner, the user of the
lessly , e.g., without user intervention. The earphone 10 may earphone 10 may listen to audio from the data source 20
cache the received audio in a buffer or memory for a time even when (i) the earphone 10 and the data source 20 are not
period before playing the audio . The cached audio may be 30 in communication via an ad hoc wireless network 24 and ( ii )
played after the connection over the ad hoc wireless network the earphone 10 and the data source 20 are not in commu
is lost to give the earphone 10 and the data source 20 time      nication via a common local infrastructure wireless network
to connect via the infrastructure wireless network .             30.
   For example , as shown in FIG . 2B , the infrastructure          FIG . 3 is a block diagram of the earphone 10 according to
 network may comprise an access point 32 that is in the range 35 various embodiments of the present invention . In the illus
of both the data source 20 and the earphone 10. The access trated embodiment, the earphone 10 comprises a transceiver
point 32 may be an electronic hardware device that acts as circuit 100 and related peripheral components . As shown in
 a wireless access point for, and that is connected to , a wired FIG . 3 , the peripheral components of the earphone 10 may
and /or wireless data communication network 33 , such as a comprise a power source 102 , a microphone 104 , one or
LAN or WAN , for example . The data source 20 and the 40 more acoustic transducers 106 (e.g., speakers), and an
 earphone 10 may both communicate wirelessly with the antenna 108. The transceiver circuit 100 and some of the
 access point 32 using the appropriate network data protocol peripheral components ( such as the power source 102 and
(a Wi-Fi protocol, for example ). The data source 20 and the the acoustic transducers 106 ) may be housed within the body
earphone 10 may both transition automatically to an agreed       12 of the earphone 10 (see FIG . 1). Other peripheral com
upon WLAN 30 that is in the range of both devices when 45 ponents, such as the microphone 104 and the antenna 108
they cannot communicate satisfactorily via the ad hoc wire may be external to the body 12 of the earphone 10. In
 less network 24. A procedure for specifying an agreed -upon addition , some of the peripheral components , such as the
 infrastructure wireless network 30 is described further microphone 104 , are optional in various embodiments.
below . Alternatively , the infrastructure wireless network 30      In various embodiments, the transceiver circuit 100 may
may have multiple access points 32a -b , as shown in FIG . 50 be implemented as a single integrated circuit ( IC ), such as a
 2C . In such an embodiment, the data source 20 may com          system -on -chip (SOC ), which is conducive to miniaturizing
municate wirelessly with one access point 32b and the the components of the earphone 10 , which is advantageous
earphone 10 may communicate wirelessly with another if the earphone 10 is to be relatively small in size , such as
access point 32a of the same infrastructure wireless network an in -ear earphone ( see FIGS . 1A - 1B for example ). In
30. Again , the data source 20 and the earphone 10 may 55 alternative embodiments, however, the components of the
transition to an agreed -upon WLAN .                          transceiver circuit 100 could be realized with two or more
    If there is no suitable common infrastructure wireless discrete ICs or other components, such as separate ICs for
network over which the earphone 10 and the data source 20 the processors, memory , and RF (e.g. , Wi-Fi) module , for
can communicate, as shown in FIG . 2D , the earphone 10 example .
may transition to communicate with an access point 32a for 60 The power source 102 may comprise , for example, a
an available (first) wireless network (e.g., WLAN ) 30a that rechargeable or non -rechargeable battery (or batteries). In
is in the range of the earphone 10. In thismode, the earphone other embodiments , the power source 102 may comprise one
 10 may connect via the wireless network 30a to a network     or more ultracapacitors (sometimes referred to as superca
enabled host server 40. The host server 40 may be connected pacitors) that are charged by a primary power source. In
to the wireless network 30a via an electronic data commu- 65 embodiments where the power source 102 comprises a
nication network 42 , such as the Internet. In one mode , the rechargeable battery cell or an ultracapacitor, the battery cell
host server 40 may transmit streaming digital audio via the or ultracapacitor, as the case may be, may be charged for use ,
                                                              22



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for example , when the earphone 10 is connected to a suitable link . As shown in FIG . 4A , the external device may
docking station or computer. The docking station may be be a docking station 200 connected to a computer device
connected to or part of a computer device, such as a laptop 202. Also , in various embodiments, the earphone 10 could
computer or PC . In addition to charging the rechargeable be connected directly to the computer 202 without the
power source 102, the docking station and /or computer may 5 docking station 200. In addition , the external device may be
facilitate downloading of data to and /or from the earphone a DAP 210 , as shown in FIG . 4B . In that way, the earphone
 10. In other embodiments, the power source 102 may 10 could connect directly to a data source 20, such as the
comprise capacitors passively charged with RF radiation , DAP 210 or the computer 202 , through the USB port 130 .
such as described in U.S. Pat. No. 7,027,311 . The power In addition , through the USB port 130 , the earphone 10 may
 source 102 may be coupled to a power source control 10 connect to a PC 202 or docking station 202 to charge up the
module 103 of transceiver circuit 100 that controls and       power source 102 and / or to get downloads (e.g., data or
monitors the power source 102.                                 firmware ).
    The acoustic transducer( s) 106 may be the speaker ele        According to various embodiments , the earphone 10 may
ment(s ) for conveying the sound to the user of the earphone have an associated web page that a user may access through
 10. According to various embodiments, the earphone 10 may 15 the host server 40 (see FIG . 2D ) or some other server. An
comprise one or more acoustic transducers 106. For embodi authenticated user could log onto the website from a client
ments having more than one transducer, one transducer may computing device 50 ( e.g., laptop , PC , handheld computer
be larger than the other transducer, and a crossover circuit device , etc., including the data source 20 ) ( see FIG . 2D ) to
(not shown) may transmit the higher frequencies to the access the web page for the earphone 10 to set various
smaller transducer and may transmit the lower frequencies 20 profile values for the earphone 10. For example, at the web
to the larger transducer .More details regarding dual element site , the user could set various content features and filters, as
 earphones are provided in U.S. Pat. No. 5,333,206 , assigned well as adjust various sound control features, such as treble ,
to Koss Corporation , which is incorporated herein by ref bass , frequency settings, noise cancellation settings, etc. In
erence in its entirety .                                       addition , the user could set preferred streaming audio sta
    The antenna 108 may receive and transmit the wireless 25 tions, such as preferred Internet radio stations or other
 signals from and to the wireless networks 24 , 30. A RF ( e.g., streaming audio broadcasts. That way, instead of listening to
 Wi- Fi) module 110 of the transceiver circuit 100 in com          streaming audio from the data source 20 , the user could
munication with the antenna 108 may, among other things , listen to Internet radio stations or other streaming audio
modulate and demodulate the signals transmitted from and broadcasts received by the earphone 10. In such an operating
 received by the antenna 108. The RF module 110 commu- 30 mode , the earphone user, via the web site, may prioritize a
nicates with a baseband processor 112 ,which performsother number of Internet radio stations or other broadcast sources
 functions necessary for the earphone 10 to communicate (hosted by streaming digital audio content servers 70 ). With
using the Wi-Fi ( or other communication ) protocol.               reference to FIG . 7 , the host server 40 may send the IP
    The baseband processor 112 may be in communication address for the earphone user's desired (e.g., highest prior
with a processor unit 114 ,which may comprise a micropro- 35 ity ) Internet radio station to the earphone 10. A button 11 on
cessor 116 and a digital signal processor (DSP ) 118. The the earphone 10 , such as on the rotating dial 16 as shown in
microprocessor 116 may control the various components of the examples of FIGS. 1A and 1B , may allow the user to
 the transceiver circuit 100. The DSP 114 may, for example , cycle through the preset preferred Internet radio stations.
perform various sound quality enhancements to the digital That is, for example ,when the user presses the button 11, an
audio received by the baseband processor 112, including 40 electronic communication may be transmitted to the host
noise cancellation and sound equalization . The processor server 40 via the wireless network 30 , and in response to
unit 114 may be in communication with a volatile memory receiving the communication , the host server 40 may send
unit 120 and a non -volatile memory unit 122. A memory the IP address for the user's next highest rated Internet radio
management unit 124 may control the processor unit's station via the network 42 to the earphone 10. The earphone
access to the memory units 120 , 122. The volatile memory 45 10 may then connect to the streaming digital audio content
  122 may comprise, for example , a random access memory server 70 for that Internet radio station using the IP address
 (RAM ) circuit. The non - volatile memory unit 122 may provided by the host server 40. This process may be
comprise a read only memory (ROM ) and/or flash memory repeated , e.g., cycled through , for each preset Internet radio
circuits. Thememory units 120 , 122 may store firmware that station configured by the user of the earphone 10 .
is executed by the processor unit 114. Execution of the 50 At the web site for the earphone 10 hosted on the host
firmware by the processor unit 114 may provide various server 40, in addition to establishing the identification of
 functionality for the earphone 10 , such as the automatic digital audio sources (e.g. , IDs for the user's DAP or PC )
transition between wireless networks as described herein . and earphones, the user could set parental or other user
  Thememory units 120 , 122 may also cache received digital controls. For example, the user could restrict certain Internet
audio .                                                         55 radio broadcasts based on content or parental ratings, etc.
    A digital-to -analog converter (DAC ) 125 may convert the That is , for example , the user could configure a setting
 digital audio from the processor unit 114 to analog form for through the web site that prevents the host server 40 from
 coupling to the acoustic transducer (s ) 106. An I’S interface sending an IP address for a streaming digital audio content
 126 or other suitable serial or parallel bus interface may server 70 that broadcasts explicit content based on a rating
provide the interface between the processor unit 114 and the 60 for the content. In addition , if a number of different ear
DAC 125.An analog - to -digital converter (ADC ) 128 , which phones 10 are registered to the same user, the user could
also communicates with the l’S interface 126 , may convert define separate controls for the different earphones 10 (as
analog audio signals picked up by the microphone 104 for well as customize any other preferences or settings particu
processing by the processor unit 114 .                             lar to the earphones 10 , including Internet radio stations ,
    The transceiver circuit 100 also may comprise a USB or 65 sound quality settings, etc. that would later be downloaded
other suitable interface 130 that allows the earphone 10 to be to the earphones 10 ). In addition , in modes where the host
connected to an external device via a USB cable or other            server 40 streams audio to the earphone 10 , the host server
                                                               23



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40 may log the files or content streamed to the various 10 wirelessly (e.g., via the WLAN 30a in FIG . 2D ). If the
earphones 10 , and the user could view at the web site the update is too large and/ or the current data rate is too low that
files or content thatwere played by the earphones 10. In that the performance of the earphone 10 will be adversely
way, the user could monitor the files played by the earphones affected , the host server 40 may refrain from pushing the
10 .                                                           5 update to the earphone 10 wirelessly and wait instead to
   In addition , the host server 40 may provide a so -called download the update to the client computing device 202 at
eavesdropping function according to various embodiments. step 51. Conversely, if the host server 40 determines that,
The eavesdropping service could be activated via the web given the size of the update and the current data rate for the
site . When the service is activated , the host server 40 may earphone 10 that the performance of the earphone 10 will not
transmit the content that it is delivering to a first earphone 10 be adversely affected , the host server 40 may transmit the
 10a to another, second earphone 10b , as shown in FIG . 8 . update wirelessly to the earphone 10 at step 52 .
Alternatively, the host server 40 may transmit to the second         Asmentioned above, the processor unit 114 of the speak
earphone 10b the most recent IP address for a streaming erphones 14 may be programmed , via firmware stored in the
digital audio content server 70 that was sent to the first memory 120 , 122 , to have the ability to transition automati
earphone 10a . The second earphone 10b may then connect 15 cally from the ad hoc wireless network 24 to an infrastruc
to the streaming digital audio content server 70 that the first ture wireless network 30 (such as a WLAN ) when the
earphone 10a is currently connected . That way, the user of quality of the signal on the ad hoc wireless network 24
the second earphone 10b , which may be a parent, for degrades below a suitable threshold (such as when the data
example ,may directly monitor the contentbeing received by source 20 is out of range for an ad hoc wireless network ). In
the first earphone 10a , which may belong to a child of the 20 that case, the earphone 10 and the data source 20 may
parent.                                                           connect to a common infrastructure wireless network ( e.g.,
    This function also could be present in the earphones 10 WLAN ) ( see, for example , FIGS . 2B -2C ). Through the web
themselves , allowing a parent (or other user) to join an site for the earphone 10 , described above , the user could
ad -hoc wireless network and listen to what their child (or specify a priority of infrastructure wireless networks 30 for
other listener ) is hearing. For example , with reference to 25 the data source 20 and the earphone 10 to connect to when
FIG . 10 , a first earphone 10a may receive wireless audio , the ad hoc wireless network 24 is not available . For example ,
such as from the data source 20 or some other source , such the user could specify a WLAN servicing his/her residence
as the host server 40. The first earphone 10a may be first , a WLAN servicing his /her place of employment sec
programmed with firmware to broadcast the received audio ond , etc. During the time that the earphone 10 and the data
to a second earphone 10b via an ad hoc wireless network 24. 30 source 20 are connected via the ad hoc wireless network 24 ,
 That way, the wearer of the second earphone 10b can the earphone 10 and the data source 20 may exchange data
monitor in real- time the content being played by the first regarding which infrastructure networks are in range. When
earphone 10a.                                                     the earphone 10 and the data source 20 are no longer in range
   At the web site, the user may also specify the identifica       for the ad hoc wireless network 24 (that is, for example, the
tion number (“ ID " ) of their earphone(s ) 10 , and the host 35 signals between the device degrade below an acceptable
server 40 may translate the ID to the current internet level), they may both transition automatically to the highest
protocol ( IP ) addresses for the earphone 10 and for the data prioritized infrastructure wireless network whose signal
source 20. This allows the user to find his or her data source strength is above a certain threshold level. That way, even
20 even when it is behind a firewall or on a changing IP though the earphone 10 and the data source 20 are out of
address. That way , the host server 40 can match the audio 40 range for the ad hoc wireless network 24 , the earphone 10
from the data source 20 to the appropriate earphone 10 based may still receive the streaming audio from the data source 20
on the specified device ID . The user also could specify a via the infrastructure wireless network 30 (see FIGS .
number of different data sources 20. For example , the user's 2B -2C ) .
DAPmay have one specified IP address and the user's home             When none of the preferred infrastructure networks is in
(or work ) computer may have another specified IP address. 45 range, the earphone 10 may connect automatically to the
Via the web site hosted by the host server 40 , the user could    host server 40 via an available infrastructure wireless net
specify or prioritize from which source (e.g.,the user's DAP      work 30 ( see FIG . 2D ), e.g., the infrastructure wireless
or computer) the earphone 10 is to receive content.               network 30 having the highest RSSI and to which the
    The host server 40 (or some other server ) may also push earphone 10 is authenticated to use . The host server 40 , as
firmware upgrades and /or data updates to the earphone 10 50 mentioned above ,may transmit IP addresses to the earphone
using the IP addresses of the earphone 10 via the networks 10 for streaming digital audio content servers 70 or the host
30 , 42. In addition , a user could download the firmware sever 40 may stream digital audio to the earphone 10 itself
upgrades and /or data updates from the host server 40 to the when in this communication mode .
client computing device 202 (see FIG . 4A ) via the Internet,      FIG . 6 is a diagram of the process flow , according to one
and then download the firmware upgrades and /or data 55 embodiment, implemented by the transceiver circuit 100 of
updates to the earphone 10 when the earphone 10 is con           the earphone 10. The process shown in FIG . 6 may be
nected to the client computer device 202 (such as through a implemented in part by the processor unit 114 executing
USB port and /or the docking station 200 ).                      firmware stored in a memory unit 120 , 122 of the transceiver
   Whether the downloads are transmitted wirelessly to the circuit 100. At step 61, the earphone 10 may determine if it
earphone 10 or via the client computing device 202 may 60 can communicate with the data source 20 via an ad hoc
depend on the current data rate of the earphone 10 and the wireless network 24. That is, the earphone 10 may determine
quantity of data to be transmitted to the earphone 10. For if the strength of the wireless signals from the data source 20
example, according to various embodiments, as shown in the exceed some minimum threshold . If so , the data source 20
process flow of FIG . 5 , the host server 40 may be pro          and the earphone 10 may communicate wirelessly via the ad
grammed , at step 50 , to make a determination , based on the 65 hoc wireless network 24 (see FIG . 2A ). While in this
current data rate for the earphone 10 and the size of the communication mode, at step 62 , the data source 20 and the
update ,whether the update should be pushed to the earphone earphone 10 also may exchange data regarding the local
                                                                 24



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infrastructure wireless networks, if any , in the range of the        the data source 20, but instead transition automatically to
data source 20 and the earphone 10 , respectively. For connect to the host server 40 (see FIG . 2D ).
example , the earphone 10 may transmit the ID of local          In various embodiments, as shown in FIG . 1B , the button
infrastructure wireless networks 30 that the earphone 10 can 11 or other user selection device that allows the wearer of the
detect whose signal strength (e.g. , RSSI) exceeds some 5 earphone 10 to indicate approval and /or disapproval of
minimum threshold level. Similarly , the data source 20 may songs or other audio files listened to by the wearer over an
transmit the ID the local infrastructure wireless networks 30 Internet radio station . The approval/disapproval rating,
that the data source 20 can detect whose signal strength (e.g., along with metadata for the song received by the earphone
RSSI) exceeds some minimum threshold level. The ear 10 with the streaming audio , may be transmitted from the
phone 10 may save this data in a memory unit 120, 122. 10 transceiver circuit 100 of the earphone 10 back to the host
Similarly, the data source 20 may store in memory the server 40, which may log the songs played as well as the
wireless networks that the earphone 10 is detected .              ratings for the various songs/ audio files . In addition to being
    The data source 20 and the earphone 10 may continue to able to view the logs at the website , the host server 40 (or
communicate via the ad hoc wireless network mode 24 until some other server) may send an email or other electronic
they are out of range (e.g., the signal strengths degrade 15 communication to the earphone user, at a user specified
below a minimum threshold level). If an ad hoc wireless email address or other address , which the user might access
network 24 is not available at block 61, the transceiver from their client communication device 50 (see FIG . 2D ).
circuit 100 and the data source 20 may execute a process , The email or other electronic communication may contain a
shown at block 63, to connect to the user's highest priori listing of the song /audio files for which the user gave
tized infrastructure wireless network 30. For example , of the 20 approval ratings using the button 11 or other user selection
infrastructure wireless networks whose signal strength            device . Further, the email or other electronic communication
exceeded the minimum threshold for both the earphone 10 may provide a URL link for a URL at which the user could
and the data source 20 determined at step 62, the earphone download song /audio files that the user rated (presumably
10 and the data source 20 may both transition to the song/audio files for which the user gave an approval rating).
infrastructure wireless network 30 having the highest prior- 25 In some instances , the user may be required to pay a fee to
ity, as previously set by the user ( seen FIGS. 2B - 2C , for download the song /audio file .
example ). For example, if the user's highest prioritized            The user song ratings also may be used by the host server
infrastructure wireless network 30 is not available , but the 40 to determine the user's musical preferences and offer new
user's second highest prioritized infrastructure wireless net music that the user might enjoy . More details about gener
work 30 is , the earphone 10 and the data source 20 may both 30 ating user play lists based on song ratings may be found in
transition automatically to the user's second highest priori published U.S. patent applications Pub . No. 2006/0212444,
tized infrastructure wireless network 30 at block 64. As              Pub . No. 2006/0206487, and Pub . No. 2006/0212442, and
shown by the loop with block 65 , the earphone 10 and the U.S. Pat. No. 7,003,5 which are incorporated herein by
data source 20 may continue to communicate via one of the reference in their entirety .
user's prioritized infrastructure wireless networks 30 as long 35 In addition or alternatively , the user could log onto a web
as the infrastructure wireless network 30 is available . If the site hosted by the host server 40 (or some other server) to
infrastructure wireless network becomes unavailable, the view the approval/disapproval ratings that the user made via
process may return to block 61.                                  the button 11 on the earphone 10. The web site may provide
   If, however, no ad hoc wireless network and none of the the user with the option of downloading the rated songs/
user's prioritized infrastructure wireless networks are avail- 40 audio files (for the host server 40 or some other server
able , the earphone 10 may transition automatically to con system ) to their client computer device 50. The user could
nect to the host server 40 at block 66 (see FIG . 2D ) using an then have their earphone 10 connect to their client computer
available infrastructure wireless network 30. At block 67 , device 50 as a data source 20 via an ad hoc wireless network
the host server 40 may transmit an IP address to the earphone 24 (see FIG . 2A ) or via an infrastructure wireless network
 10 for one of the streaming digital audio content servers 70 , 45 ( see FIGS. 2B - 2D ) to listen to the downloaded songs. In
and at block 68 the earphone 10 may connect to the addition , the user could download the song files from their
streaming digital audio content server 70 using the received client computer device 50 to their DAP and listen to the
IP address . At step 69, as long as the earphone 10 is downloaded song files from their DAP by using their DAP
connected to the streaming digital audio content server 70 , as the data source 20 in a similar manner.
the earphone 10 may continue to communicate in this mode . 50 Another application of the headsets may be in vehicles
However, if the earphone 10 loses its connection to the equipped with Wi-Fi or other wireless network connectivity.
digital audio content server 70 , the process may return to Published PCT application WO 2007/136620 , which is
block 61 in one embodiment. Asmentioned above, at block incorporated herein by reference , discloses a wireless router
67, instead of sending an IP address for a streaming digital for providing a Wi-Fi or other local wireless network for a
audio content server 70 , the host server 40 may stream 55 vehicle , such as a car, truck , boat, bus, etc. In a vehicle
digital audio to the earphone 10. The user, when configuring having a Wi-Fi or other local wireless network , the audio for
their earphone 10 preferences via the web site, may specify other media systems in the vehicle could be broadcast over
and / or prioritize whether the host server 40 is to send IP the vehicle's wireless network . For example, if the vehicle
addresses for the streaming digital audio content servers 70 comprises a DVD player, the audio from the DVD system
and / or whether the host server 40 is to stream audio to the 60 could be transmitted to the router and broadcast over the
earphone 10 itself.                                                vehicle's network . Similarly, the audio from terrestrial radio
   In another embodiment, the earphone 10 may be pro               stations, a CD player, or an audio cassette player could be
 grammed to transition automatically to the host server 40 broadcast over the vehicle's local wireless network . The
when the earphone 10 and the data source 20 are not in vehicle's passengers, equipped with the earphones 10 , could
communication via the ad hoc wireless network 24. That is , 65 cycle through the various audio broadcasts (including the
in such an embodiment, the earphone 10 may not try to broadcasts from the vehicle's media system as well as
connect via a local infrastructure wireless network 30 with         broadcasts from the host server 40 , for example ) using a
                                                                 25



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selection button 11 on the earphone 10. The vehicle may also          in communication with the at least one acoustic transducer
be equipped with a console or terminal, etc., through which           106 and the antenna 108. The transceiver circuit 100 is for
a passenger could mute all of the broadcasts for direct voice receiving and transmitting wireless signals via the antenna
communications, for example .                                 108 , and the transceiver circuit 100 is for outputting the
   As described above , the earphones 10 may also include a 5 electrical signal to the at least one acoustic transducer 106 .
microphone 104 , as shown in the example of FIG . 9. The The wireless transceiver circuit also comprises firmware,
headset 90 shown in FIG.9 includes two earphones 10 , both which when executed by the transceiver circuit , causes the
ofwhich may include a transceiver circuit 100 or only one             transceiver circuit to : (i) receive digital audio wirelessly
of which may include the transceiver circuit, as discussed            from a data source 20 via an ad hoc wireless network 24
above. The microphone 104 could be used to broadcast 10 when the data source 20 is in wireless communication range
communications from one earphone wearer to another ear with the earphone 10 via the ad hoc wireless network 24 ; and
phone wearer. For example , one wearer could activate the ( ii ) when the data source 20 is not in wireless communica
microphone by pressing a button 92 on the headset 90. The tion range with the earphone 10 via the ad hoc wireless
headset 90 may then transmit a communication via an ad hoc network 24 , transition automatically to receive digital audio
wireless network 24 or other wireless network to a nearby 15 via an infrastructure wireless network 30 .
 recipient (or recipients) equipped with a headset 90 with a              According to various implementations, the data source
transceiver circuit 100 in one or both of the earphones 10 . may comprise a portable digital audio player, such as an
When such communication is detected by the recipient's MP3 player, iPod , or laptop computer, or a nonportable
headset 90 , the streaming audio received over the wireless digital audio player, such as a personal computer. In addi
network by the recipient's headset 90 may be muted , and the 20 tion , the transceiver circuit 100 may comprise : (i) a wireless
 intercom channelmay be routed to the transducer(s) of the communication module 110 (such as a Wi-Fi or other
recipient's headset 90 for playing for the recipient. This wireless communication protocol module); (ii) a processor
 functionality may be valuable and useful where multiple unit 114 in communication with the wireless communication
wearers of the headsets 90 are in close proximity, such as on module 110 ; (iii ) a non -volatile memory unit 122 in com
motorcycles , for example.                                          25 munication with the processor unit 114; and ( iv ) a volatile
    Another exemplary use of the earphones 10 is in a factory , memory 120 unit in communication with the processor unit
warehouse , construction site , or other environment that 114. The infrastructure wireless network may comprise a
might be noisy. Persons (e.g., workers ) in the environment WLAN . The transceiver circuit 100 may receive digital
could use the earphones 10 for protection from the surround audio from the data source 20 via the infrastructure wireless
 ing noise of the environment. From a console or terminal, a 30 network 30 when the data source 20 is not in wireless
person ( e.g., a supervisor) could select a particular recipient communication range with the earphone 10 via the ad hoc
for a communication over the Wi-Finetwork (or other local wireless network 24. The transceiver circuit firmware , when
wireless network ). The console or terminal may have but               executed by the transceiver circuit 100 , may cause the
tons, dials, or switches, etc., for each user/recipient, or it transceiver circuit 100 of the earphone 10 to transition
could have one button or dial through which the sender 35 automatically to a pre -set infrastructure wireless network 30
could cycle through the possible recipients. In addition , the that the data source 20 transitions to when the data source 20
console or terminal could have a graphical user interface , is not in wireless communication rangewith the earphone 10
through which the sendermay select the desired recipient(s ). via the ad hoc wireless network 24 and when the pre -set
    As mentioned above, the earphones 10 may comprise a infrastructure wireless network 30 is in range of both the
USB port. In one embodiment, as shown in FIG . 11 , the user 40 earphone 10 and the data source 20. In addition , the trans
may use an adapter 150 that connects to the USB port of ceiver circuit firmware, when executed by the transceiver
each earphone 10. The adapter 150 may also have a plug circuit 100 , may cause the transceiver circuit 100 of the
connector 152 , such as a 3.5 mm jack , which allows the user earphone 10 to transmit data via the ad hoc wireless network
to connect the adapter 150 to devices having a correspond              24 to the data source 20 regarding one or more infrastructure
 ing port for the connector 152.When the earphones 10 detect 45 wireless networks 30 detected by the transceiver circuit 100
a connection via their USB interfaces in such a manner, the when the earphone 10 and the data source 20 are commu
Wi- Fi (or other wireless protocol) components may shut nicating via the ad hoc wireless network 24 .
down or go into sleep mode , and the earphones 10 will route              In addition , the transceiver circuit firmware , when
 standard headphone level analog signals to the transducer(s) executed by the transceiver circuit 100 , may cause the
 106. This may be convenient in environments where wire- 50 transceiver circuit 100 of the earphone 10 to connect to a
 less communications are not permitted , such as airplanes , host server 40 via an available infrastructure wireless net
but where there is a convenient source of audio contact. For work 30 when the data source 20 is not in wireless com
example , the adapter 150 could plug into a person's DAP. munication range with the earphone 10 via the ad hoc
 The DSP 118 of the earphone 10 may still be operational in wireless network 24. The earphone 10 may receive stream
such a non -wireless mode to provide noise cancellation and 55 ing digital audio from the host server 40 via the infrastruc
any applicable equalization .                                          ture wireless network 30. In addition, the earphone 10 may
    The examples presented herein are intended to illustrate receive a first network address for a first streaming digital
potential and specific implementations of the embodiments . audio content server 70 from the host server 40 via the
 It can be appreciated that the examples are intended primar           infrastructure wireless network 30. In addition , the earphone
 ily for purposes of illustration for those skilled in the art. No 60 10 may comprise a user control, such as button 11, dial,
particular aspect of the examples is/are intended to limit the pressure switch , or other type of user control, that, when
scope of the described embodiments .                                   activated , causes the earphone 10 to transmit an electronic
    According to various embodiments , therefore, the present request via the infrastructure wireless network 30 to the host
 invention is directed to an earphone 10 that comprises a server 40 for a second network address for a second stream
body 12 , where the body 12 comprises: (i) at least one 65 ing digital audio content server 70 .
acoustic transducer 106 for converting an electrical signal to            In other embodiments , the present invention is directed to
sound ; ( ii ) an antenna 108 ; and (iii ) a transceiver circuit 100 a system that comprises : (i) a data source 20 for wirelessly
                                                                 26



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transmitting streaming digital audio ; and (ii ) a wireless          transition automatically to receive digital audio via the
earphone 10 that is in wireless communication with the data            infrastructure wireless network 30 .
 source 20. In yet other embodiments , the present invention       In addition , according to various embodiments, the first
is directed to a communication system that comprises: (i) a earphone 10a may comprise a first data port and the second
host server 40; ( ii) a first streaming digital audio content 5 earphone 106 may comprise a second data port. In addition ,
server 70 that is connected to the host server 40 via a data the headset may further comprise an adapter or dongle 150
network 42 ; and (iii ) a wireless earphone 10 that is in connected to the first data port of the first earphone 10a and
communication with the host server 40 via a wireless            to the second data port of the second earphone 10b , wherein
network 30. The host server 40 is programmed to transmit to 10 the   adapter 150 comprises an output plug connector 152 for
 the earphone 10 a first network address for the first stream connecting     to a remote device .
                                                                   In addition , according to other embodiments , the present
 ing digital audio content server 70 on the data network 42 . invention
 The host server 40 and the streaming digital audio content (i) receivingis ,directed   to a method that comprises the steps of:
server (s ) 70 each may comprise one or more processor network , digital audio fromearphone
                                                                               by  a wireless           , via an ad hoc wireless
 circuits and one or more memory circuits (e.g., ROM 15 source is in wireless communication source
                                                                                                 a data
                                                                                                          with
                                                                                                                  when the data
                                                                                                                the earphone via
circuits and/ or RAM circuits ).                                the ad hoc wireless network ; (ii) converting, by the wireless
    In yet another embodiment, the present invention is earphone, the digital audio to sound ; and (iii ) when the data
directed to a headset that comprises: (i) a first earphone 10a source is not in wireless communication with the earphone ,
that comprises one or more acoustic transducers 10b for transitioning automatically , by the earphone, to receive
converting a first electrical signal to sound ; and ( ii) a second 20 digital audio via an infrastructure wireless network .
earphone 10b , connected to the first earphone 10a , wherein            In various implementations, the step of transitioning
the second earphone 10b comprises one or more acoustic automatically by the earphone to receive digital audio via an
transducers 10b for converting a second electrical signal to infrastructure wireless network may comprises transitioning
sound . In one embodiment, the first earphone 10a com                automatically to receive digital audio from the data source
prises : (i) a first antenna 108 ; and ( ii ) a first transceiver 25 via an infrastructure wireless network when the data source
circuit 100 in communication with the one or more acoustic is not in wireless communication range with the earphone
 transducers 106 of the first earphone 10a and in communi              via the ad hoc wireless network . In addition , the method may
cation with the first antenna 108. The first transceiver circuit further comprise the step of receiving by the wireless
 100 is for receiving and transmitting wireless signals via the earphone from the data source via the ad hoc wireless
 first antenna 108 , and for outputting the first electrical signal 30 network data regarding one or more infrastructure wireless
to the one or more acoustic transducers 10b of the first networks detected by data source when the earphone and the
earphone 10a . The first transceiver circuit 100 also may data source are communicating via the ad hoc wireless
comprise firmware , which when executed by the first trans             network .
ceiver circuit 100 , causes the first transceiver circuit 100 to :        In addition , the step of transitioning automatically by the
(i) receive digital audio wirelessly from a data source 20 via 35 earphone to receive digital audio via an infrastructure wire
an ad hoc wireless network 24 when the data source 20 is in            less network comprises may transitioning automatically to
wireless communication range with the first earphone 10a receive digital audio from a host sever via the infrastructure
via the ad hoc wireless network 24 ; and (ii) when the data wireless network when the data source is not in wireless
source 20 is not in wireless communication range with the communication range with the earphone via the ad hoc
first earphone 10a via the ad hoc wireless network 24 , 40 wireless network . Additionally, the step of transitioning
transition automatically to receive digital audio via an automatically by the earphone to receive digital audio via an
infrastructure wireless network 30 .                            infrastructure wireless network may comprise: (i) receiving,
   In various implementations, the headset further may com      by the wireless earphone via the infrastructure wireless
prise a head band 19 that is connected to the first and second network , from a host server connected to the infrastructure
earphones 10. In addition , the headset 19 further may 45 wireless network , a network address for a streaming digital
comprise a microphone 104 having an output connected to audio content server; and (ii) connecting , by the wireless
the first transceiver circuit 100. In one embodiment, the first earphone, to the streaming digital audio content server using
transceiver circuit 100 is for outputting the second electrical        the network address received from the host server .
signal to the one or more acoustic transducers 106 of the                 It is to be understood that the figures and descriptions of
second earphone 10b . In another embodiment, the second 50 the embodiments have been simplified to illustrate elements
earphone 10b comprises: (i) a second antenna 108 ; and ( ii ) that are relevant for a clear understanding of the embodi
a second transceiver circuit 100 in communication with the ments, while eliminating , for purposes of clarity, other
one ormore acoustic transducers 106 of the second earphone elements. For example, certain operating system details for
 10b and in communication with the second antenna 108. The the various computer-related devices and systems are not
second transceiver circuit 100 is for receiving and transmit- 55 described herein . Those of ordinary skill in the art will
ting wireless signals via the second antenna 108 , and for recognize, however, that these and other elements may be
outputting the second electrical signal to the one or more desirable in a typical processor or computer system . Because
acoustic transducers 106 of the second earphone 106. The such elements are well known in the art and because they do
second transceiver circuit 100 may comprise firmware , not facilitate a better understanding of the embodiments , a
which when executed by the second transceiver circuit 100 , 60 discussion of such elements is not provided herein .
causes the second transceiver circuit 100 to : (i) receive          In general , it will be apparent to one of ordinary skill in
digital audio wirelessly from the data source 20 via the ad the art that at least some of the embodiments described
hoc wireless network 24 when the data source 20 is in            herein may be implemented in many different embodiments
wireless communication range with the second earphone of software , firmware and / or hardware . The software and
10b via the ad hoc wireless network 24 ; and (ii) when the 65 firmware code may be executed by a processor or any other
data source 20 is not in wireless communication range with similar computing device. The software code or specialized
the second earphone 10b via the ad hoc wireless network 24 , control hardware that may be used to implement embodi
                                                                  27



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ments is not limiting . For example , embodiments described            skilled in the art with attainment of at least some of the
herein may be implemented in computer software using any           advantages . The disclosed embodiments are therefore
suitable computer software language type . Such software           intended to include all such modifications, alterations, and
may be stored on any type of suitable computer -readable           adaptations without departing from the scope of the embodi
medium or media , such as, for example , a magnetic or 5 ments as set forth herein .
optical storage medium . The operation and behavior of the
embodiments may be described without specific reference to          What is claimed is :
specific software code or specialized hardware components .         1. A system comprising :
 The absence of such specific references is feasible , because      headphones comprising a pair of first and second wireless
it is clearly understood that artisans of ordinary skill would 10     earphones to be worn simultaneously by a user,
be able to design software and control hardware to imple              wherein the first and second earphones are separate
ment the embodiments based on the present description with            such that when the headphones are worn by the user,
no more than reasonable effort and without undue experi               the first and second earphones are not physically con
mentation .                                                           nected , wherein each of the first and second earphones
   Moreover, the processes associated with the present 15             comprises :
 embodiments may be executed by programmable equip                     a body portion that comprises :
ment, such as computers or computer systems and /or pro                   a wireless communication circuit for receiving and
cessors. Software that may cause programmable equipment                      transmitting wireless signals;
to execute processes may be stored in any storage device,                 a processor circuit in communication with the wire
such as, for example, a computer system (nonvolatile ) 20                    less communication circuit; and
memory, an optical disk , magnetic tape, ormagnetic disk .                an ear canal portion that is inserted into an ear of the
Furthermore, at least some of the processes may be pro                       user when worn by the user; and
 grammed when the computer system is manufactured or                     at least one acoustic transducer connected to the
stored on various types of computer-readable media .                        processor circuit; and
    A “ computer," " computer system ," " host," " host server,“ 25   an elongated portion that extends away from the body
“ server ” or “ processor” may be , for example and without              portion such that the elongated portion extends
 limitation , a processor, microcomputer, minicomputer,                  downwardly when the ear canal portion is inserted in
server, mainframe, laptop , personal data assistant (PDA ),              the ear of the user ;
wireless e-mail device, cellular phone , pager, processor, fax        a microphone connected to the processor circuit and for
machine, scanner, or any other programmable device con- 30               picking up utterances of a user of the headphones;
figured to transmit and /or receive data over a network . Such          an antenna connected to the wireless communication
components may comprise : one or more processor circuits ;                 circuit; and
and one more memory cuits, including ROM circuits and                   a rechargeable power source ; and
RAM circuits . Computer systems and computer -based                  a mobile , digital audio player that stores digital audio
devices disclosed herein may include memory for storing 35              content and that comprises a wireless transceiver for
 certain software applications used in obtaining, processing,           transmitting digital audio content to the headphones via
and communicating information . It can be appreciated that              Bluetooth wireless communication links, such that each
such memory may be internal or external with respect to                 earphone receives and plays audio content received
operation of the disclosed embodiments. The memory may                  wirelessly via the Bluetooth wireless communication
 also include any means for storing software , including a hard 40      links from the mobile, digital audio player.
disk , an optical disk , floppy disk , ROM ( read only memory ),     2. The system of claim 1, further comprising a docking
RAM ( random access memory ), PROM (programmable station for holding at least the first wireless earphone ,
ROM ), EEPROM (electrically erasable PROM ) and /or other wherein the docking station comprises a power cable for
 computer- readable media .                                        connecting to an external device for charging the at least the
    In various embodiments disclosed herein , a single com- 45 first wireless earphone when the docking station is con
ponent may be replaced by multiple components and mul nected to the external device via the power cable .
tiple components may be replaced by a single component to            3. The system of claim 1 , wherein :
perform a given function or functions . Except where such            in a first operational mode, the pair of first and second
 substitution would not be operative, such substitution is              earphones play audio content stored on the mobile ,
within the intended scope of the embodiments. Any servers 50            digital audio player and transmitted to the first and
described herein , such as the host server 40, for example ,            second earphones from the mobile, digital audio player
may be replaced by a “ server farm ” or other grouping of               via the Bluetooth wireless communication links; and
networked servers ( such as server blades ) that are located         in a second operationalmode , the pair of first and second
and configured for cooperative functions . It can be appre              earphones play audio content streamed from a remote
ciated that a server farm may serve to distribute workload 55           network server .
 between /among individual components of the farm and may            4. The system of claim 1, wherein the processor circuit of
expedite computing processes by harnessing the collective the first earphone is for, upon activation of a user control of
and cooperative power of multiple servers . Such server the headphones , initiating transmission of a request to a
farms may employ load -balancing software that accom               remote network server that is remote from the mobile, digital
plishes tasks such as, for example , tracking demand for 60 audio player and in communication with the mobile , digital
processing power from different machines , prioritizing and audio player via a data communication network .
scheduling tasks based on network demand and/or providing     5. The system of claim 4 , wherein the processor circuit of
backup contingency in the event of component failure or the first earphone is further for receiving a response to the
reduction in operability .                                  request.
   While various embodiments have been described herein , 65 6. The headphones of claim 5 , wherein :
it should be apparent that various modifications, alterations ,          the mobile digital audio player is a first digital audio
and adaptations to those embodiments may occur to persons                  source ;
                                                                  28



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   the system further comprises a second digital audio player          13. The headphones of claim 12 , wherein each of the first
      that is different from the first digital audio player, and and second earphones comprises a buffer for caching the
   the headphones transition to play digital audio content audio contentreceived by the earphone prior to being played
      received wirelessly from the second digital audio by the at least one acoustic transducer of the earphone .
      source via a second wireless communication link based 5 14. The system of claim 1, wherein the processor circuits
      on, at least in part , a signal strength for the second of the headphones are configured to receive firmware
      wireless communication link .                                 upgrades pushed from a remote network server.
   7. The headphones of claim 6 , wherein the processor
circuits of the headphones are configured to receive firm of 15.            The system of claim 1 , wherein the processor circuit
                                                                       the first earphone is configured to :
ware upgrades pushed from a remote network server.               10
   8. The headphones of claim 6 , wherein each of the first           process audible utterances by the user picked by the
and second earphones comprises a buffer for caching the                  microphone in response to activation of themicrophone
audio content received by the earphone prior to being played             by the user; and
by the at least one acoustic transducer of the earphone .              transmit a communication based on the audible utterances
   9. The system of claim 8 , wherein the processor circuits 15           via the Bluetooth wireless communication links .
of the headphones are configured to receive firmware                   16.  The system of claim 1, wherein the rechargeable
upgrades pushed from a remote network server.                       power    source comprises a wirelessly chargeable circuit
    10. The headphones of claim 9 , wherein the processor
circuit of each of the first and second earphones comprises : component.
   a digital signal processor that provides a sound quality 20 power   17. The system of claim 1, wherein the rechargeable
      enhancement for the audio content played by the at power source        source comprises a passive, wireless rechargeable
      least one acoustic transducers of the earphone; and                           .
   a baseband processor circuit that is in communication               18. The system of claim 1, wherein each of the first and
      with the wireless communication circuit of the ear second earphones comprises a buffer for caching the audio
      phone.                                                     25 content received by the earphone prior to being played by
   11. The system of claim 1 , wherein :                            the at least one acoustic transducer of the earphone .
   the mobile digital audio player is a first digital audio            19. The headphones of claim 1 , wherein the processor
      source ;
   the system further comprises a second digital audio player a digitalof each
                                                                    circuit           of the first and second earphones comprises
                                                                                signal processor that provides a sound quality
      that is different from the first digital audio player; and 30 enhancement for the audio content played by the at least one
   the headphones transition to play digital audio content acoustic transducers of the earphone.
      received wirelessly from the second digital audio                20. The headphones of claim 19, wherein the processor
      source via a second wireless communication link based
      on, at least in part, a signal strength for the second circuit of each of the first and second earphones further
     wireless communication link .                             35 comprises a baseband processor circuit that is in communi
   12. The headphones of claim 11 , wherein the processor           cation with the wireless communication circuit of the ear
circuits of the headphones are configured to receive firm           phone.
ware upgrades pushed from a remote network server.                                       *




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                    UNITED STATES COURT OF APPEALS FOR
                         THE FEDERAL CIRCUIT

              CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS


              Case Number:               2022–2091, 2022–2115
    Short Case Caption:                  Koss Corp. v. Vidal

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